Case 1:24-cv-01422-MN   Document 1-1   Filed 12/27/24   Page 1 of 305 PageID #: 12




                        EXHIBIT 1
      Case 1:24-cv-01422-MN         Document 1-1 Filed 12/27/24 Page 2 of 305 PageID #: 13
                                         SUPERIOR COURT
                                                           EFiled: Nov
                             CIVIL CASE INFORMATION STATEMENT          01 2024 04:20PM EDT
                                                                   (CIS)
                                                           Transaction ID 74931058
                                                           Case No. N24C-11-010 SKR CCLD
COUNTY:           N     K      S               CIVIL ACTION NUMBER:

Caption:
                                                            Civil Case Code: CCLD_
HARTFORD CASUALTY INSURANCE COMPANY and                     Civil Case Type: Complex Commercial Litigation Division
SENTINEL INSURANCE COMPANY, LTD., Plaintiffs,
                        Defendants.
                      v.                                                      (SEE REVERSE SIDE FOR CODE AND TYPE)
INSTAGRAM, LLC, as successor in interest to Instagram MANDATORY NON-BINDING ARBITRATION (MNA)
a/k/a Burbn, Inc.; META PLATFORMS, INC. f/k/a
TheFacebook Inc. d/b/a The Face Book, Inc.; FEDERAL   Name and Status of Party filing document:
INSURANCE COMPANY; OLD REPUBLIC INSURANCE
COMPANY; STARR INDEMNITY AND LIABILITY COMPANY,       Plaintiffs Hartford Casualty Insurance Company and
and ZURICH AMERICAN INSURANCE COMPANY, Defendants. Sentinel Insurance Company Ltd.
                                                           Document Type:(E.G.; COMPLAINT; ANSWER WITH COUNTERCLAIM)

                                                           Complaint


                                                                              JURY DEMAND: YES        NO X

 ATTORNEY NAME(S): Thad J. Bracegirdle, Sarah Andrade,      IDENTIFY ANY RELATED CASES NOW PENDING IN THE SUPERIOR COURT OR ANY
and Emily L. Skaug                                          RELATED CASES THAT HAVE BEEN CLOSED IN THIS COURT WITHIN THE LAST

                                                            TWO YEARS BY CAPTION AND CIVIL ACTION NUMBER INCLUDING JUDGE’S
                                                            INITIALS:   N/A
ATTORNEY ID(S):
3691, 6157, 6921

FIRM NAME: Bayard, P.A.

                                                            EXPLAIN THE RELATIONSHIP(S):
ADDRESS: 600 N. King St., Ste 400, Wilmington, DE 19801




TELEPHONE NUMBER:     (302) 655-5000



FAX NUMBER: (302) 658-6395                                  OTHER UNUSUAL ISSUES THAT AFFECT CASE MANAGEMENT:



E-MAIL ADDRESS: tbracegirdle@bayardlaw.com;
sandrade@bayardlaw.com; eskaug@bayardlaw.com



                                                            (IF ADDITIONAL SPACE IS NEEDED, PLEASE ATTACH PAGE)




THE PROTHONOTARY WILL NOT PROCESS THE COMPLAINT, ANSWER, OR FIRST RESPONSIVE PLEADING IN THIS MATTER FOR SERVICE UNTIL
THE CASE INFORMATION STATEMENT (CIS) IS FILED. THE FAILURE TO FILE THE CIS AND HAVE THE PLEADING PROCESSED FOR SERVICE MAY
RESULT IN THE DISMISSAL OF THE COMPLAINT OR MAY RESULT IN THE ANSWER OR FIRST RESPONSIVE PLEADING BEING STRICKEN.

                                                                                                                  Revised 10/2022
Case 1:24-cv-01422-MN   Document 1-1   Filed 12/27/24   Page 3 of 305 PageID #: 14
Case 1:24-cv-01422-MN    Document 1-1   Filed 12/27/24   Page 4 of 305 PageID #: 15
                                                  EFiled: Nov 01 2024 04:20PM EDT
                                                  Transaction ID 74931058
                                                  Case No. N24C-11-010 SKR CCLD
      IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                  Plaintiffs,

             v.
                                             C.A. No.: ____________ [CCLD]
 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                  Defendants.

                                 COMPLAINT

       Hartford Casualty Insurance Company (“Hartford Casualty”) and Sentinel

Insurance Company, Ltd. (“Sentinel,” and, together with Hartford Casualty,

“Hartford”), by and through their attorneys, allege as follows for their complaint

against Instagram, LLC as successor in interest to Instagram a/k/a Burbn, Inc.

(“Instagram LLC”); Meta Platforms, Inc., formerly known as TheFacebook, Inc.

doing business as The Face Book, Inc. (“Meta Platforms,” and together with

Instagram LLC, “Meta”); Federal Insurance Company (“Federal”); Old Republic
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24    Page 5 of 305 PageID #: 16




Insurance Company (“Old Republic”); Starr Indemnity and Liability Company

(“Starr”); and Zurich American Insurance Company (“Zurich”).

                          NATURE OF THE DISPUTE

        1.      This is an action for declaratory relief pursuant to Article IV, § 7 of

the Delaware Constitution, 10 Del. C. § 541, and 10 Del. C. §§ 6501, et seq.

        2.      Hartford seeks a determination of the parties’ rights and obligations

in connection with primary liability policies issued by Hartford to Meta with respect

to numerous underlying claims against Meta and other social media companies

alleging that the defendants’ social media platforms are defective because they are

designed to maximize screen time and encourage addictive behavior in minors,

which has resulted in various emotional and physical harm to minors, including

death (the “Social Media Lawsuits”).

                                     PARTIES

        3.      Plaintiff Hartford Casualty is an Indiana company with a principal

place of business in Indiana. Hartford Casualty issued primary insurance coverage

to “The Face Book, Inc.” on an annual basis from October 9, 2004, to October 8,

2007.

        4.      Plaintiff Sentinel is a Connecticut company with a principal place

of business in Connecticut.      Sentinel issued primary insurance coverage to

“Instagram a/k/a Burbn, Inc.” from December 19, 2011, to December 19, 2012.



                                          2
Case 1:24-cv-01422-MN    Document 1-1    Filed 12/27/24   Page 6 of 305 PageID #: 17




      5.        Defendant Instagram, LLC is a Delaware limited liability company

whose sole member is Defendant Meta Platforms. On information and belief, the

company originally known as Burbn, Inc. was incorporated in Delaware in February

2010 and launched, develops, operates, markets, and owns the social media

application now known as Instagram and its related features, applications, and

products (e.g., Boomerang and Instagram Direct) (collectively, “Instagram”).

Burbn, Inc. changed its name to Instagram, Inc. in January 2012. Facebook, Inc.

acquired Instagram, Inc. in August 2012, and Instagram, Inc. merged into Instagram,

LLC on August 31, 2012.

      6.        Defendant Meta Platforms is a Delaware corporation with its

principal place of business in California. On information and belief, “The Face

Book, Inc.” was a trade name of the company incorporated in Delaware on July 29,

2004, under the registered name TheFacebook, Inc., which launched, develops,

operates, markets, and owns the social media application now known as Facebook

and its related applications and products (e.g., Messenger, Messenger Kids,

Marketplace, Workplace, etc.) (collectively, “Facebook”).      TheFacebook, Inc.

changed its name to Facebook, Inc. in September 2005, and to Meta Platforms, Inc.

in October 2021.

      7.        Defendant Federal is an Indiana corporation with a principal place

of business in New Jersey. On information and belief, Federal issued primary



                                        3
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 7 of 305 PageID #: 18




insurance coverage to Facebook, Inc. under Policy No. 3589-24-66 PLE (effective

October 9, 2007 to October 9, 2016). Upon information and belief, Federal is

licensed to do business in Delaware and, at all times relevant to this Complaint, was

engaged in the business of selling contracts of insurance and did business in

Delaware.

      8.        Defendant Old Republic is a Pennsylvania company with a principal

place of business in Pennsylvania. Upon information and belief, Old Republic

issued primary insurance coverage to Facebook, Inc. under Policy Nos.

MWZY308504 (effective October 9, 2016 to October 9, 2017) and MWZY311176

(effective October 9, 2017 to October 9, 2020). Upon information and belief, Old

Republic is licensed to do business in Delaware and, at all times relevant to this

Complaint, was engaged in the business of selling contracts of insurance and did

business in Delaware.

      9.        Defendant Starr is a Texas company with a principal place of

business in New York. Upon information and belief, Star issued primary insurance

coverage to Facebook, Inc. and/or Meta Platforms, Inc. under Policy Nos.

1000100155201 (effective October 9, 2020 to October 9, 2021), 1000100155211

(effective October 9, 2021 to October 9, 2022), and 1000100155221 (October 9,

2022 to October 9, 2023). Upon information and belief, Starr is licensed to do

business in Delaware and, at all times relevant to this Complaint, was engaged in the



                                         4
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 8 of 305 PageID #: 19




business of selling contracts of insurance and did business in Delaware.

      10.        Defendant Zurich is a New York company with a principal place of

business in Illinois. Upon information and belief, Zurich issued primary insurance

coverage to Facebook, Inc. and/or Meta Platforms, Inc. under Policy Nos. ZE

3730650-02 (effective October 9, 2018 to October 9, 2019), ZE 3730650-03

(effective October 9, 2019 to October 9, 2020), ZE 3730650-04 (effective October

9, 2020 to October 9, 2021), ZE 3730650-05 (effective October 9, 2021 to October

9, 2022), and ZE 3730650-06 (effective October 9, 2022 to October 9, 2023). Upon

information and belief, Zurich is licensed to do business in Delaware and, at all times

relevant to this Complaint, was engaged in the business of selling contracts of

insurance and did business in Delaware.

      11.        The defendants listed in paragraphs 7-10 are the “Other Primary

Insurers.” The Other Primary Insurers are joined because there is a justiciable

controversy regarding the primary insurance carriers’ duty to defend the Social

Media Lawsuits. The Other Primary Insurers’ interests in the subject matter of this

declaratory judgment action will be prejudiced if this action is litigated in their

absence.

                                  JURISDICTION

      12.        This Court has subject matter jurisdiction pursuant to Article IV, § 7

of the Delaware Constitution and 10 Del. C. § 541 and under 10 Del. C. §§ 6501, et



                                          5
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 9 of 305 PageID #: 20




seq., which provides this Court with the power “to declare rights, status and other

legal relations whether or not further relief is or could be claimed.”

      13.        This Court has personal jurisdiction over defendant Meta Platforms

because Meta Platforms is a Delaware corporation.

      14.        This Court has personal jurisdiction over defendant Instagram LLC

because Instagram LLC is a Delaware limited liability company and a resident of

Delaware by virtue of its member, Meta Platforms.

      15.        This Court has personal jurisdiction over the Other Insurers because

they at material times have conducted business, committed acts or omissions, or have

caused substantial effects within the State of Delaware with respect to one or more

causes of action arising from these acts, omissions, or effects.

                           FACTUAL BACKGROUND

      A.     The Social Media Lawsuits

      16.        Between February 2023 and the present date, Meta has periodically

notified Hartford of Social Media Lawsuits against Meta by individuals, school

districts, local governments, and attorneys general.

      17.        Most (but not all) of the Social Media Lawsuits are consolidated in

a multidistrict litigation pending in the Northern District of California for

coordinated and consolidated pretrial proceedings (the “MDL”) or Judicial Council

Coordination Proceeding No. 5255 coordinated in the County of Los Angeles



                                          6
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 10 of 305 PageID #: 21




 Central District Superior Court (the “JCCP”), where master complaints and short

 form complaints have supplanted many of the complaints originally filed by the

 plaintiffs. Although those common master complaints and short form complaints

 supersede the original complaints filed by many of the plaintiffs in the cases

 coordinated in the MDL and JCCP, each of the separate cases coordinated in the

 MDL and JCCP remains a separate lawsuit.

       18.        The specific factual allegations of the Social Media Lawsuits vary,

 but the individual plaintiffs (the “Individual Plaintiffs”) are generally injured

 persons, or persons seeking to recover on behalf of an injured person, who allege

 that they became addicted to social media platforms as minors as a result of allegedly

 manipulative features of those social media platforms that seek to maximize the

 amount of time minors spend on the platforms. The Individual Plaintiffs generally

 seek to recover for direct harms an individual person experienced as a result of their

 social media addiction, including, e.g., depression and anxiety, “social comparison,”

 “the pressure of looks/behaviors,” eating disorders, body dysmorphia, isolation,

 insecurity, and loneliness.

       19.        The school district, local government, and attorney general

 plaintiffs (the “Government/School District Plaintiffs”) generally make similar

 factual allegations regarding the addictive features of social media platforms and

 harmful effects on minors. They allege that this widespread addiction constitutes a



                                           7
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24    Page 11 of 305 PageID #: 22




 public nuisance and has saddled them with financial burdens.

       20.        The Social Media Lawsuits allege that Meta deliberately created

 and/or designed social media platforms—Instagram and Facebook—that encourage

 excessive use and addiction in children and adolescents to drive advertising revenue.

       21.        The Social Media Lawsuits do not allege that the addictive features

 of Instagram and Facebook were unexpected, independent, and unforeseen; rather,

 both Individual Plaintiffs and the Government/School District Plaintiffs generally

 allege that Meta intentionally designed its products to exploit vulnerabilities in

 human psychology and intentionally developed and embedded addictive features in

 Meta’s platforms to maximize youth engagement.

       22.        Both the Individual Plaintiffs and the Government/School District

 Plaintiffs further allege that Meta was aware that use of Instagram and Facebook

 caused harm to children and adolescents but ignored that harm. Many of the lawsuits

 reference internal documents made public by whistleblower Frances Haugen, former

 Facebook product manager, that reflect findings from Meta’s researchers on body

 image and mental health issues caused by minors’ use of Instagram and Facebook.

       23.        Unlike the Individual Plaintiffs, the Government/School District

 Plaintiffs are not (i) an injured person, (ii) seeking to recover on behalf of an injured

 person, or (iii) an organization seeking to recover the costs of directly caring for any

 specific alleged injured person.



                                            8
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 12 of 305 PageID #: 23




       24.       Rather, the Government/School District Plaintiffs seek to recover

 damages for aggregate increases in the Government/School District Plaintiffs’

 expenditures and operating costs necessitated by mass social media addiction in

 minors, including, e.g., increased provision of anxiety and depression counseling,

 health services, community-based services, behavioral health services, and after-

 school programming; increases in staff to confiscate cell phones and communicate

 and engage with parents and guardians regarding students’ attendance, mental

 health, and behavioral issues; and increased resources to investigate and prosecute

 crimes that allegedly result from use of the social media platforms.

       25.       Both Individual Plaintiffs and Government/School District

 Plaintiffs also allege that Meta violated the Children’s Online Privacy Protection Act

 (“COPPA”), which regulates the conditions under which Defendants can collect,

 use, or disclose the personal information of children under 13.

       26.       Specifically, Plaintiffs allege that Meta willfully failed to conduct

 proper age verification and authentication of social media registrants, resulting in

 rampant access to social media platforms by children under 13 and associated

 collection of such children’s data by Meta in violation of COPPA.

       B.     The Hartford Policies

       27.       As relevant here, Hartford Casualty issued to The Face Book Inc.

 as named insured Policy No. 57 SBA AW9679 DX, effective from October 1, 2004,



                                           9
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 13 of 305 PageID #: 24




 to October 1, 2005 (the “2004-2005 Facebook Policy”); Policy No. 57 SBA AZ6549

 SC, effective from October 1, 2005, to October 1, 2006 (the “2005-2006 Facebook

 Policy”); and Policy No. 57 SBQ RG7020 SC, effective from October 1, 2006, to

 October 1, 2007 (the “2006-2007 Facebook Policy”) (collectively, the “Facebook

 Policies”).

       28.        As relevant here, Sentinel issued to Instagram a/k/a Burbn, Inc. as

 named insured Policy No. 57 SBA BB7385 SC, effective from December 19, 2011,

 to December 19, 2012 (the “Instagram Policy,” and together with the Facebook

 Policies, the “Hartford Policies”).

       29.        Each of the Hartford Policies provides Business Liability coverage

 for “those sums that the insured becomes legally obligated to pay as damages

 because of ‘bodily injury’, ‘property damage’ or ‘personal and advertising injury’ to

 which this insurance applies”, subject to a per occurrence limit of $1 million, a

 general aggregate limit of $2 million, and a products-completed operations

 aggregate limit of $2 million.

       30.        The 2004-2005 Facebook Policy and 2005-2006 Facebook Policy

 (at Business Liability Coverage Form SS 00 08 04 01) and the 2006-2007 Facebook

 Policy and the Instagram Policy (at Business Liability Cover Form SS 00 08 04 05)

 contain insuring agreements that state as follows (subject to certain non-substantive

 differences in formatting):



                                          10
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 14 of 305 PageID #: 25




             Insuring Agreement
             a. We will pay . . . those sums that the insured becomes
             legally obligated to pay as damages because of “bodily
             injury”, “property damage” or “personal and advertising
             injury” to which this insurance applies. We will have the
             right and duty to defend the insured against any “suit”
             seeking those damages. However, we will have no duty
             to defend the insured against any “suit” seeking damages
             for “bodily injury”, “property damage” or “personal and
             advertising injury” to which this insurance does not
             apply. . .
              . . . b. This insurance applies to:
             (1) “Bodily injury” and “property damage” only if:
             (a) The “bodily injury” or “property damage” is caused
             by an “occurrence” that takes place in the “coverage
             territory”; and
             (b) The “bodily injury” or “property damage” occurs
             during the “policy period” . . .
             (2) “Personal and advertising injury” caused by an
             offense arising out of your business, but only if the
             offense is committed in the “coverage territory” during
             the policy period.

       31.       The insuring agreements in the Business Liability Coverage Form

 in the 2006-2007 Facebook Policy and Instagram Policy further state that those

 policies do not cover damages because of “bodily injury” or “property damage” that

 the insured knew, before the policy period, had occurred or begun to occur.

       32.       The Business Liability Coverage Forms in the 2004-2005 Facebook

 Policy and the 2005-2006 Facebook Policy define “bodily injury” as “bodily injury,

 sickness or disease sustained by a person, including mental anguish or death



                                           11
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 15 of 305 PageID #: 26




 resulting from any of these at any time,” while the Business Liability Coverage

 Forms in the 2006-2007 Facebook Policy and Instagram Policy define “bodily

 injury” as “physical: a. Injury; b. Sickness; or c. Disease sustained by a person and,

 if arising out of the above, mental anguish or death at any time.”

       33.       The Business Liability Coverage Forms in all of the Hartford

 Policies define “occurrence” as “an accident, including continuous or repeated

 exposure to substantially the same general harmful conditions.”

       34.       Business Liability coverage under all the Hartford Policies is also

 subject to certain exclusions, including an exclusion for bodily injury that is

 expected or intended from the standpoint of the insured.

       35.       That exclusion states:

              This insurance does not apply to:
              a. Expected or Intended Injury
              (1) “Bodily injury” or “property damage” expected or
              intended from the standpoint of the insured. This
              exclusion does not apply to “bodily injury” or “property
              damage” resulting from the use of reasonable force to
              protect persons or property . . .

       36.       The Business Liability Coverage Forms in the 2006-2007 Facebook

 Policy and the Instagram Policy also contain an exclusion for “Violation Of Statutes

 That Govern E-Mails, Fax, Phone Calls Or Other Methods Of Sending Material Or

 Information,” which states:

              This insurance does not apply to:


                                          12
Case 1:24-cv-01422-MN         Document 1-1   Filed 12/27/24   Page 16 of 305 PageID #: 27




              [...]
              t. Violation Of Statutes That Govern E-Mails, Fax,
              Phone Calls Or Other Methods Of Sending Material
              Or Information
              “Bodily injury”, “property damage”, “personal and
              advertising injury” arising directly or indirectly out of
              any action or omission that violates or is alleged to
              violate:
              [...]
              (3) Any statute, ordinance or regulation other than the
              TCPA or CAN-SPAM Act of 2003, that prohibits or
              limits the sending, transmitting, communicating or
              distribution of material or information.

       37.         In addition, each of the Facebook Policies contains an exclusion

 for “bodily injury”, “property damage” or “personal and advertising injury” arising

 from the rendering or of failure to render any “professional service.”

       38.         That exclusion, as amended by the form titled “Technology

 Services Coverage (Limited),” states:

              B. EXCLUSIONS
              1.         Applicable To Business Liability Coverage.
              This insurance does not apply to:
              [. . .]
              j.         Professional Services
              “Bodily injury”, “property damage” or “personal and
              advertising injury” due to the rendering of or failure to
              render any professional service. This includes but is not
              limited to:
              [. . . ]
              (11) Computer consulting, design or programming


                                             13
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24    Page 17 of 305 PageID #: 28




              services, including website design.

       39.        The Instagram Policy has a nearly identical exclusion applicable to

 bodily injury, property damage or personal and advertising injury “arising out of

 the rendering of or failure to render any professional service[.]”

       40.        The Business Liability Coverage Forms in all of the Hartford

 Policies exclude coverage for certain “personal and advertising injury,” including

 “personal and advertising injury” arising out of (i) oral, written or electronic

 publication of material whose first publication took place before the beginning of

 the policy period; (ii) an offense committed by an insured whose business is

 designing or determining content of websites for others; (iii) an electronic chat

 room you host, own, or over which you exercise control; (iv) the violation of a

 person’s right of privacy created by any state or federal act; and/or (v) computer

 code, software, or programming used to enable your web site.

        C.    Disputes Concerning Hartford’s Defense Obligations

       41.        In response to Meta’s notices to Hartford of the Social Media

 Lawsuits, Hartford, subject to a full reservation of rights, offered to participate in the

 defense of Meta under the Business Liability coverage part of the Hartford Policies

 for certain Social Media Lawsuits filed by Individual Plaintiffs. Hartford declined

 coverage for certain Social Media Lawsuits filed by Individual Plaintiffs because,

 among other bases set forth in Hartford’s reservation of rights letter, those Social



                                            14
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 18 of 305 PageID #: 29




 Media Lawsuits were brought by Individual Plaintiffs that only used or could have

 used Instagram and/or Facebook after the end dates of the relevant Hartford Policy

 or Policies.

       42.        Hartford’s reservation of rights includes the right to withdraw from

 the defense of the Social Media Lawsuits, as appropriate; the right to recoup defense

 fees under Buss v. Super. Ct., 16 Cal. 4th 35 (1997); and the right to decline

 indemnity.

       43.        Hartford declined coverage for the Social Media Lawsuits filed by

 Government/School District Plaintiffs because, along with other bases set forth in

 Hartford’s reservation of rights letter, the Hartford Policies provide coverage for

 “sums that the insured becomes legally obligated to pay as damages because of

 ‘bodily injury’ or ‘property damage,’” and Hartford disagrees that the

 Government/School District Social Media Lawsuits seek damages “because of”

 bodily injury and/or property damage within the meaning of the Hartford Policies’

 insuring agreements.

       44.        The Social Media Lawsuits filed by Government/School District

 Plaintiffs seek to recover for general, non-derivative economic losses that are not

 based on allegations that plaintiffs treated (or paid for treatment of) injuries to any

 specific individual or that they repaired (or paid for repair of) damage to specifically

 identified property, or that any such individualized injury or damage was specifically



                                           15
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 19 of 305 PageID #: 30




 caused by the insured.

       45.       Plaintiffs’ First Amended Master Complaint (Local Government

 and School District) in the MDL, for instance, seeks to recover for increased

 expenditures by school districts and Local Government Plaintiffs related to

 “addressing the mental health and behavior of impacted young people and providing

 education and support to young people, staff, parents, and Plaintiffs’ communities,”

 e.g., increased provision of anxiety and depression counseling, health services,

 community-based      services,   behavioral-health   services,   and    after-school

 programming; increases in staff to confiscate cell phones and communicate and

 engage with parents and guardians regarding students’ attendance, mental health,

 and behavioral issues; and increased resources to investigate and prosecute crimes

 that result from use of the insured’s platforms. Such damages are not damages

 “because of” bodily injury within the insuring agreements of the policies.

       46.       On information and belief, Meta disputes Hartford’s offer to

 participate in the defense of certain Social Media Lawsuits by Individual Plaintiffs

 under a reservation of rights and also disputes Hartford’s denial of coverage for

 certain other Social Media Lawsuits by Individual Plaintiffs and the Social Media

 Lawsuits by Government/School District Plaintiffs.




                                         16
Case 1:24-cv-01422-MN      Document 1-1    Filed 12/27/24   Page 20 of 305 PageID #: 31




                       COUNT I: DECLARATORY JUDGMENT

                    (No Duty to Defend or Pay Defense Costs for
                 Government/School District Social Media Lawsuits)

        47.        Hartford reasserts and incorporates herein each allegation set forth

 in ¶¶ 1-46 above.

        48.        An actual controversy exists between Hartford, on the one hand, and

 Meta on the other hand, regarding Hartford’s duty to defend the Social Media

 Lawsuits brought by Government/School District Plaintiffs, the resolution of which

 will affect the interests of the Other Primary Insurers.

        49.        The Hartford Policies provide coverage only for damages “because

 of” bodily injury or property damage.

        50.        The Hartford Policies provide coverage only for “bodily injury” and

 “property damage” that occurs during the policy period.

        51.        The Hartford Policies provide coverage only for “bodily injury” and

 “property damage” that results from an “occurrence.”

        52.        The Hartford Policies define “occurrence” as “an accident,

 including continuous or repeated exposure to substantially the same general harmful

 conditions . . . .”

        53.        The Social Media Lawsuits are based on Meta’s deliberate acts in

 designing and marketing products that encourage excessive use and/or addiction in

 children and adolescents. The Social Media Lawsuits allege that Meta intentionally

                                           17
Case 1:24-cv-01422-MN        Document 1-1      Filed 12/27/24   Page 21 of 305 PageID #: 32




 encourages youth to excessively use its platforms and leverages that usage to

 increase revenue, intentionally designed its products to addict children and

 adolescents, and concealed harmful effects that Instagram’s and Facebook’s design

 features have on children and adolescents.

       54.         The Hartford Policies also contain various exclusions that may bar

 or limit coverage for the Social Media Lawsuits, discussed in ¶¶ 34-40, above.

       55.         There is no defense coverage for some or all of the Social Media

Lawsuits brought by Government/School District Plaintiffs under the Hartford

Policies for some or all of the following reasons:

             a. Some    or    all   of   the   Social   Media    Lawsuits   brought   by

                Government/School District Plaintiffs do not allege an “occurrence” as

                required by the insuring agreements of the Hartford Policies because

                they are based on allegations regarding Meta’s deliberate and

                intentional acts in designing and marketing products to encourage

                excessive use by and/or addict children and adolescents;

             b. Some or all of the Social Media Lawsuits brought by

                Government/School District Plaintiffs do not allege or seek damages

                “because of” bodily injury, property damage, or personal and

                advertising injury within the meaning of the Hartford Policies’

                insuring agreements;



                                               18
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 22 of 305 PageID #: 33




          c. Some or all of the Social Media Lawsuits brought by

             Government/School District Plaintiffs do not allege or seek damages

             because of “bodily injury,” “property damage,” or “personal and

             advertising injury” as those terms are defined in the Hartford Policies;

          d. Some or all of the Social Media Lawsuits brought by

             Government/School District Plaintiffs allege bodily injury or property

             damage, or offenses causing personal and advertising injury, only

             outside the policy periods covered by the Hartford Policies;

          e. Some or all of the Social Media Lawsuits brought by

             Government/School District Plaintiffs allege expected or intended

             injury;

          f. Some or all of the Social Media Lawsuits brought by

             Government/School District Plaintiffs allege injury arising from

             violations of statutes that govern e-mails, fax, phone calls or other

             methods of sending material or information within the meaning of

             those exclusions; and/or

          g. Some or all of the Social Media Lawsuits brought by

             Government/School District Plaintiffs allege injury due to the

             insured’s rendering of or failure to render “Professional Services”;

             and/or



                                         19
Case 1:24-cv-01422-MN         Document 1-1    Filed 12/27/24   Page 23 of 305 PageID #: 34




              h. Some or all of the Social Media Lawsuits brought by

                 Government/School District Plaintiffs seek equitable relief in the form

                 of nuisance abatement or other forms of relief that are not covered as

                 damages or otherwise insurable under the Hartford Policies.

        56.         There exists an actual, ripe, and justiciable controversy between the

 parties concerning insurance coverage under the Hartford Policies for the defense of

 the Social Media Lawsuits brought by Government/School District Plaintiffs.

        57.         Hartford is entitled to a declaration that under the terms, conditions,

 and exclusions of Hartford Policies, it has no duty to defend or pay the cost of

 defending Meta against the Social Media Lawsuits brought by Government/School

 District Plaintiffs.

                        COUNT II: DECLARATORY JUDGMENT

                        (No Duty to Defend or Pay Defense Costs for
                            Individual Social Media Lawsuits )

        58.         Hartford reasserts and incorporates herein each allegation set forth

 in ¶¶ 1-57 above.

        59.         An actual controversy exists between Hartford, on the one hand, and

 Meta on the other hand, regarding Hartford’s duty to defend the Social Media

 Lawsuits brought by Individual Plaintiffs, the resolution of which may or will affect

 the interests of the Other Primary Insurers.

        60.         The Hartford Policies provide coverage only for damages because

                                             20
Case 1:24-cv-01422-MN      Document 1-1    Filed 12/27/24   Page 24 of 305 PageID #: 35




 of “bodily injury,” “property damage,” or “personal and advertising injury” as those

 terms are defined in the Hartford Policies;

        61.        The Hartford Policies provide coverage only for “bodily injury” and

 “property damage” that occurs during the policy period.

        62.        The Hartford Policies provide coverage only for “bodily injury” and

 “property damage” that results from an “occurrence.”

        63.        The Hartford Policies define “occurrence” as “an accident,

 including continuous or repeated exposure to substantially the same general harmful

 conditions . . . .”

        64.        The Social Media Lawsuits are based on Meta’s deliberate acts in

 designing and marketing products that encourage excessive use and/or addiction in

 children and adolescents. The Social Media Lawsuits allege that Meta intentionally

 encourages youth to excessively use its platforms and leverages that usage to

 increase revenue, intentionally designed its products to addict children and

 adolescents, and concealed harmful effects that Instagram’s and Facebook’s design

 features have on children and adolescents.

        65.        The Hartford Policies also contain various exclusions that may bar

 or limit coverage for the Social Media Lawsuits, discussed in ¶¶ 34-40, above.

        66.        There is no defense coverage for some or all of the Social Media

Lawsuits brought by Individual Plaintiffs under the Hartford Policies for some or all



                                           21
Case 1:24-cv-01422-MN       Document 1-1   Filed 12/27/24     Page 25 of 305 PageID #: 36




of the following reasons:

          a. Some or all of the Social Media Lawsuits brought by Individual

             Plaintiffs do not allege an “occurrence” as required by the insuring

             agreements of the Hartford Policies because they are based on

             allegations regarding Meta’s deliberate and intentional acts in

             designing and marketing products to encourage excessive use by and/or

             addict children and adolescents;

          b. Some or all of the Social Media Lawsuits brought by Individual

             Plaintiffs do not allege or seek damages because of “bodily injury,”

             “property damage,” or “personal and advertising injury” as those

             terms are defined in the Hartford Policies;

          c. Some or all of the Social Media Lawsuits brought by Individual

             Plaintiffs allege bodily injury or property damage, or offenses causing

             personal and advertising injury, only outside the policy periods

             covered by the Hartford Policies;

          d. Some or all of the Social Media Lawsuits brought by Individual

             Plaintiffs allege expected or intended injury;

          e. Some or all of the Social Media Lawsuits brought by Individual

             Plaintiffs allege injury arising from violations of statutes that govern

             e-mails, fax, phone calls or other methods of sending material or



                                           22
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24    Page 26 of 305 PageID #: 37




                information within the meaning of those exclusions;

             f. Some or all of the Social Media Lawsuits brought by Individual

                Plaintiffs allege injury due to the insured’s rendering of or failure to

                render “Professional Services”; and/or

             g. Some or all of the Social Media Lawsuits brought by Individual

                Plaintiffs seek equitable relief in the form of nuisance abatement or

                other forms of relief that are not covered as damages or otherwise

                insurable under the Hartford Policies.

       67.         There exists an actual, ripe, and justiciable controversy between the

 parties concerning insurance coverage under the Hartford Policies for the defense of

 the Social Media Lawsuits brought by Individual Plaintiffs.

       68.         Hartford is entitled to a declaration that under the terms, conditions,

 and exclusions of Hartford Policies, it has no duty to defend or pay the cost of

 defending Meta against the Social Media Lawsuits brought by Individual Plaintiffs

 for one or more of the reasons set forth in ¶ 66 above.




                                             23
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 27 of 305 PageID #: 38




                     COUNT III: DECLARATORY JUDGMENT

         (In the Alternative, No Duty to Defend or Pay Defense Costs for
            Individual Social Media Lawsuits That Do Not Allege Use
                        During Harford’s Policy Periods)

       69.        Hartford reasserts and incorporates herein each allegation set forth

 in ¶¶ 1-68 above.

       70.        To the extent the Court denies Count II, Hartford seeks a

declaration that it has no duty to defend any Social Media Lawsuits brought by

Individual Plaintiffs that fall outside the scope of coverage.

       71.        Hartford disagrees that use of Instagram and/or Facebook is

sufficient to trigger coverage under the Primary Policies, which apply, as relevant

here, only where an “occurrence” causes “bodily injury” (or “property damage”)

during the policy period or an offense resulting in “personal and advertising injury”

occurs during the policy period.

       72.        Even to the extent that Meta disagrees, however, there can be no

coverage for Social Media Lawsuits brought by Individual Plaintiffs that only used

or could have used Instagram and/or Facebook after the end dates of the relevant

Hartford Policy or Policies.

       73.        Accordingly, there is no defense coverage for some or all of the

Social Media Lawsuits brought by Individual Plaintiffs under the Hartford Policies

for some or all of the following reasons:



                                            24
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 28 of 305 PageID #: 39




             a. Some or all of the Social Media Lawsuits brought by Individual

                Plaintiffs allege use of Instagram and/or Facebook only after the

                expiration of the relevant Hartford Policy or Policies;

             b. Some or all of the Social Media Lawsuits brought by Individual

                Plaintiffs do not allege particular dates of use of Instagram and/or

                Facebook but are brought by Individual Plaintiffs who were born after

                the end date of the relevant Hartford Policy or Policies; and/or

             c. Some or all of the Social Media Lawsuits brought by Individual

                Plaintiffs do not allege particular dates of use of Instagram and/or

                Facebook but are brought by Individual Plaintiffs whose dates of birth

                and the allegations in their short form complaints demonstrate that

                there is no possibility that they could have used Instagram and/or

                Facebook until after the end date of the relevant Hartford Policy or

                Policies.

       74.         There exists an actual, ripe, and justiciable controversy between the

 parties concerning the scope of defense coverage required to be provided under the

 terms, conditions, and exclusions of each of the Hartford Policies. Hartford is

 entitled to a declaratory judgment regarding the scope and amount of its defense

 coverage obligations to Meta against the Social Media Lawsuits brought by

 Individual Plaintiffs for one or more of the reasons set forth in ¶ 73 above.



                                            25
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 29 of 305 PageID #: 40




                              PRAYER FOR RELIEF

       WHEREFORE, Hartford respectfully request that the Court enter the

 following relief:

       A.     A declaration that Hartford has no duty to defend or pay the costs to

              defend Meta in the Social Media Lawsuits brought by

              Government/School District Plaintiffs because any alleged bodily

              injury or property damage did not arise from an “occurrence,” the

              damages alleged in those lawsuits are not damages “because of”

              bodily injury, those lawsuits do not allege bodily injury or property

              damage within the relevant policy period(s), and/or for any of the

              other reasons set forth in ¶ 55 above;

       B.     A declaration that Hartford has no duty to defend or pay the costs to

              defend Meta in the Social Media Lawsuits brought by Individual

              Plaintiffs because any alleged bodily injury or property damage did

              not arise from an “occurrence,” those lawsuits do not allege “bodily

              injury,” “property damage,” or “personal and advertising injury” as

              those terms are defined in the Hartford Policies, and/or for any of the

              other reasons set forth in ¶ 66 above;

       C.     A declaration that Hartford has no duty to defend or pay the costs to

              defend Meta in the Social Media Lawsuits brought by Individual



                                          26
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24    Page 30 of 305 PageID #: 41




             Plaintiffs to the extent those Individual Plaintiffs do not allege use of

             Instagram and/or Facebook during the relevant policy periods, were

             not born before the relevant policies expired, and/or their complaints

             do not potentially allege use of Instagram and/or Facebook before the

             relevant policies expired; and

       D.    Such other relief as this Court may deem just and proper.


  Dated: November 1, 2024                      BAYARD, P.A.

                             /s/ Emily L. Skaug
  OF COUNSEL:                Thad J. Bracegirdle (No. 3691)
                             Sarah T. Andrade (No. 6157)
  RUGGERI PARKS WEINBERG LLP Emily L. Skaug (No. 6921)
  James P. Ruggeri           600 N. King St., Suite 400
  (pro hac vice forthcoming) Wilmington, Delaware 19801
  Sara K. Hunkler            (302) 655-5000
  (pro hac vice forthcoming) tbracegirdle@bayardlaw.com
  1875 K Street, Suite 600   sandrade@bayardlaw.com
  Washington, DC 20006-125   eskaug@bayardlaw.com
  Telephone: (202) 984-1400
  Facsimile: (202) 984-1401
  jruggeri@ruggerilaw.com
  shunkler@ruggerilaw.com
                                               Attorneys for Plaintiffs Hartford Casualty
                                               Insurance Company and Sentinel
                                               Insurance Company, Ltd.




                                          27
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 31 of 305 PageID #: 42
                                                      EFiled: Nov 01 2024 04:20PM EDT
                                                      Transaction ID 74931058
                                                      Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,                 C.A. No.: _________________
              v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                      Defendants.



                                     PRAECIPE

 TO: Prothonotary
     Superior Court of the State of Delaware
     Leonard L. Williams Justice Center
     500 North King Street
     Wilmington, Delaware 19801

       PLEASE ISSUE a Summons in the form attached hereto to the Sheriff of New

 Castle County for service of process upon Defendant Instagram, LLC as successor

 in interest to Instagram a/k/a Burbn, Inc., pursuant to 6 Del. C. § 18-105, through its

 registered agent at the following address:
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 32 of 305 PageID #: 43




               Instagram, LLC
               c/o Corporation Service Company
               251 Little Falls Drive
               Wilmington, DE 19808

       PLEASE ISSUE a Summons in the form attached hereto to the Sheriff of New

 Castle County for service of process upon Defendant Meta Platforms, Inc. f/k/a

 TheFacebook Inc. d/b/a The Face Book, pursuant to 8 Del. C. § 321, through its

 registered agent at the following address:

              Meta Platforms, Inc.
              c/o Corporation Service Company
              251 Little Falls Drive
              Wilmington, DE 19808

       PLEASE ISSUE Summons in the form attached hereto for service of process

 on the below named Defendants pursuant to 10 Del. C. § 3104. Counsel for Plaintiffs

 Hartford Casualty Insurance Company and Sentinel Insurance Company, Ltd. will

 serve the Summonses and Complaint upon the below-named Defendants by certified

 mail, return receipt requested, by serving it at the following addresses:

             Federal Insurance Company
              c/o an officer, a managing or general agent
              202B Hall’s Mill Road
              Whitehouse Station, NJ 08889

              and

              c/o an officer, a managing or general agent
              251 North Illinois Suite 1100,
              Indianapolis, Indiana, 46204

              and

                                           2
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24    Page 33 of 305 PageID #: 44




             c/o C T Corporation System
             334 North Senate Avenue,
             Indianapolis, Indiana, 46204

            Old Republic Insurance Company
             c/o an officer, a managing or general agent
             631 Excel Drive, Suite 200
             Mt Pleasant, PA 15666

            Starr Indemnity and Liability Company
             c/o an officer, a managing or general agent
             8401 N. Central Expressway, #890
             Dallas, Texas 75225

             and

             c/o an officer, a managing or general agent
             399 Park Avenue, 2nd Floor
             New York, NY 10022

            Zurich American Insurance Company
             c/o an officer, a managing or general agent
             Four World Trade Center,
             150 Greenwich St.
             New York, NY 10007

             and

             c/o an officer, a managing or general agent
             1299 Zurich Way ZAIC
             Schaumburg, IL 60196

       PLEASE ISSUE SUMMONS to the Sheriff of Kent County, and direct the

 Sheriff to serve two (2) copies of the Summons, Praecipe, and Complaint on the

 below-named Defendants by service on the Commissioner of Insurance, State of

 Delaware, 841 Silver Lake Boulevard, Dover, DE 19901, in accordance with 18 Del.


                                         3
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 34 of 305 PageID #: 45




 C. § 525. At the time of service, the Sheriff will deliver a check made payable to the

 Commissioner of Insurance in the amount of $100.00, representing the required fee:

                  Federal Insurance Company

                  Old Republic Insurance Company

                  Starr Indemnity and Liability Company

                  Zurich American Insurance Company




  Dated: November 1, 2024                   BAYARD, P.A.

                                            /s/ Emily L. Skaug
                                            Thad J. Bracegirdle (#3691)
                                            Sarah T. Andrade (#6157)
                                            Emily L. Skaug (#6921)
                                            600 North King Street, Suite 400
                                            Wilmington, Delaware 19801
                                            (302) 655-5000

                                            Attorneys for Plaintiffs




                                           4
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 35 of 305 PageID #: 46
                                                    EFiled: Nov 01 2024 04:20PM EDT
                                                    Transaction ID 74931058
                                                    Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,               C.A. No.: _________________
             v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                     Defendants.

                                    SUMMONS

 TO THE STATE OF DELAWARE,
 SHERIFF OF NEW CASTLE COUNTY:
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Zurich American Insurance
 Company, so that, within 20 days after service hereof, exclusive of the day of
 service, Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose
 address is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware
 19801, an answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 36 of 305 PageID #: 47




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




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Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 37 of 305 PageID #: 48
                                                    EFiled: Nov 01 2024 04:20PM EDT
                                                    Transaction ID 74931058
                                                    Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,               C.A. No.: _________________
             v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                     Defendants.

                                    SUMMONS

 TO THE STATE OF DELAWARE,
 SHERIFF OF KENT COUNTY:
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Zurich American Insurance
 Company, so that, within 20 days after service hereof, exclusive of the day of
 service, Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose
 address is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware
 19801, an answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 38 of 305 PageID #: 49




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 39 of 305 PageID #: 50
                                                    EFiled: Nov 01 2024 04:20PM EDT
                                                    Transaction ID 74931058
                                                    Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,               C.A. No.: _________________
             v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                     Defendants.

                                    SUMMONS

 TO THE STATE OF DELAWARE,
 SHERIFF OF NEW CASTLE COUNTY:
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Starr Indemnity and Liability
 Company, so that, within 20 days after service hereof, exclusive of the day of
 service, Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose
 address is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware
 19801, an answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 40 of 305 PageID #: 51




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 41 of 305 PageID #: 52
                                                    EFiled: Nov 01 2024 04:20PM EDT
                                                    Transaction ID 74931058
                                                    Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,               C.A. No.: _________________
             v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                     Defendants.

                                    SUMMONS

 TO THE STATE OF DELAWARE,
 SHERIFF OF KENT COUNTY:
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Starr Indemnity and Liability
 Company, so that, within 20 days after service hereof, exclusive of the day of
 service, Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose
 address is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware
 19801, an answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 42 of 305 PageID #: 53




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN    Document 1-1    Filed 12/27/24   Page 43 of 305 PageID #: 54
                                                    EFiled: Nov 01 2024 04:20PM EDT
                                                    Transaction ID 74931058
                                                    Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                    Plaintiffs,                C.A. No.: _________________
             v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                     Defendants.

                                   SUMMONS

 TO THE STATE OF DELAWARE,
 SHERIFF OF NEW CASTLE COUNTY:
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Old Republic Insurance Company,
 so that, within 20 days after service hereof, exclusive of the day of service,
 Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose address
 is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware 19801, an
 answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 44 of 305 PageID #: 55




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN    Document 1-1    Filed 12/27/24   Page 45 of 305 PageID #: 56
                                                    EFiled: Nov 01 2024 04:20PM EDT
                                                    Transaction ID 74931058
                                                    Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                    Plaintiffs,                C.A. No.: _________________
             v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                     Defendants.

                                   SUMMONS

 TO THE STATE OF DELAWARE,
 SHERIFF OF KENT COUNTY:
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Old Republic Insurance Company,
 so that, within 20 days after service hereof, exclusive of the day of service,
 Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose address
 is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware 19801, an
 answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 46 of 305 PageID #: 57




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 47 of 305 PageID #: 58
                                                     EFiled: Nov 01 2024 04:20PM EDT
                                                     Transaction ID 74931058
                                                     Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,                C.A. No.: _________________
              v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                      Defendants.

                                     SUMMONS

 TO THE STATE OF DELAWARE,
 SHERIFF OF NEW CASTLE COUNTY:
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Meta Platforms, Inc. f/k/a
 TheFacebook Inc. d/b/a The Face Book, so that, within 20 days after service hereof,
 exclusive of the day of service, Defendant shall serve upon Plaintiff’s attorney, Thad
 J. Bracegirdle, whose address is Bayard, P.A., 600 North King Street, Suite 400,
 Wilmington, Delaware 19801, an answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 48 of 305 PageID #: 59




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 49 of 305 PageID #: 60
                                                     EFiled: Nov 01 2024 04:20PM EDT
                                                     Transaction ID 74931058
                                                     Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,                C.A. No.: _________________
              v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                      Defendants.

                                     SUMMONS

 TO THE STATE OF DELAWARE,
 SHERIFF OF NEW CASTLE COUNTY:
 YOU ARE COMMANDED:

        To summon the above-named Defendant, Instagram, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc., so that, within 20 days after service hereof,
 exclusive of the day of service, Defendant shall serve upon Plaintiff’s attorney, Thad
 J. Bracegirdle, whose address is Bayard, P.A., 600 North King Street, Suite 400,
 Wilmington, Delaware 19801, an answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 50 of 305 PageID #: 61




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 51 of 305 PageID #: 62
                                                     EFiled: Nov 01 2024 04:20PM EDT
                                                     Transaction ID 74931058
                                                     Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,                C.A. No.: _________________
              v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                      Defendants.

                                    SUMMONS

 TO THE STATE OF DELAWARE,
 SHERIFF OF NEW CASTLE COUNTY:
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Federal Insurance Company so that,
 within 20 days after service hereof, exclusive of the day of service, Defendant shall
 serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose address is Bayard, P.A.,
 600 North King Street, Suite 400, Wilmington, Delaware 19801, an answer to the
 Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 52 of 305 PageID #: 63




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 53 of 305 PageID #: 64
                                                     EFiled: Nov 01 2024 04:20PM EDT
                                                     Transaction ID 74931058
                                                     Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,                C.A. No.: _________________
              v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                      Defendants.

                                    SUMMONS

 TO THE STATE OF DELAWARE,
 SHERIFF OF KENT COUNTY:
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Federal Insurance Company so that,
 within 20 days after service hereof, exclusive of the day of service, Defendant shall
 serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose address is Bayard, P.A.,
 600 North King Street, Suite 400, Wilmington, Delaware 19801, an answer to the
 Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 54 of 305 PageID #: 65




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 55 of 305 PageID #: 66
                                                     EFiled: Nov 20 2024 03:46PM EST
                                                     Transaction ID 75054833
                                                     Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,                C.A. No.: N24C-11-010-SKR [CCLD]
              v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                      Defendants.

                                    SUMMONS

 THE STATE OF DELAWARE
 TO: PLAINTIFFS' COUNSEL
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Federal Insurance Company so that,
 within 20 days after service hereof, exclusive of the day of service, Defendant shall
 serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose address is Bayard, P.A.,
 600 North King Street, Suite 400, Wilmington, Delaware 19801, an answer to the
 Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 56 of 305 PageID #: 67




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN    Document 1-1    Filed 12/27/24   Page 57 of 305 PageID #: 68
                                                    EFiled: Nov 20 2024 03:46PM EST
                                                    Transaction ID 75054833
                                                    Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                    Plaintiffs,                C.A. No.: N24C-11-010 SKR [CCLD]
             v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                     Defendants.

                                   SUMMONS

 THE STATE OF DELAWARE
 TO: PLAINTIFFS' COUNSEL
 YOU ARE COMMANDED:
       To summon the above-named Defendant, Old Republic Insurance Company,
 so that, within 20 days after service hereof, exclusive of the day of service,
 Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose address
 is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware 19801, an
 answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 58 of 305 PageID #: 69




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 59 of 305 PageID #: 70
                                                    EFiled: Nov 20 2024 03:46PM EST
                                                    Transaction ID 75054833
                                                    Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,               C.A. No.: N24C-11-010 SKR [CCLD]
             v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                     Defendants.

                                    SUMMONS

 THE STATE OF DELAWARE
 TO: PLAINTIFFS' COUNSEL
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Starr Indemnity and Liability
 Company, so that, within 20 days after service hereof, exclusive of the day of
 service, Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose
 address is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware
 19801, an answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 60 of 305 PageID #: 71




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 61 of 305 PageID #: 72
                                                    EFiled: Nov 20 2024 03:46PM EST
                                                    Transaction ID 75054833
                                                    Case No. N24C-11-010 SKR CCLD
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                     Plaintiffs,               C.A. No.: N24C-11-010 SKR [CCLD]
             v.

 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                     Defendants.

                                    SUMMONS

 THE STATE OF DELAWARE
 TO: PLAINTIFFS' COUNSEL
 YOU ARE COMMANDED:

       To summon the above-named Defendant, Zurich American Insurance
 Company, so that, within 20 days after service hereof, exclusive of the day of
 service, Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose
 address is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware
 19801, an answer to the Complaint.

       To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 62 of 305 PageID #: 73




 Dated: ________________________
                                               Prothonotary


                                               Per Deputy



 TO THE ABOVE-NAMED DEFENDANT:

        In case of your failure, within 20 days after service hereof upon you, exclusive
 of the day of service, to serve on Plaintiff’s attorney named above an answer to the
 complaint, judgment by default will be rendered against you for the relief demanded
 in the complaint.

 Dated: ________________________
                                               Prothonotary


                                               Per Deputy




                                           2
Case 1:24-cv-01422-MN   Document 1-1   Filed 12/27/24   Page 63 of 305 PageID #: 74
                                                EFiled: Nov 27 2024 02:22PM EST
                                                Transaction ID 75108148
                                                Case No. N24C-11-010 SKR CCLD
Case 1:24-cv-01422-MN   Document 1-1   Filed 12/27/24   Page 64 of 305 PageID #: 75
Case 1:24-cv-01422-MN   Document 1-1   Filed 12/27/24   Page 65 of 305 PageID #: 76
Case 1:24-cv-01422-MN   Document 1-1   Filed 12/27/24   Page 66 of 305 PageID #: 77
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24   Page 67 of 305 PageID #: 78
                                                       EFiled: Dec 04 2024 12:28PM EST
                                                       Transaction ID 75133961
                  Sheriff's Office                     Case No. N24C-11-010    SKR CCLD
                                                                     State of Delaware
                  800 N. French Street, 5th Floor                   New Castle County
                  Wilmington, Delaware 19801                         Scott T. Phillips
                  302-395-8450, Fax: 302-395-8460                         Sheriff


                                                                     12/4/2024
 Court Case # N24C-11-010 SKR CCLD
 Sheriff # 24-007685

 Summons and Complaint

   HARTFORD CASUALTY INSURANCE COMPANY AND SENTINEL INSURANCE
                             COMPANY, LTD
                                    vs
  INSTAGRAM, LLC AS SUCCESSOR IN INTEREST TO INSTAGRAM A/K/A BURBN,
     INC; META PLATFORMS, INC F/K A THEFACEBOOK INC D/B/A THE FACE
                            BOOK, INC; ET AL

 Entity - META PLATFORMS, INC F/K/A THEFACEBOOK INC D/B/A THE FACE BOOK

 On 12/3/2024 at 9:30 AM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon Litigation Management Representative a representative for the
 registered agent CORPORATION SERVICE COMPANY 251 LITTLE FALLS DRIVE
 WILMINGTON, DE 19808



 Fees Paid: $10.00

 Per: Deputy Sheriff, Jeffrey Maddocks

 SO ANS;




         SHERIFF

 PER Janice Frisby-Dowe




                                         Page 1 of 1
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24   Page 68 of 305 PageID #: 79
                                                       EFiled: Dec 04 2024 12:28PM EST
                                                       Transaction ID 75133960
                  Sheriff's Office                     Case No. N24C-11-010    SKR CCLD
                                                                     State of Delaware
                  800 N. French Street, 5th Floor                   New Castle County
                  Wilmington, Delaware 19801                         Scott T. Phillips
                  302-395-8450, Fax: 302-395-8460                         Sheriff


                                                                     12/4/2024
 Court Case # N24C-11-010 SKR CCLD
 Sheriff # 24-007685

 Summons and Complaint

   HARTFORD CASUALTY INSURANCE COMPANY AND SENTINEL INSURANCE
                             COMPANY, LTD
                                    vs
  INSTAGRAM, LLC AS SUCCESSOR IN INTEREST TO INSTAGRAM A/K/A BURBN,
     INC; META PLATFORMS, INC F/K A THEFACEBOOK INC D/B/A THE FACE
                            BOOK, INC; ET AL

 Entity - INSTAGRAM, LLC AS SUCCESSOR IN INTEREST TO INSTAGRAM A/K/A
 BURBN, INC

 On 12/3/2024 at 9:30 AM a copy of the within writ together with a copy of the Summons and
 Complaint were served upon Litigation Management Representative a representative for the
 registered agent CORPORATION SERVICE COMPANY 251 LITTLE FALLS DRIVE
 WILMINGTON, DE 19808



 Fees Paid: $40.00

 Per: Deputy Sheriff, Jeffrey Maddocks

 SO ANS;




         SHERIFF

 PER Janice Frisby-Dowe




                                         Page 1 of 1
Case 1:24-cv-01422-MN              Document 1-1     Filed 12/27/24      Page 69 of 305 PageID #: 80
                                                                   EFiled: Dec 17 2024 03:40PM EST
                Kent County Sheriff’s Office                       Transaction ID 75247263
                                                                             STATE of DELAWARE
                555 Bay Rd                                         Case No. N24C-11-010 SKR CCLD
                                                                                   KENT COUNTY
                Dover, DE 19901
                                                                                        12/17/2024
                302-736-2161

                                       SHERIFF’S RETURN

 Hartford Casualty Insurance Company and            C.A. No.:
 Sentinel Insurance Company, LTD,                                   N24C-11-010 SKR CCLD
                                  Plaintiff,        Sheriff No.:
        Vs.                                                         24003087
                                                    Attorney:
 Instagram, LLC as successor in interest to         Firm:           Emily L. Skaug of
 Instagram a/k/a Burbn, Inc.; Meta                                  Bayard, P.A.
 Platforms, Inc. f/k/a TheFacebook Inc                              600 North King Street
 d/b/a The Face Book, Inc.                                          Suite 400
 To:     Superior Court - NC      Defendant                         Wilmington, DE 19801

 Served the within Writ upon:

 Zurich American Insurance Company c/o Insurance Commissioner Trinidad Navarro by delivering to and
 leaving in the hands of Zurich American Insurance Company c/o Insurance Commissioner Trinidad
 Navarro, Insurance Commissioner of the State of Delaware, true copies of the said Writ together with a
 copy of the plaintiff’s Summons/Complaint.

 $25 Check attached for Insurance Commissioner as prescribed by Title 18 Delaware Code Section 525
 this day, 12/10/2024.




                                         So Answers,




                                         Norman R. Barlow
                                         Sheriff of Kent County




 Form: RC-402 Insurance Commissioner
 Revised: 11/22/2023
Case 1:24-cv-01422-MN              Document 1-1     Filed 12/27/24      Page 70 of 305 PageID #: 81
                                                                   EFiled: Dec 17 2024 03:40PM EST
                Kent County Sheriff’s Office                       Transaction ID 75247261
                                                                             STATE of DELAWARE
                555 Bay Rd                                         Case No. N24C-11-010 SKR CCLD
                                                                                   KENT COUNTY
                Dover, DE 19901
                                                                                        12/17/2024
                302-736-2161

                                       SHERIFF’S RETURN

 Hartford Casualty Insurance Company and            C.A. No.:
 Sentinel Insurance Company, LTD,                                   N24C-11-010 SKR CCLD
                                  Plaintiff,        Sheriff No.:
        Vs.                                                         24003087
                                                    Attorney:
 Instagram, LLC as successor in interest to         Firm:           Emily L. Skaug of
 Instagram a/k/a Burbn, Inc.; Meta                                  Bayard, P.A.
 Platforms, Inc. f/k/a TheFacebook Inc                              600 North King Street
 d/b/a The Face Book, Inc.                                          Suite 400
 To:     Superior Court - NC      Defendant                         Wilmington, DE 19801

 Served the within Writ upon:

 Starr Indemnity and Liability Company c/o Insurance Commissioner Trinidad Navarro by delivering to
 and leaving in the hands of Starr Indemnity and Liability Company c/o Insurance Commissioner Trinidad
 Navarro, Insurance Commissioner of the State of Delaware, true copies of the said Writ together with a
 copy of the plaintiff’s Summons/Complaint.

 $25 Check attached for Insurance Commissioner as prescribed by Title 18 Delaware Code Section 525
 this day, 12/10/2024.




                                         So Answers,




                                         Norman R. Barlow
                                         Sheriff of Kent County




 Form: RC-402 Insurance Commissioner
 Revised: 11/22/2023
Case 1:24-cv-01422-MN              Document 1-1     Filed 12/27/24      Page 71 of 305 PageID #: 82
                                                                   EFiled: Dec 17 2024 03:40PM EST
                Kent County Sheriff’s Office                       Transaction ID 75247260
                                                                             STATE of DELAWARE
                555 Bay Rd                                         Case No. N24C-11-010 SKR CCLD
                                                                                   KENT COUNTY
                Dover, DE 19901
                                                                                       12/17/2024
                302-736-2161

                                       SHERIFF’S RETURN

 Hartford Casualty Insurance Company and            C.A. No.:
 Sentinel Insurance Company, LTD,                                   N24C-11-010 SKR CCLD
                                  Plaintiff,        Sheriff No.:
        Vs.                                                         24003087
                                                    Attorney:
 Instagram, LLC as successor in interest to         Firm:           Emily L. Skaug of
 Instagram a/k/a Burbn, Inc.; Meta                                  Bayard, P.A.
 Platforms, Inc. f/k/a TheFacebook Inc                              600 North King Street
 d/b/a The Face Book, Inc.                                          Suite 400
 To:     Superior Court - NC      Defendant                         Wilmington, DE 19801

 Served the within Writ upon:

 Old Republic Insurance Company c/o Insurance Commissioner Trinidad Navarro by delivering to and
 leaving in the hands of Old Republic Insurance Company c/o Insurance Commissioner Trinidad Navarro,
 Insurance Commissioner of the State of Delaware, true copies of the said Writ together with a copy of
 the plaintiff’s Summons/Complaint.

 $25 Check attached for Insurance Commissioner as prescribed by Title 18 Delaware Code Section 525
 this day, 12/10/2024.




                                         So Answers,




                                         Norman R. Barlow
                                         Sheriff of Kent County




 Form: RC-402 Insurance Commissioner
 Revised: 11/22/2023
Case 1:24-cv-01422-MN              Document 1-1     Filed 12/27/24      Page 72 of 305 PageID #: 83
                                                                   EFiled: Dec 17 2024 03:40PM EST
                Kent County Sheriff’s Office                       Transaction ID 75247258
                                                                             STATE of DELAWARE
                555 Bay Rd                                         Case No. N24C-11-010 SKR CCLD
                                                                                   KENT COUNTY
                Dover, DE 19901
                                                                                       12/17/2024
                302-736-2161

                                       SHERIFF’S RETURN

 Hartford Casualty Insurance Company and            C.A. No.:
 Sentinel Insurance Company, LTD,                                   N24C-11-010 SKR CCLD
                                  Plaintiff,        Sheriff No.:
        Vs.                                                         24003087
                                                    Attorney:
 Instagram, LLC as successor in interest to         Firm:           Emily L. Skaug of
 Instagram a/k/a Burbn, Inc.; Meta                                  Bayard, P.A.
 Platforms, Inc. f/k/a TheFacebook Inc                              600 North King Street
 d/b/a The Face Book, Inc.                                          Suite 400
 To:     Superior Court - NC      Defendant                         Wilmington, DE 19801

 Served the within Writ upon:

 Federal Insurance Company c/o Insurance Commissioner Trinidad Navarro by delivering to and leaving in
 the hands of Federal Insurance Company c/o Insurance Commissioner Trinidad Navarro, Insurance
 Commissioner of the State of Delaware, true copies of the said Writ together with a copy of the
 plaintiff’s Summons/Complaint.

 $25 Check attached for Insurance Commissioner as prescribed by Title 18 Delaware Code Section 525
 this day, 12/10/2024.




                                         So Answers,




                                         Norman R. Barlow
                                         Sheriff of Kent County




 Form: RC-402 Insurance Commissioner
 Revised: 11/22/2023
Case 1:24-cv-01422-MN    Document 1-1   Filed 12/27/24   Page 73 of 305 PageID #: 84
                                                   EFiled: Dec 13 2024 10:53AM EST
                                                   Transaction ID 75216881
                                                   Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 HARTFORD CASUALTY
 INSURANCE COMPANY and
 SENTINEL INSURANCE COMPANY,
 LTD.,

                    Plaintiffs,
                                             C.A. No. N24C-11-010 SKR
             v.                              CCLD
 INSTAGRAM, LLC as successor in
 interest to Instagram a/k/a Burbn, Inc.;
 META PLATFORMS, INC. f/k/a
 TheFacebook Inc. d/b/a The Face Book,
 Inc.; FEDERAL INSURANCE
 COMPANY; OLD REPUBLIC
 INSURANCE COMPANY; STARR
 INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                     Defendants.


                         DECLARATION OF SERVICE

       I, Emily L. Skaug, declare under penalty of perjury under the laws of

 Delaware that:

       1.    I am a member in good standing of the Bar of the State of Delaware, an

 attorney at Bayard P.A., and counsel for Plaintiffs Hartford Casualty Insurance

 Company and Sentinel Insurance Company, Ltd., in the above-captioned action.
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24    Page 74 of 305 PageID #: 85




       2.     On December 4, 2024, pursuant to 10 Del. C. § 3104, I caused true and

 correct copies of the Complaint and Summons to be served via certified mail, return

 receipt requested, upon Federal Insurance Company, at the following address:

              Federal Insurance Company
              c/o an officer, a managing or general agent
              202B Hall’s Mill Road
              Whitehouse Station, NJ 08889

 A copy of the certified mail history is attached hereto as Exhibit A.

       3.     On December 9, 2024, pursuant to 10 Del. C. § 3104, I caused true and

 correct copies of the Complaint and Summons to be served via certified mail, return

 receipt requested, upon Zurich American Insurance Company, at the following

 address:

              Zurich American Insurance Company
              c/o an officer, a managing or general agent
              1299 Zurich Way ZAIC
              Schaumburg, Illinois 60196

 A copy of the certified mail history is attached hereto as Exhibit B.

       4.     On December 10, 2024, pursuant to 10 Del. C. § 3104, I caused true

 and correct copies of the Complaint and Summons to be served via certified mail,

 return receipt requested, upon Federal Insurance Company, at the following address:

              Federal Insurance Company
              c/o C T Corporation System
              334 North Senate Avenue,
              Indianapolis, Indiana, 46204

 A copy of the certified mail history is attached hereto as Exhibit C.

                                           2
 Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24     Page 75 of 305 PageID #: 86




        5.     On December 10, 2024, pursuant to 10 Del. C. § 3104, I caused true

  and correct copies of the Complaint and Summons to be served via certified mail,

  return receipt requested, upon Zurich American Insurance Company, at the

  following address:

               Zurich American Insurance Company
               c/o an officer, a managing or general agent
               Four World Trade Center,
               150 Greenwich St.
               New York, New York 10007

  A copy of the certified mail history is attached hereto as Exhibit D.

        6.     Pursuant to Superior Court Civil Rule 4(h), this Amendment and

  Affidavit is being filed within 10 days of receiving the return receipts.

        I declare under penalty of perjury under the laws of Delaware that the

  foregoing is true and correct.

        Executed on this 13th day of December 2024.


Dated: December 13, 2024
                                                /s/ Emily L. Skaug
                                                Emily L. Skaug (No. 6921)
                                                BAYARD, P.A.
                                                600 N. King Street, Suite 400
                                                Wilmington, Delaware 19899
                                                (302) 655-5000


                                                Counsel for Plaintiffs




                                            3
Case 1:24-cv-01422-MN   Document 1-1   Filed 12/27/24   Page 76 of 305 PageID #: 87
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                                                 Transaction ID 75216881
                                                 Case No. N24C-11-010 SKR CCLD




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        Latest Update
        Your item has been delivered and is available at a PO Box at 9:56 am on December 4, 2024 in WHITEHOUSE
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         WHITEHOUSE STATION, NJ 08889
         December 4, 2024, 9:56 am


         Arrived at Post Office
         WHITEHOUSE STATION, NJ 08889
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         Arrived at USPS Regional Facility
         KEARNY NJ DISTRIBUTION CENTER
         December 3, 2024, 3:49 pm


         Departed USPS Regional Facility
         WILMINGTON DE DISTRIBUTION CENTER
         December 3, 2024, 11:56 am


         Arrived at USPS Regional Facility
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         SCHAUMBURG, IL 60196
         December 9, 2024, 4:27 pm




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         Arrived at USPS Regional Facility
         CAROL STREAM IL DISTRIBUTION CENTER
         December 8, 2024, 10:29 am


         In Transit to Next Facility
         December 7, 2024


         Arrived at USPS Facility
         LOUISVILLE, KY 40221
         December 6, 2024, 2:50 pm


         Departed USPS Regional Facility
         WILMINGTON DE DISTRIBUTION CENTER
         December 3, 2024, 11:56 am


         Arrived at USPS Regional Facility
         WILMINGTON DE DISTRIBUTION CENTER
         December 2, 2024, 8:43 pm


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        Delivered
        Delivered, PO Box
        INDIANAPOLIS, IN 46204
        December 10, 2024, 10:26 am


        Available for Pickup
        INDIANAPOLIS, IN 46204
        December 10, 2024, 9:22 am




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        Arrived at Post Office
        INDIANAPOLIS, IN 46204
        December 10, 2024, 9:11 am


        In Transit to Next Facility
        December 9, 2024


        Arrived at USPS Regional Facility
        INDIANAPOLIS IN DISTRIBUTION CENTER
        December 6, 2024, 10:47 am


        Departed USPS Regional Facility
        WILMINGTON DE DISTRIBUTION CENTER
        December 3, 2024, 11:56 am


        Arrived at USPS Regional Facility
        WILMINGTON DE DISTRIBUTION CENTER
        December 2, 2024, 8:43 pm


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        Your item has been delivered to an agent and left with an individual at the address at 12:02 pm on December 10, 2024 in NEW
        YORK, NY 10007.



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        Delivered to Agent
        Delivered to Agent, Left with Individual
        NEW YORK, NY 10007
        December 10, 2024, 12:02 pm


        Redelivery Scheduled for Next Business Day
        NEW YORK, NY 10007




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        December 9, 2024, 11:14 am


        Arrived at USPS Regional Facility
        NEW YORK NY DISTRIBUTION CENTER
        December 8, 2024, 9:21 am


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        Departed USPS Regional Facility
        WILMINGTON DE DISTRIBUTION CENTER
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        Arrived at USPS Regional Facility
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        December 2, 2024, 8:43 pm


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     What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)




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                                                      EFiled: Dec 18 2024 04:21PM EST
                                                      Transaction ID 75260921
                                        SUPERIOR COURTCase No. N24C-11-010 SKR CCLD
                            CIVIL CASE INFORMATION STATEMENT (CIS)


COUNTY:        N       K       S               CIVIL ACTION NUMBER: N24C-11-010 SKR CCLD

Caption:
                                                            Civil Case Code: CCLD_
HARTFORD CASUALTY INSURANCE COMPANY and                     Civil Case Type: Complex Commercial Litigation Division
SENTINEL INSURANCE COMPANY, LTD., Plaintiffs,
                        Defendants.
                      v.                                                      (SEE REVERSE SIDE FOR CODE AND TYPE)
INSTAGRAM, LLC, as successor in interest to Instagram MANDATORY NON-BINDING ARBITRATION (MNA)
a/k/a Burbn, Inc.; META PLATFORMS, INC. f/k/a
TheFacebook Inc. d/b/a The Face Book, Inc.; FEDERAL   Name and Status of Party filing document:
INSURANCE COMPANY; OLD REPUBLIC INSURANCE
COMPANY; STARR INDEMNITY AND LIABILITY COMPANY,       Plaintiffs Hartford Casualty Insurance Company and
and ZURICH AMERICAN INSURANCE COMPANY, Defendants. Sentinel Insurance Company Ltd.
                                                           Document Type:(E.G.; COMPLAINT; ANSWER WITH COUNTERCLAIM)

                                                           Amended Complaint

                                                                              JURY DEMAND: YES        NO X

 ATTORNEY NAME(S): Thad J. Bracegirdle, Sarah Andrade,      IDENTIFY ANY RELATED CASES NOW PENDING IN THE SUPERIOR COURT OR ANY
and Emily L. Skaug                                          RELATED CASES THAT HAVE BEEN CLOSED IN THIS COURT WITHIN THE LAST

                                                            TWO YEARS BY CAPTION AND CIVIL ACTION NUMBER INCLUDING JUDGE’S
                                                            INITIALS:   N/A
ATTORNEY ID(S): 3691, 6157, 6921
FIRM NAME: Bayard, P.A.
                                                            EXPLAIN THE RELATIONSHIP(S):
ADDRESS: 600 N. King St., Ste 400, Wilmington, DE 19801


TELEPHONE NUMBER:   (302) 655-5000


FAX NUMBER: (302) 658-6395                                  OTHER UNUSUAL ISSUES THAT AFFECT CASE MANAGEMENT:



E-MAIL ADDRESS: tbracegirdle@bayardlaw.com;
sandrade@bayardlaw.com; eskaug@bayardlaw.com

                                                            (IF ADDITIONAL SPACE IS NEEDED, PLEASE ATTACH PAGE)



THE PROTHONOTARY WILL NOT PROCESS THE COMPLAINT, ANSWER, OR FIRST RESPONSIVE PLEADING IN THIS MATTER FOR SERVICE UNTIL
THE CASE INFORMATION STATEMENT (CIS) IS FILED. THE FAILURE TO FILE THE CIS AND HAVE THE PLEADING PROCESSED FOR SERVICE MAY
RESULT IN THE DISMISSAL OF THE COMPLAINT OR MAY RESULT IN THE ANSWER OR FIRST RESPONSIVE PLEADING BEING STRICKEN.

                                                                                                                  Revised 10/2022
Case 1:24-cv-01422-MN   Document 1-1   Filed 12/27/24   Page 89 of 305 PageID #: 100
Case 1:24-cv-01422-MN     Document 1-1    Filed 12/27/24   Page 90 of 305 PageID #: 101
                                                     EFiled: Dec 18 2024 04:21PM EST
                                                     Transaction ID 75260921
                                                     Case No. N24C-11-010 SKR CCLD
        THE SUPERIOR COURT FOR THE STATE OF DELAWARE

  HARTFORD CASUALTY
  INSURANCE COMPANY and
  SENTINEL INSURANCE COMPANY,
  LTD.,

                    Plaintiffs,

              v.
                                                C.A. No.: N24C-11-010 SKR
  INSTAGRAM, LLC as successor in                CCLD
  interest to Instagram a/k/a Burbn, Inc.;
  META PLATFORMS, INC. f/k/a
  TheFacebook Inc. d/b/a The Face Book,
  Inc.; FEDERAL INSURANCE
  COMPANY; OLD REPUBLIC
  INSURANCE COMPANY; STARR
  INDEMNITY AND LIABILITY
  COMPANY; and ZURICH AMERICAN
  INSURANCE COMPANY,

                    Defendants.

                             AMENDED COMPLAINT

        Hartford Casualty Insurance Company (“Hartford Casualty”) and Sentinel

  Insurance Company, Ltd. (“Sentinel,” and together with Hartford Casualty,

  “Hartford”), by and through their attorneys, allege as follows for their amended

  complaint against Instagram, LLC as successor in interest to Instagram a/k/a Burbn,

  Inc. (“Instagram LLC”); Meta Platforms, Inc., formerly known as TheFacebook, Inc.

  doing business as The Face Book, Inc. (“Meta Platforms,” and together with

  Instagram LLC, “Meta”); Federal Insurance Company (“Federal”); Old Republic

                                          1
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 91 of 305 PageID #: 102




  Insurance Company (“Old Republic”); Starr Indemnity and Liability Company

  (“Starr”); and Zurich American Insurance Company (“Zurich”).

                            NATURE OF THE DISPUTE

        1.        This is an action for declaratory relief pursuant to Article IV, § 7 of

  the Delaware Constitution, 10 Del. C. § 541, and 10 Del. C. §§ 6501, et seq.

        2.        Hartford seeks a determination of the parties’ rights and obligations

  in connection with primary liability policies issued by Hartford to Meta with respect

  to numerous underlying claims against Meta and other social media companies

  alleging that the defendants’ social media platforms are defective because they are

  designed to maximize screen time and encourage addictive behavior in minors,

  which has resulted in various emotional and physical harm to minors, including

  death (the “Social Media Lawsuits”).

                                       PARTIES

        3.        Plaintiff Hartford Casualty is an Indiana company with a principal

  place of business in Connecticut. Hartford Casualty issued primary insurance

  coverage to “The Face Book, Inc.” on an annual basis from October 9, 2004, to

  October 8, 2007.

        4.        Plaintiff Sentinel is a Connecticut company with a principal place

  of business in Connecticut.      Sentinel issued primary insurance coverage to

  “Instagram a/k/a Burbn, Inc.” from December 19, 2011, to December 19, 2012.


                                            2
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 92 of 305 PageID #: 103




        5.        Defendant Instagram, LLC is a Delaware limited liability company

  whose sole member is Defendant Meta Platforms. On information and belief, the

  company originally known as Burbn, Inc. was incorporated in Delaware in February

  2010 and launched, develops, operates, markets, and owns the social media

  application now known as Instagram and its related features, applications, and

  products (e.g., Boomerang and Instagram Direct) (collectively, “Instagram”).

  Burbn, Inc. changed its name to Instagram, Inc. in January 2012. Facebook, Inc.

  acquired Instagram, Inc. in August 2012, and Instagram, Inc. merged into Instagram,

  LLC on August 31, 2012.

        6.        Defendant Meta Platforms is a Delaware corporation with its

  principal place of business in California. On information and belief, “The Face

  Book, Inc.” was a trade name of the company incorporated in Delaware on July 29,

  2004, under the registered name TheFacebook, Inc., which launched, develops,

  operates, markets, and owns the social media application now known as Facebook

  and its related applications and products (e.g., Messenger, Messenger Kids,

  Marketplace, Workplace, etc.) (collectively, “Facebook”).      TheFacebook, Inc.

  changed its name to Facebook, Inc. in September 2005, and to Meta Platforms, Inc.

  in October 2021.

        7.        Defendant Federal is an Indiana corporation with a principal place

  of business in New Jersey. On information and belief, Federal issued primary


                                          3
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 93 of 305 PageID #: 104




  insurance coverage to Facebook, Inc. under Policy No. 3589-24-66 PLE (effective

  October 9, 2007 to October 9, 2016). Upon information and belief, Federal is

  licensed to do business in Delaware and, at all times relevant to this Complaint, was

  engaged in the business of selling contracts of insurance and did business in

  Delaware.

        8.        Defendant Old Republic is a Pennsylvania company with a principal

  place of business in Pennsylvania. Upon information and belief, Old Republic

  issued primary insurance coverage to Facebook, Inc. under Policy Nos.

  MWZY308504 (effective October 9, 2016 to October 9, 2017) and MWZY311176

  (effective October 9, 2017 to October 9, 2020). Upon information and belief, Old

  Republic is licensed to do business in Delaware and, at all times relevant to this

  Complaint, was engaged in the business of selling contracts of insurance and did

  business in Delaware.

        9.        Defendant Starr is a Texas company with a principal place of

  business in New York. Upon information and belief, Star issued primary insurance

  coverage to Facebook, Inc. and/or Meta Platforms, Inc. under Policy Nos.

  1000100155201 (effective October 9, 2020 to October 9, 2021), 1000100155211

  (effective October 9, 2021 to October 9, 2022), and 1000100155221 (October 9,

  2022 to October 9, 2023). Upon information and belief, Starr is licensed to do

  business in Delaware and, at all times relevant to this Complaint, was engaged in the


                                           4
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24   Page 94 of 305 PageID #: 105




  business of selling contracts of insurance and did business in Delaware.

        10.        Defendant Zurich is a New York company with a principal place of

  business in Illinois. Upon information and belief, Zurich issued primary insurance

  coverage to Facebook, Inc. and/or Meta Platforms, Inc. under Policy Nos. ZE

  3730650-02 (effective October 9, 2018 to October 9, 2019), ZE 3730650-03

  (effective October 9, 2019 to October 9, 2020), ZE 3730650-04 (effective October

  9, 2020 to October 9, 2021), ZE 3730650-05 (effective October 9, 2021 to October

  9, 2022), and ZE 3730650-06 (effective October 9, 2022 to October 9, 2023). Upon

  information and belief, Zurich is licensed to do business in Delaware and, at all times

  relevant to this Complaint, was engaged in the business of selling contracts of

  insurance and did business in Delaware.

        11.        The defendants listed in ¶¶ 7-10 are the “Other Primary Insurers.”

  The Other Primary Insurers are joined because there is a justiciable controversy

  regarding the primary insurance carriers’ duty to defend the Social Media Lawsuits.

  The Other Primary Insurers’ interests in the subject matter of this declaratory

  judgment action will be prejudiced if this action is litigated in their absence.

  JURISDICTION

        12.        This Court has subject matter jurisdiction pursuant to Article IV, § 7

  of the Delaware Constitution and 10 Del. C. § 541 and under 10 Del. C. §§ 6501, et

  seq., which provides this Court with the power “to declare rights, status and other


                                             5
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24    Page 95 of 305 PageID #: 106




  legal relations whether or not further relief is or could be claimed.”

        13.        This Court has personal jurisdiction over defendant Meta Platforms

  because Meta Platforms is a Delaware corporation.

        14.        This Court has personal jurisdiction over defendant Instagram LLC

  because Instagram LLC is a Delaware limited liability company and a resident of

  Delaware by virtue of its member, Meta Platforms.

        15.        This Court has personal jurisdiction over the Other Insurers because

  they at material times have conducted business, committed acts or omissions, or have

  caused substantial effects within the State of Delaware with respect to one or more

  causes of action arising from these acts, omissions, or effects.

  FACTUAL BACKGROUND

        A.     The Social Media Lawsuits

        16.        Between February 2023 and the present date, Meta has periodically

  notified Hartford of Social Media Lawsuits against Meta by individuals, school

  districts, local governments, and state attorneys general. In the time since this action

  was filed, Meta has tendered additional social media claims to Hartford, and on

  information and belief, will continue to do so as more social media claims are

  asserted against it. The additional claims implicate the same questions of policy

  interpretation set forth herein, and upon information and belief, future tenders will

  likewise implicate the same questions.


                                             6
Case 1:24-cv-01422-MN      Document 1-1    Filed 12/27/24   Page 96 of 305 PageID #: 107




        17.         Most (but not all) of the Social Media Lawsuits are consolidated in

  a multidistrict litigation pending in the Northern District of California for

  coordinated and consolidated pretrial proceedings (the “MDL”) or Judicial Council

  Coordination Proceeding No. 5255 coordinated in the County of Los Angeles

  Central District Superior Court (the “JCCP”), where master complaints and short

  form complaints have supplanted many of the complaints originally filed by the

  plaintiffs. Although those common master complaints and short form complaints

  supersede the original complaints filed by many of the plaintiffs in the cases

  coordinated in the MDL and JCCP, each of the separate cases coordinated in the

  MDL and JCCP remains a separate lawsuit.

        18.         The specific factual allegations of the Social Media Lawsuits vary,

  but the Social Media Lawsuits generally include certain common allegations,

  including that:

              a.    Meta designs, develops, owns, operates, and markets the social

                    media platforms Instagram and Facebook;

              b.    Meta intentionally targeted children and adolescents as a core

                    market;

              c.    Meta intentionally designed Instagram and Facebook to exploit

                    vulnerabilities in human psychology and developed and embedded

                    addictive features in Instagram and Facebook to maximize


                                            7
Case 1:24-cv-01422-MN       Document 1-1    Filed 12/27/24   Page 97 of 305 PageID #: 108




                    engagement from children and adolescents to drive revenue;

               d.   Use of Instagram and Facebook has had harmful effects on children

                    and adolescents;

               e.   Meta knew that use of Instagram and Facebook has had harmful

                    effects on children and adolescents;1

               f.   Meta concealed its knowledge of, and information regarding, the

                    harmful effects of Instagram and Facebook on children and

                    adolescents;

               g.   Meta falsely represented that Instagram and Facebook are safe for

                    children and adolescents and are not designed to induce compulsive

                    and extended use; and

               h.   Meta willfully failed to conduct proper age verification and

                    authentication of Instagram and Facebook registrants, resulting in

                    rampant access to those platforms by children under 13 and

                    associated collection of such children’s data.

         19.        Many of the individual, school district, and local government

  plaintiffs further allege that:


  1
        Many of the lawsuits reference internal documents made public by
  whistleblower Frances Haugen, former Facebook product manager, that reflect
  findings from Meta’s researchers on body image and mental health issues caused
  by minors’ use of Instagram and Facebook.

                                            8
Case 1:24-cv-01422-MN       Document 1-1      Filed 12/27/24    Page 98 of 305 PageID #: 109




              a.   Meta failed to adequately warn children, adolescents, and others

                   about the dangers and harms caused by Instagram and Facebook or

                   to provide instructions regarding safe use; and

              b.   The design features of Instagram and Facebook facilitate the spread

                   of child sexual abuse material (“CSAM”) and child exploitation.

        20.        The individual plaintiffs (the “Individual Plaintiffs”) are generally

  injured persons who allege that they became addicted to social media platforms as

  minors as a result of allegedly manipulative features of those social media platforms

  that seek to maximize the amount of time minors spend on the platforms, or persons

  seeking to recover on behalf of such an injured person. Based on the allegations

  described above, the Individual Plaintiffs bring various counts against Meta and

  others under applicable state law. Based on those claims, the Individual Plaintiffs

  generally seek to recover for direct harms an individual person experienced as a

  result of their social media addiction, including, e.g., depression and anxiety, “social

  comparison,” “the pressure of looks/behaviors,” eating disorders, body dysmorphia,

  isolation, insecurity, and loneliness.

        21.        Unlike the Individual Plaintiffs, the school district, local

  government, and state attorney general plaintiffs (the “Government/School District

  Plaintiffs”) are not (i) an injured person, (ii) seeking to recover on behalf of a specific

  alleged injured person, or (iii) an organization seeking to recover the costs of directly


                                              9
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 99 of 305 PageID #: 110




  caring for any specific alleged injured person.

        22.       Rather, based on the allegations described above, the school

  districts and local governments bring various counts against Meta and others and

  generally seek to recover damages for aggregate increases in expenditures and

  operating costs necessitated by mass social media addiction in minors (e.g.,

  increased provision of anxiety and depression counseling, health services,

  community-based      services,   behavioral   health   services,   and   after-school

  programming; increases in staff to confiscate cell phones and communicate and

  engage with parents and guardians regarding students’ attendance, mental health,

  and behavioral issues; and increased resources to investigate and prosecute crimes

  that allegedly result from use of the social media platforms).

        23.       Certain school district and/or local government plaintiffs allege that

  property has been damaged as a result of students’ mental, emotional, and/or social

  problems caused by social media and/or participation in “challenge” videos

  circulated on social media.2 Those complaints, however, do not seek damages

  “because of” property damage, do not seek damages “because of” property damage



  2
         The specific “challenge” videos identified in the Social Media Lawsuits are
  generally associated with social media platforms other than Facebook or Instagram
  and/or went viral during periods that post-date the Hartford policy periods. Both
  the “devious licks” challenge and the “Blackout Challenge” discussed in Plaintiffs’
  First Amended Master Complaint (Local Government and School District) in the
  MDL, for instance, were “challenges” that went viral on Tik-Tok in 2021.
                                           10
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 100 of 305 PageID #:
                                         111



purportedly caused by Meta, and/or do not seek damages “because of” property

damage during the effective policy periods of the Hartford Policies. In the MDL,

the property damage allegations brought by the school district and/or local

government plaintiffs have been dismissed, and the JCCP defendants’ demurer to

certain representative school district complaints was sustained in its entirety.

      24.        The state attorneys general, for their part, generally seek

disgorgement, civil penalties, injunctive relief, and other remedies based on their

assertions that the acts and omissions of Meta and others violate consumer protection

and privacy laws.

      B.      The Hartford Policies

      25.        As relevant here, Hartford Casualty issued to The Face Book Inc.

as named insured Policy No. 57 SBA AW9679 DX, effective from October 1, 2004,

to October 1, 2005 (the “2004-2005 Facebook Policy”); Policy No. 57 SBA AZ6549

SC, effective from October 1, 2005, to October 1, 2006 (the “2005-2006 Facebook

Policy”); and Policy No. 57 SBQ RG7020 SC, effective from October 1, 2006, to

October 1, 2007 (the “2006-2007 Facebook Policy”) (collectively, the “Facebook

Policies”).

      26.        As relevant here, Sentinel issued to Instagram a/k/a Burbn, Inc. as

named insured Policy No. 57 SBA BB7385 SC, effective from December 19, 2011,

to December 19, 2012 (the “Instagram Policy,” and together with the Facebook


                                          11
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 101 of 305 PageID #:
                                         112



Policies, the “Hartford Policies”).

      27.        Each of the Hartford Policies provides Business Liability coverage

for “those sums that the insured becomes legally obligated to pay as damages

because of ‘bodily injury’, ‘property damage’ or ‘personal and advertising injury’ to

which this insurance applies”, subject to a per-occurrence limit of $1 million, a

general aggregate limit of $2 million, and a products/completed-operations

aggregate limit of $2 million.

      28.        The 2004-2005 Facebook Policy and 2005-2006 Facebook Policy

(at Business Liability Coverage Form SS 00 08 04 01) and the 2006-2007 Facebook

Policy and the Instagram Policy (at Business Liability Cover Form SS 00 08 04 05)

contain insuring agreements that state as follows (subject to certain non-substantive

differences in formatting):

             Insuring Agreement
             a. We will pay . . . those sums that the insured becomes
             legally obligated to pay as damages because of “bodily
             injury”, “property damage” or “personal and advertising
             injury” to which this insurance applies. We will have the
             right and duty to defend the insured against any “suit”
             seeking those damages. However, we will have no duty to
             defend the insured against any “suit” seeking damages for
             “bodily injury”, “property damage” or “personal and
             advertising injury” to which this insurance does not apply.
             ..
             b. This insurance applies to:
             (1) “Bodily injury” and “property damage” only if:
             (a) The “bodily injury” or “property damage” is caused by

                                         12
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 102 of 305 PageID #:
                                         113



             an “occurrence” that takes place in the “coverage
             territory”; and
             (b) The “bodily injury” or “property damage” occurs
             during the “policy period” . . .
             (2) “Personal and advertising injury” caused by an offense
             arising out of your business, but only if the offense is
             committed in the “coverage territory” during the policy
             period.

      29.       The insuring agreements in the Business Liability Coverage Form

in the 2006-2007 Facebook Policy and Instagram Policy further state that those

policies do not cover damages because of “bodily injury” or “property damage” that

the insured knew, before the policy period, had occurred or begun to occur.

      30.       The Business Liability Coverage Forms in the 2004-2005 Facebook

Policy and the 2005-2006 Facebook Policy define “bodily injury” as “bodily injury,

sickness or disease sustained by a person, including mental anguish or death

resulting from any of these at any time,” while the Business Liability Coverage

Forms in the 2006-2007 Facebook Policy and Instagram Policy define “bodily

injury” as “physical: a. Injury; b. Sickness; or c. Disease sustained by a person and,

if arising out of the above, mental anguish or death at any time.”

      31.       The Business Liability Coverage Forms in all of the Hartford

Policies define “occurrence” as “an accident, including continuous or repeated

exposure to substantially the same general harmful conditions.”

      32.       The Business Liability Coverage Forms in all of the Hartford


                                         13
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 103 of 305 PageID #:
                                          114



Policies define “personal and advertising injury” to mean “injury, including

consequential ‘bodily injury’, arising out of one or more . . . offenses[,]” including

“[o]ral, written or electronic publication of material that violates a person’s right of

privacy” and “[d]iscrimination or humiliation that results in injury to the feelings or

reputation of a natural person.”

      33.        Business Liability coverage under all the Hartford Policies is also

subject to certain exclusions, including an exclusion for bodily injury that is

expected or intended from the standpoint of the insured.

      34.        That exclusion states:

             This insurance does not apply to:
             a. Expected or Intended Injury
             (1) “Bodily injury” or “property damage” expected or
             intended from the standpoint of the insured. This exclusion
             does not apply to “bodily injury” or “property damage”
             resulting from the use of reasonable force to protect
             persons or property . . .

      35.        The Business Liability Coverage Forms in the 2006-2007 Facebook

Policy and the Instagram Policy also contain an exclusion for “Violation Of Statutes

That Govern E-Mails, Fax, Phone Calls Or Other Methods Of Sending Material Or

Information,” which states:

             This insurance does not apply to:
             [...]
             t. Violation Of Statutes That Govern E-Mails, Fax,
             Phone Calls Or Other Methods Of Sending Material

                                          14
Case 1:24-cv-01422-MN        Document 1-1     Filed 12/27/24   Page 104 of 305 PageID #:
                                            115



             Or Information
             “Bodily injury”, “property damage”, “personal and
             advertising injury” arising directly or indirectly out of any
             action or omission that violates or is alleged to violate:
             [...]
             (3) Any statute, ordinance or regulation other than the
             TCPA or CAN-SPAM Act of 2003, that prohibits or limits
             the sending, transmitting, communicating or distribution
             of material or information.

      36.         In addition, each of the Facebook Policies contains an exclusion for

“bodily injury”, “property damage” or “personal and advertising injury” arising from

the rendering or of failure to render any “professional service.”

      37.         That exclusion, as amended by the form titled “Technology

Services Coverage (Limited),” states:

             B. EXCLUSIONS
             1.         Applicable To Business Liability Coverage.
             This insurance does not apply to:
             [. . .]
             j.         Professional Services
             “Bodily injury”, “property damage” or “personal and
             advertising injury” due to the rendering of or failure to
             render any professional service. This includes but is not
             limited to:
             [. . . ]
             (11) Computer consulting, design or programming
             services, including website design.

      38.         The Instagram Policy has a nearly identical exclusion applicable to

bodily injury, property damage or personal and advertising injury “arising out of the

                                            15
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24   Page 105 of 305 PageID #:
                                           116



rendering of or failure to render any professional service[.]”

      39.        The Business Liability Coverage Forms in all of the Hartford

Policies exclude coverage for certain “personal and advertising injury,” including

“personal and advertising injury” arising out of (i) oral, written or electronic

publication of material whose first publication took place before the beginning of

the policy period; (ii) oral, written or electronic publication of material, if done by

or at the direction of the insured with knowledge of its falsity; (iii) a criminal act

committed by or at the direction of the insured; (iv) the failure of goods, products or

services to conform with any statement of quality or performance made in the

insured’s advertisement, (v) an offense committed by an insured whose business is

designing or determining content of websites for others and/or an Internet search,

access, content or service provider; (vi) an electronic chat room or bulletin board

the insured hosts, owns, or over which it exercises control; (vii) the violation of a

person’s right of privacy created by any state or federal act; and/or (viii) computer

code, software, or programming used to enable your web site.

       C.    Disputes Concerning Hartford’s Defense Obligations

      40.        In response to Meta’s notices to Hartford of the Social Media

Lawsuits, Hartford, subject to a full reservation of rights, offered to participate in the

defense of Meta under the Business Liability coverage part of the Hartford Policies

for certain Social Media Lawsuits filed by Individual Plaintiffs.


                                           16
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 106 of 305 PageID #:
                                         117



      41.        Hartford declined coverage for certain other Social Media Lawsuits

filed by Individual Plaintiffs because, among other bases set forth in Hartford’s

reservation of rights letter, those Social Media Lawsuits were brought by Individual

Plaintiffs that only used or could have used Instagram and/or Facebook after the end

dates of the relevant Hartford Policy or Policies.

      42.        Hartford’s reservation of rights includes the right to withdraw from

the defense of the Social Media Lawsuits, as appropriate; the right to recoup defense

fees under Buss v. Super. Ct., 16 Cal. 4th 35 (1997); and the right to decline

indemnity.

      43.        Hartford declined coverage for the Social Media Lawsuits filed by

Government/School District Plaintiffs because, along with other bases set forth in

Hartford’s reservation of rights letter, the Hartford Policies provide coverage for

“sums that the insured becomes legally obligated to pay as damages because of

‘bodily injury,’ ‘property damage’ or ‘personal and advertising injury’” and Hartford

disagrees that the Government/School District Social Media Lawsuits seek damages

“because of” bodily injury, property damage, and/or personal and advertising injury

within the meaning of the Hartford Policies’ insuring agreements.

      44.        The Social Media Lawsuits filed by Government/School District

Plaintiffs seek to recover for general, non-derivative economic losses and/or

statutory violations that are not based on allegations that plaintiffs treated (or paid


                                          17
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 107 of 305 PageID #:
                                          118



for treatment of) injuries to any specific individual or that they repaired (or paid for

repair of) damage to specifically identified property, or that any such individualized

injury or damage was specifically caused by the insured.

      45.        Plaintiffs’ First Amended Master Complaint (Local Government

and School District) in the MDL, for instance, seeks to recover for increased

expenditures by school districts and Local Government Plaintiffs related to

“addressing the mental health and behavior of impacted young people and providing

education and support to young people, staff, parents, and Plaintiffs’ communities,”

e.g., increased provision of anxiety and depression counseling, health services,

community-based       services,   behavioral-health     services,   and    after-school

programming; increases in staff to confiscate cell phones and communicate and

engage with parents and guardians regarding students’ attendance, mental health,

and behavioral issues; and increased resources to investigate and prosecute crimes

that result from use of the insured’s platforms. Such damages are not damages

“because of” bodily injury within the insuring agreements of the policies.

      46.        On information and belief, Meta disputes Hartford’s offer to

participate in the defense of certain Social Media Lawsuits by Individual Plaintiffs

under a reservation of rights and also disputes Hartford’s denial of coverage for

certain other Social Media Lawsuits by Individual Plaintiffs and the Social Media

Lawsuits by Government/School District Plaintiffs.


                                          18
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24   Page 108 of 305 PageID #:
                                          119



                      COUNT I: DECLARATORY JUDGMENT

                   (No Duty to Defend or Pay Defense Costs for
                Government/School District Social Media Lawsuits)

       47.        Hartford reasserts and incorporates herein each allegation set forth

in ¶¶ 1-46 above.

       48.        An actual controversy exists between Hartford, on the one hand, and

Meta on the other hand, regarding Hartford’s duty to defend the Social Media

Lawsuits brought by Government/School District Plaintiffs, the resolution of which

will affect the interests of the Other Primary Insurers.

       49.        The Hartford Policies provide coverage only for damages “because

of” bodily injury or property damage.

       50.        The Hartford Policies provide coverage only for “bodily injury” and

“property damage” that occurs during the policy period.

       51.        The Hartford Policies provide coverage only for “bodily injury” and

“property damage” that results from an “occurrence.”

       52.        The Hartford Policies define “occurrence” as “an accident,

including continuous or repeated exposure to substantially the same general harmful

conditions . . . .”

       53.        The Social Media Lawsuits are based on Meta’s deliberate acts in

designing and marketing products that encourage excessive use and/or addiction in

children and adolescents. The Social Media Lawsuits allege that Meta intentionally

                                          19
Case 1:24-cv-01422-MN        Document 1-1       Filed 12/27/24   Page 109 of 305 PageID #:
                                              120



encourages youth to excessively use its platforms and leverages that usage to

increase revenue, intentionally designed its products to addict children and

adolescents, and concealed harmful effects that Instagram’s and Facebook’s design

features have on children and adolescents.

       54.        The Hartford Policies also contain various exclusions that may bar

or limit coverage for the Social Media Lawsuits, discussed in ¶¶ 33-39, above.

       55.        There is no defense coverage for some or all of the Social Media

Lawsuits brought by Government/School District Plaintiffs under the Hartford

Policies for some or all of the following reasons:

             a. Some   or    all   of   the    Social   Media    Lawsuits   brought   by

               Government/School District Plaintiffs do not allege an “occurrence” as

               required by the insuring agreements of the Hartford Policies because

               they are based on allegations regarding Meta’s deliberate and

               intentional acts in designing and marketing products to encourage

               excessive use by and/or addict children and adolescents;

             b. Some   or    all   of   the    Social   Media    Lawsuits   brought   by

               Government/School District Plaintiffs do not allege or seek damages

               “because of” bodily injury, property damage, or personal and

               advertising injury within the meaning of the Hartford Policies’ insuring

               agreements;


                                              20
Case 1:24-cv-01422-MN    Document 1-1       Filed 12/27/24   Page 110 of 305 PageID #:
                                          121



         c. Some    or   all   of   the    Social   Media    Lawsuits   brought   by

            Government/School District Plaintiffs do not allege or seek damages

            because of “bodily injury,” “property damage,” or “personal and

            advertising injury” as those terms are defined in the Hartford Policies;

         d. Some    or   all   of   the    Social   Media    Lawsuits   brought   by

            Government/School District Plaintiffs allege bodily injury or property

            damage, or offenses causing personal and advertising injury, only

            outside the policy periods covered by the Hartford Policies;

         e. Some    or   all   of   the    Social   Media    Lawsuits   brought   by

            Government/School District Plaintiffs allege injury expected or

            intended by the insured;

         f. Some    or   all   of   the    Social   Media    Lawsuits   brought   by

            Government/School District Plaintiffs allege injury arising from

            violations of statutes that govern e-mails, fax, phone calls or other

            methods of sending material or information within the meaning of those

            exclusions; and/or

         g. Some    or   all   of   the    Social   Media    Lawsuits   brought   by

            Government/School District Plaintiffs allege injury due to the insured’s

            rendering of or failure to render “Professional Services”; and/or

         h. Some    or   all   of   the    Social   Media    Lawsuits   brought   by


                                          21
Case 1:24-cv-01422-MN        Document 1-1     Filed 12/27/24   Page 111 of 305 PageID #:
                                            122



              Government/School District Plaintiffs seek equitable relief in the form

              of nuisance abatement or other forms of relief that are not covered as

              damages or otherwise insurable under the Hartford Policies.

       56.        There exists an actual, ripe, and justiciable controversy between the

parties concerning insurance coverage under the Hartford Policies for the defense of

the Social Media Lawsuits brought by Government/School District Plaintiffs.

       57.        Hartford is entitled to a declaration that under the terms, conditions,

and exclusions of Hartford Policies, it has no duty to defend or pay the cost of

defending Meta against the Social Media Lawsuits brought by Government/School

District Plaintiffs.

                       COUNT II: DECLARATORY JUDGMENT

                       (No Duty to Defend or Pay Defense Costs for
                            Individual Social Media Lawsuits)

       58.        Hartford reasserts and incorporates herein each allegation set forth

in ¶¶ 1-57 above.

       59.        An actual controversy exists between Hartford, on the one hand, and

Meta on the other hand, regarding Hartford’s duty to defend the Social Media

Lawsuits brought by Individual Plaintiffs, the resolution of which may or will affect

the interests of the Other Primary Insurers.

       60.        The Hartford Policies provide coverage only for damages because

of “bodily injury,” “property damage,” or “personal and advertising injury” as those

                                            22
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 112 of 305 PageID #:
                                           123



terms are defined in the Hartford Policies;

       61.        The Hartford Policies provide coverage only for “bodily injury” and

“property damage” that occurs during the policy period.

       62.        The Hartford Policies provide coverage only for “bodily injury” and

“property damage” that results from an “occurrence.”

       63.        The Hartford Policies define “occurrence” as “an accident,

including continuous or repeated exposure to substantially the same general harmful

conditions . . . .”

       64.        The Social Media Lawsuits are based on Meta’s deliberate acts in

designing and marketing products that encourage excessive use and/or addiction in

children and adolescents. The Social Media Lawsuits allege that Meta intentionally

encourages youth to excessively use its platforms and leverages that usage to

increase revenue, intentionally designed its products to addict children and

adolescents, and concealed harmful effects that Instagram’s and Facebook’s design

features have on children and adolescents.

       65.        The Hartford Policies also contain various exclusions that may bar

or limit coverage for the Social Media Lawsuits, discussed in ¶¶ 33-39, above.

       66.        There is no defense coverage for some or all of the Social Media

Lawsuits brought by Individual Plaintiffs under the Hartford Policies for some or all

of the following reasons:


                                           23
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24    Page 113 of 305 PageID #:
                                        124



         a. Some or all of the Social Media Lawsuits brought by Individual

            Plaintiffs do not allege an “occurrence” as required by the insuring

            agreements of the Hartford Policies because they are based on

            allegations regarding Meta’s deliberate and intentional acts in

            designing and marketing products to encourage excessive use by and/or

            addict children and adolescents;

         b. Some or all of the Social Media Lawsuits brought by Individual

            Plaintiffs do not allege or seek damages because of “bodily injury,”

            “property damage,” or “personal and advertising injury” as those terms

            are defined in the Hartford Policies;

         c. Some or all of the Social Media Lawsuits brought by Individual

            Plaintiffs allege bodily injury or property damage, or offenses causing

            personal and advertising injury, only outside the policy periods covered

            by the Hartford Policies;

         d. Some or all of the Social Media Lawsuits brought by Individual

            Plaintiffs allege injury expected or intended by the insured;

         e. Some or all of the Social Media Lawsuits brought by Individual

            Plaintiffs allege injury arising from violations of statutes that govern e-

            mails, fax, phone calls or other methods of sending material or

            information within the meaning of those exclusions;


                                         24
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 114 of 305 PageID #:
                                         125



            f. Some or all of the Social Media Lawsuits brought by Individual

              Plaintiffs allege injury due to the insured’s rendering of or failure to

              render “Professional Services”; and/or

            g. Some or all of the Social Media Lawsuits brought by Individual

              Plaintiffs seek equitable relief in the form of nuisance abatement or

              other forms of relief that are not covered as damages or otherwise

              insurable under the Hartford Policies.

      67.        There exists an actual, ripe, and justiciable controversy between the

parties concerning insurance coverage under the Hartford Policies for the defense of

the Social Media Lawsuits brought by Individual Plaintiffs.

      68.        Hartford is entitled to a declaration that under the terms, conditions,

and exclusions of Hartford Policies, it has no duty to defend or pay the cost of

defending Meta against the Social Media Lawsuits brought by Individual Plaintiffs

for one or more of the reasons set forth in ¶ 66 above.

                    COUNT III: DECLARATORY JUDGMENT

        (In the Alternative, No Duty to Defend or Pay Defense Costs for
           Individual Social Media Lawsuits That Do Not Allege Use
                       During Harford’s Policy Periods)

      69.        Hartford reasserts and incorporates herein each allegation set forth

in ¶¶ 1-68 above.

      70.        To the extent the Court denies Count II, Hartford seeks a declaration


                                          25
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 115 of 305 PageID #:
                                           126



that it has no duty to defend any Social Media Lawsuits brought by Individual

Plaintiffs that fall outside the scope of coverage.

       71.         Hartford disagrees that the use of Instagram and/or Facebook during

the policy period is alone sufficient to trigger coverage under the Primary Policies,

which apply, as relevant here, only where “bodily or “property damage” occurs

during the policy period (and is caused by an “occurrence”), or an offense (resulting

in “personal and advertising injury”) occurs during the policy period.

       72.         Even to the extent that Meta disagrees, however, there can be no

coverage for Social Media Lawsuits brought by Individual Plaintiffs that only used

or only could have used Instagram and/or Facebook after the end dates of the relevant

Hartford Policy or Policies.

       73.         Accordingly, there is no defense coverage for some of the Social

Media Lawsuits brought by Individual Plaintiffs under the Hartford Policies for some

or all of the following reasons:

             a. Some of the Social Media Lawsuits brought by Individual Plaintiffs

                allege use of Instagram and/or Facebook only after the expiration of the

                relevant Hartford Policy or Policies;

             b. Some of the Social Media Lawsuits brought by Individual Plaintiffs do

                not allege particular dates of use of Instagram and/or Facebook but are

                brought by Individual Plaintiffs who were born after the end date of the


                                            26
Case 1:24-cv-01422-MN        Document 1-1      Filed 12/27/24   Page 116 of 305 PageID #:
                                             127



               relevant Hartford Policy or Policies; and/or

            c. Some of the Social Media Lawsuits brought by Individual Plaintiffs do

               not allege particular dates of use of Instagram and/or Facebook but are

               brought by Individual Plaintiffs whose dates of birth and the allegations

               in their short form complaints demonstrate that there is no possibility

               that they could have used Instagram and/or Facebook until after the end

               date of the relevant Hartford Policy or Policies.

      74.           There exists an actual, ripe, and justiciable controversy between the

parties concerning the scope of defense coverage required to be provided under the

terms, conditions, and exclusions of each of the Hartford Policies. Hartford is

entitled to a declaratory judgment regarding the scope and amount of its defense

coverage obligations to Meta against the Social Media Lawsuits brought by

Individual Plaintiffs for one or more of the reasons set forth in ¶ 73 above.

                                 PRAYER FOR RELIEF

      WHEREFORE, Hartford respectfully request that the Court enter the

following relief:

      A.       A declaration that Hartford has no duty to defend or pay the costs to

               defend     Meta    in   the   Social    Media    Lawsuits   brought    by

               Government/School District Plaintiffs because any alleged “bodily

               injury” or “property damage” did not arise from an “occurrence,” the


                                             27
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 117 of 305 PageID #:
                                        128



            damages alleged in those lawsuits are not damages “because of”

            “bodily injury” or “property damage,” those lawsuits do not allege

            “bodily injury,” or “property damage” within the relevant policy

            period(s), and/or for any of the other reasons set forth in ¶ 55 above;

      B.    A declaration that Hartford has no duty to defend or pay the costs to

            defend Meta in the Social Media Lawsuits brought by Individual

            Plaintiffs because any alleged “bodily injury” or “property damage” did

            not arise from an “occurrence,” those lawsuits do not allege “bodily

            injury,” “property damage,” or “personal and advertising injury” as

            those terms are defined in the Hartford Policies, and/or for any of the

            other reasons set forth in ¶ 66 above;

      C.    A declaration that Hartford has no duty to defend or pay the costs to

            defend Meta in the Social Media Lawsuits brought by Individual

            Plaintiffs to the extent those Individual Plaintiffs do not allege use of

            Instagram and/or Facebook during the relevant policy periods, were not

            born before the relevant policies expired, and/or their complaints do not

            potentially allege use of Instagram and/or Facebook before the relevant

            policies expired; and

      D.    Such other relief as this Court may deem just and proper.




                                        28
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24   Page 118 of 305 PageID #:
                                       129



 Dated: December 18, 2024                   BAYARD, P.A.

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                                       29
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 119 of 305 PageID #:
                                       130
                                                   EFiled: Dec 18 2024 04:21PM EST
                                                   Transaction ID 75260921
                                                   Case No. N24C-11-010 SKR CCLD




                           EXHIBIT A
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 120 of 305 PageID #:
                                        131



IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

HARTFORD CASUALTY
INSURANCE COMPANY and
SENTINEL INSURANCE COMPANY,
LTD.,

                  Plaintiffs,

            v.
                                              C.A. No.: ____________ [N24C-
INSTAGRAM, LLC as successor in                11-010 SKR CCLD]
interest to Instagram a/k/a Burbn, Inc.;
META PLATFORMS, INC. f/k/a
TheFacebook Inc. d/b/a The Face Book,
Inc.; FEDERAL INSURANCE
COMPANY; OLD REPUBLIC
INSURANCE COMPANY; STARR
INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                  Defendants.

                           AMENDED COMPLAINT

      Hartford Casualty Insurance Company (“Hartford Casualty”) and Sentinel

Insurance Company, Ltd. (“Sentinel,” and, together with Hartford Casualty,

“Hartford”), by and through their attorneys, allege as follows for their amended

complaint against Instagram, LLC as successor in interest to Instagram a/k/a Burbn,

Inc. (“Instagram LLC”); Meta Platforms, Inc., formerly known as TheFacebook, Inc.

doing business as The Face Book, Inc. (“Meta Platforms,” and together with




213913868_3 LAW
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24    Page 121 of 305 PageID #:
                                        132



Instagram LLC, “Meta”); Federal Insurance Company (“Federal”); Old Republic

Insurance Company (“Old Republic”); Starr Indemnity and Liability Company

(“Starr”); and Zurich American Insurance Company (“Zurich”).

                            NATURE OF THE DISPUTE

      1.        This is an action for declaratory relief pursuant to Article IV, § 7 of

the Delaware Constitution, 10 Del. C. § 541, and 10 Del. C. §§ 6501, et seq.

      2.        Hartford seeks a determination of the parties’ rights and obligations

in connection with primary liability policies issued by Hartford to Meta with respect

to numerous underlying claims against Meta and other social media companies

alleging that the defendants’ social media platforms are defective because they are

designed to maximize screen time and encourage addictive behavior in minors,

which has resulted in various emotional and physical harm to minors, including

death (the “Social Media Lawsuits”).

                                     PARTIES

      3.        Plaintiff Hartford Casualty is an Indiana company with a principal

place of business in IndianaConnecticut.        Hartford Casualty issued primary

insurance coverage to “The Face Book, Inc.” on an annual basis from October 9,

2004, to October 8, 2007.

      4.        Plaintiff Sentinel is a Connecticut company with a principal place

of business in Connecticut.      Sentinel issued primary insurance coverage to


                                          2
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 122 of 305 PageID #:
                                        133



“Instagram a/k/a Burbn, Inc.” from December 19, 2011, to December 19, 2012.

      5.        Defendant Instagram, LLC is a Delaware limited liability company

whose sole member is Defendant Meta Platforms. On information and belief, the

company originally known as Burbn, Inc. was incorporated in Delaware in February

2010 and launched, develops, operates, markets, and owns the social media

application now known as Instagram and its related features, applications, and

products (e.g., Boomerang and Instagram Direct) (collectively, “Instagram”).

Burbn, Inc. changed its name to Instagram, Inc. in January 2012. Facebook, Inc.

acquired Instagram, Inc. in August 2012, and Instagram, Inc. merged into Instagram,

LLC on August 31, 2012.

      6.        Defendant Meta Platforms is a Delaware corporation with its

principal place of business in California. On information and belief, “The Face

Book, Inc.” was a trade name of the company incorporated in Delaware on July 29,

2004, under the registered name TheFacebook, Inc., which launched, develops,

operates, markets, and owns the social media application now known as Facebook

and its related applications and products (e.g., Messenger, Messenger Kids,

Marketplace, Workplace, etc.) (collectively, “Facebook”).       TheFacebook, Inc.

changed its name to Facebook, Inc. in September 2005, and to Meta Platforms, Inc.

in October 2021.

      7.        Defendant Federal is an Indiana corporation with a principal place


                                         3
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 123 of 305 PageID #:
                                        134



of business in New Jersey. On information and belief, Federal issued primary

insurance coverage to Facebook, Inc. under Policy No. 3589-24-66 PLE (effective

October 9, 2007 to October 9, 2016). Upon information and belief, Federal is

licensed to do business in Delaware and, at all times relevant to this Complaint, was

engaged in the business of selling contracts of insurance and did business in

Delaware.

      8.        Defendant Old Republic is a Pennsylvania company with a principal

place of business in Pennsylvania. Upon information and belief, Old Republic

issued primary insurance coverage to Facebook, Inc. under Policy Nos.

MWZY308504 (effective October 9, 2016 to October 9, 2017) and MWZY311176

(effective October 9, 2017 to October 9, 2020). Upon information and belief, Old

Republic is licensed to do business in Delaware and, at all times relevant to this

Complaint, was engaged in the business of selling contracts of insurance and did

business in Delaware.

      9.        Defendant Starr is a Texas company with a principal place of

business in New York. Upon information and belief, Star issued primary insurance

coverage to Facebook, Inc. and/or Meta Platforms, Inc. under Policy Nos.

1000100155201 (effective October 9, 2020 to October 9, 2021), 1000100155211

(effective October 9, 2021 to October 9, 2022), and 1000100155221 (October 9,

2022 to October 9, 2023). Upon information and belief, Starr is licensed to do


                                         4
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 124 of 305 PageID #:
                                         135



business in Delaware and, at all times relevant to this Complaint, was engaged in the

business of selling contracts of insurance and did business in Delaware.

      10.        Defendant Zurich is a New York company with a principal place of

business in Illinois. Upon information and belief, Zurich issued primary insurance

coverage to Facebook, Inc. and/or Meta Platforms, Inc. under Policy Nos. ZE

3730650-02 (effective October 9, 2018 to October 9, 2019), ZE 3730650-03

(effective October 9, 2019 to October 9, 2020), ZE 3730650-04 (effective October

9, 2020 to October 9, 2021), ZE 3730650-05 (effective October 9, 2021 to October

9, 2022), and ZE 3730650-06 (effective October 9, 2022 to October 9, 2023). Upon

information and belief, Zurich is licensed to do business in Delaware and, at all times

relevant to this Complaint, was engaged in the business of selling contracts of

insurance and did business in Delaware.

      11.        The defendants listed in paragraphs¶¶ 7-10 are the “Other Primary

Insurers.” The Other Primary Insurers are joined because there is a justiciable

controversy regarding the primary insurance carriers’ duty to defend the Social

Media Lawsuits. The Other Primary Insurers’ interests in the subject matter of this

declaratory judgment action will be prejudiced if this action is litigated in their

absence.

JURISDICTION

      12.        This Court has subject matter jurisdiction pursuant to Article IV, § 7


                                          5
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 125 of 305 PageID #:
                                         136



of the Delaware Constitution and 10 Del. C. § 541 and under 10 Del. C. §§ 6501, et

seq., which provides this Court with the power “to declare rights, status and other

legal relations whether or not further relief is or could be claimed.”

      13.        This Court has personal jurisdiction over defendant Meta Platforms

because Meta Platforms is a Delaware corporation.

      14.        This Court has personal jurisdiction over defendant Instagram LLC

because Instagram LLC is a Delaware limited liability company and a resident of

Delaware by virtue of its member, Meta Platforms.

      15.        This Court has personal jurisdiction over the Other Insurers because

they at material times have conducted business, committed acts or omissions, or have

caused substantial effects within the State of Delaware with respect to one or more

causes of action arising from these acts, omissions, or effects.

FACTUAL BACKGROUND

      A.     The Social Media Lawsuits

      16.        Between February 2023 and the present date, Meta has periodically

notified Hartford of Social Media Lawsuits against Meta by individuals, school

districts, local governments, and attorneys general. state attorneys general. In the

time since this action was filed, Meta has tendered additional social media claims to

Hartford, and on information and belief, will continue to do so as more social media

claims are asserted against it. The additional claims implicate the same questions of


                                          6
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 126 of 305 PageID #:
                                           137



policy interpretation set forth herein, and upon information and belief, future tenders

will likewise implicate the same questions.

      17.         Most (but not all) of the Social Media Lawsuits are consolidated in

a multidistrict litigation pending in the Northern District of California for

coordinated and consolidated pretrial proceedings (the “MDL”) or Judicial Council

Coordination Proceeding No. 5255 coordinated in the County of Los Angeles

Central District Superior Court (the “JCCP”), where master complaints and short

form complaints have supplanted many of the complaints originally filed by the

plaintiffs. Although those common master complaints and short form complaints

supersede the original complaints filed by many of the plaintiffs in the cases

coordinated in the MDL and JCCP, each of the separate cases coordinated in the

MDL and JCCP remains a separate lawsuit.

      18.         The specific factual allegations of the Social Media Lawsuits vary,

but the Social Media Lawsuits generally include certain common allegations,

including that:

            a.    Meta designs, develops, owns, operates, and markets the social

                  media platforms Instagram and Facebook;

            b.    Meta intentionally targeted children and adolescents as a core

                  market;

            c.    Meta intentionally designed Instagram and Facebook to exploit


                                            7
Case 1:24-cv-01422-MN   Document 1-1      Filed 12/27/24   Page 127 of 305 PageID #:
                                        138



                vulnerabilities in human psychology and developed and embedded

                addictive features in Instagram and Facebook to maximize

                engagement from children and adolescents to drive revenue;

         d.     Use of Instagram and Facebook has had harmful effects on children

                and adolescents;

         e.     Meta knew that use of Instagram and Facebook has had harmful

                effects on children and adolescents;1

         f.     Meta concealed its knowledge of, and information regarding, the

                harmful effects of Instagram and Facebook on children and

                adolescents;

         g.     Meta falsely represented that Instagram and Facebook are safe for

                children and adolescents and are not designed to induce compulsive

                and extended use; and

         h.     Meta willfully failed to conduct proper age verification and

                authentication of Instagram and Facebook registrants, resulting in

                rampant access to those platforms by children under 13 and

                associated collection of such children’s data.


1
      Many of the lawsuits reference internal documents made public by
whistleblower Frances Haugen, former Facebook product manager, that reflect
findings from Meta’s researchers on body image and mental health issues caused
by minors’ use of Instagram and Facebook.

                                         8
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 128 of 305 PageID #:
                                           139



       19.        Many of the individual, school district, and local government

plaintiffs further allege that:

             a.   Meta failed to adequately warn children, adolescents, and others

                  about the dangers and harms caused by Instagram and Facebook or

                  to provide instructions regarding safe use; and

             b.   The design features of Instagram and Facebook facilitate the spread

                  of child sexual abuse material (“CSAM”) and child exploitation.

       18.20.     The individual plaintiffs (the “Individual Plaintiffs”) are generally

injured persons, or persons seeking to recover on behalf of an injured person, who

allege that they became addicted to social media platforms as minors as a result of

allegedly manipulative features of those social media platforms that seek to

maximize the amount of time minors spend on the platforms. The, or persons

seeking to recover on behalf of such an injured person. Based on the allegations

described above, the Individual Plaintiffs bring various counts against Meta and

others under applicable state law. Based on those claims, the Individual Plaintiffs

generally seek to recover for direct harms an individual person experienced as a

result of their social media addiction, including, e.g., depression and anxiety, “social

comparison,” “the pressure of looks/behaviors,” eating disorders, body dysmorphia,

isolation, insecurity, and loneliness.

       19.        The Unlike the Individual Plaintiffs, the school district, local


                                            9
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 129 of 305 PageID #:
                                        140



government, and state attorney general plaintiffs (the “Government/School District

Plaintiffs”) generally make similar factual allegations regarding the addictive

features of social media platforms and harmful effects on minors. They allege that

this widespread addiction constitutes a public nuisance and has saddled them with

financial burdens.

      20.       The Social Media Lawsuits allege that Meta deliberately created

and/or designed social media platforms—Instagram and Facebook—that encourage

excessive use and addiction in children and adolescents to drive advertising revenue.

      21.       The Social Media Lawsuits do not allege that the addictive features

of Instagram and Facebook were unexpected, independent, and unforeseen; rather,

both Individual Plaintiffs and the Government/School District Plaintiffs generally

allege that Meta intentionally designed its products to exploit vulnerabilities in

human psychology and intentionally developed and embedded addictive features in

Meta’s platforms to maximize youth engagement.

      22.       Both the Individual Plaintiffs and the Government/School District

Plaintiffs further allege that Meta was aware that use of Instagram and Facebook

caused harm to children and adolescents but ignored that harm. Many of the lawsuits

reference internal documents made public by whistleblower Frances Haugen, former

Facebook product manager, that reflect findings from Meta’s researchers on body

image and mental health issues caused by minors’ use of Instagram and Facebook.


                                         10
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24    Page 130 of 305 PageID #:
                                          141



      23.21.     Unlike the Individual Plaintiffs, the Government/School District

Plaintiffs are not (i) an injured person, (ii) seeking to recover on behalf of ana

specific alleged injured person, or (iii) an organization seeking to recover the costs

of directly caring for any specific alleged injured person.

      24.22.     Rather,     based     on        the   Government/School       District

Plaintiffsallegations described above, the school districts and local governments

bring various counts against Meta and others and generally seek to recover damages

for aggregate increases in the Government/School District Plaintiffs’ expenditures

and operating costs necessitated by mass social media addiction in minors,

including, (e.g., increased provision of anxiety and depression counseling, health

services, community-based services, behavioral health services, and after-school

programming; increases in staff to confiscate cell phones and communicate and

engage with parents and guardians regarding students’ attendance, mental health,

and behavioral issues; and increased resources to investigate and prosecute crimes

that allegedly result from use of the social media platforms. ).

      25.        Both Individual Plaintiffs and Government/School District

Plaintiffs also allege that Meta violated the Children’s Online Privacy Protection Act

(“COPPA”), which regulates the conditions under which Defendants can collect,

use, or disclose the personal information of children under 13.

      26.        Specifically, Plaintiffs allege that Meta willfully failed to conduct


                                            11
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 131 of 305 PageID #:
                                         142



proper age verification and authentication of social media registrants, resulting in

rampant access to social media platforms by children under 13 and associated

collection of such children’s data by Meta in violation of COPPA.

      23.        Certain school district and/or local government plaintiffs allege that

property has been damaged as a result of students’ mental, emotional, and/or social

problems caused by social media and/or participation in “challenge” videos

circulated on social media.2 Those complaints, however, do not seek damages

“because of” property damage, do not seek damages “because of” property damage

purportedly caused by Meta, and/or do not seek damages “because of” property

damage during the effective policy periods of the Hartford Policies. In the MDL,

the property damage allegations brought by the school district and/or local

government plaintiffs have been dismissed, and the JCCP defendants’ demurer to

certain representative school district complaints was sustained in its entirety.

      24.        The state attorneys general, for their part, generally seek

disgorgement, civil penalties, injunctive relief, and other remedies based on their

assertions that the acts and omissions of Meta and others violate consumer protection



2
       The specific “challenge” videos identified in the Social Media Lawsuits are
generally associated with social media platforms other than Facebook or Instagram
and/or went viral during periods that post-date the Hartford policy periods. Both
the “devious licks” challenge and the “Blackout Challenge” discussed in Plaintiffs’
First Amended Master Complaint (Local Government and School District) in the
MDL, for instance, were “challenges” that went viral on Tik-Tok in 2021.
                                          12
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24   Page 132 of 305 PageID #:
                                          143



and privacy laws.

      B.       The Hartford Policies

      27.25.      As relevant here, Hartford Casualty issued to The Face Book Inc.

as named insured Policy No. 57 SBA AW9679 DX, effective from October 1, 2004,

to October 1, 2005 (the “2004-2005 Facebook Policy”); Policy No. 57 SBA AZ6549

SC, effective from October 1, 2005, to October 1, 2006 (the “2005-2006 Facebook

Policy”); and Policy No. 57 SBQ RG7020 SC, effective from October 1, 2006, to

October 1, 2007 (the “2006-2007 Facebook Policy”) (collectively, the “Facebook

Policies”).

      28.26.      As relevant here, Sentinel issued to Instagram a/k/a Burbn, Inc. as

named insured Policy No. 57 SBA BB7385 SC, effective from December 19, 2011,

to December 19, 2012 (the “Instagram Policy,” and together with the Facebook

Policies, the “Hartford Policies”).

      29.27.      Each of the Hartford Policies provides Business Liability coverage

for “those sums that the insured becomes legally obligated to pay as damages

because of ‘bodily injury’, ‘property damage’ or ‘personal and advertising injury’ to

which this insurance applies”, subject to a per -occurrence limit of $1 million, a

general aggregate limit of $2 million, and a products-/completed -operations

aggregate limit of $2 million.

      30.28.      The 2004-2005 Facebook Policy and 2005-2006 Facebook Policy


                                          13
Case 1:24-cv-01422-MN       Document 1-1      Filed 12/27/24   Page 133 of 305 PageID #:
                                            144



(at Business Liability Coverage Form SS 00 08 04 01) and the 2006-2007 Facebook

Policy and the Instagram Policy (at Business Liability Cover Form SS 00 08 04 05)

contain insuring agreements that state as follows (subject to certain non-substantive

differences in formatting):

               Insuring Agreement
               a. We will pay . . . those sums that the insured becomes
               legally obligated to pay as damages because of “bodily
               injury”, “property damage” or “personal and advertising
               injury” to which this insurance applies. We will have the
               right and duty to defend the insured against any “suit”
               seeking those damages. However, we will have no duty to
               defend the insured against any “suit” seeking damages for
               “bodily injury”, “property damage” or “personal and
               advertising injury” to which this insurance does not apply.
               ..
               . . . b. This insurance applies to:
               (1) “Bodily injury” and “property damage” only if:
               (a) The “bodily injury” or “property damage” is caused by
               an “occurrence” that takes place in the “coverage
               territory”; and
               (b) The “bodily injury” or “property damage” occurs
               during the “policy period” . . .
               (2) “Personal and advertising injury” caused by an offense
               arising out of your business, but only if the offense is
               committed in the “coverage territory” during the policy
               period.

      31.29.      The insuring agreements in the Business Liability Coverage Form

in the 2006-2007 Facebook Policy and Instagram Policy further state that those

policies do not cover damages because of “bodily injury” or “property damage” that


                                            14
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 134 of 305 PageID #:
                                          145



the insured knew, before the policy period, had occurred or begun to occur.

      32.30.     The Business Liability Coverage Forms in the 2004-2005 Facebook

Policy and the 2005-2006 Facebook Policy define “bodily injury” as “bodily injury,

sickness or disease sustained by a person, including mental anguish or death

resulting from any of these at any time,” while the Business Liability Coverage

Forms in the 2006-2007 Facebook Policy and Instagram Policy define “bodily

injury” as “physical: a. Injury; b. Sickness; or c. Disease sustained by a person and,

if arising out of the above, mental anguish or death at any time.”

      33.31.     The Business Liability Coverage Forms in all of the Hartford

Policies define “occurrence” as “an accident, including continuous or repeated

exposure to substantially the same general harmful conditions.”

      32.        The Business Liability Coverage Forms in all of the Hartford

Policies define “personal and advertising injury” to mean “injury, including

consequential ‘bodily injury’, arising out of one or more . . . offenses[,]” including

“[o]ral, written or electronic publication of material that violates a person’s right of

privacy” and “[d]iscrimination or humiliation that results in injury to the feelings or

reputation of a natural person.”

      34.33.     Business Liability coverage under all the Hartford Policies is also

subject to certain exclusions, including an exclusion for bodily injury that is

expected or intended from the standpoint of the insured.


                                          15
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24    Page 135 of 305 PageID #:
                                           146



      35.34.      That exclusion states:

               This insurance does not apply to:
               a. Expected or Intended Injury
               (1) “Bodily injury” or “property damage” expected or
               intended from the standpoint of the insured. This exclusion
               does not apply to “bodily injury” or “property damage”
               resulting from the use of reasonable force to protect
               persons or property . . .

      36.35.      The Business Liability Coverage Forms in the 2006-2007 Facebook

Policy and the Instagram Policy also contain an exclusion for “Violation Of Statutes

That Govern E-Mails, Fax, Phone Calls Or Other Methods Of Sending Material Or

Information,” which states:

               This insurance does not apply to:
               [...]
               t. Violation Of Statutes That Govern E-Mails, Fax,
               Phone Calls Or Other Methods Of Sending Material
               Or Information
               “Bodily injury”, “property damage”, “personal and
               advertising injury” arising directly or indirectly out of any
               action or omission that violates or is alleged to violate:
               [...]
               (3) Any statute, ordinance or regulation other than the
               TCPA or CAN-SPAM Act of 2003, that prohibits or limits
               the sending, transmitting, communicating or distribution
               of material or information.

      37.36.      In addition, each of the Facebook Policies contains an exclusion for

“bodily injury”, “property damage” or “personal and advertising injury” arising from

the rendering or of failure to render any “professional service.”

                                            16
Case 1:24-cv-01422-MN          Document 1-1     Filed 12/27/24   Page 136 of 305 PageID #:
                                              147



      38.37.        That exclusion, as amended by the form titled “Technology

Services Coverage (Limited),” states:

               B. EXCLUSIONS
               1.         Applicable To Business Liability Coverage.
               This insurance does not apply to:
               [. . .]
               j.         Professional Services
               “Bodily injury”, “property damage” or “personal and
               advertising injury” due to the rendering of or failure to
               render any professional service. This includes but is not
               limited to:
               [. . . ]
               (11) Computer consulting, design or programming
               services, including website design.

      39.38.        The Instagram Policy has a nearly identical exclusion applicable to

bodily injury, property damage or personal and advertising injury “arising out of the

rendering of or failure to render any professional service[.]”

      40.39.        The Business Liability Coverage Forms in all of the Hartford

Policies exclude coverage for certain “personal and advertising injury,” including

“personal and advertising injury” arising out of (i) oral, written or electronic

publication of material whose first publication took place before the beginning of

the policy period; (ii) oral, written or electronic publication of material, if done by

or at the direction of the insured with knowledge of its falsity; (iii) a criminal act

committed by or at the direction of the insured; (iv) the failure of goods, products or


                                              17
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24    Page 137 of 305 PageID #:
                                           148



services to conform with any statement of quality or performance made in the

insured’s advertisement, (v) an offense committed by an insured whose business is

designing or determining content of websites for others; (iii and/or an Internet

search, access, content or service provider; (vi) an electronic chat room you host,

ownor bulletin board the insured hosts, owns, or over which you exerciseit exercises

control; (ivvii) the violation of a person’s right of privacy created by any state or

federal act; and/or (vviii) computer code, software, or programming used to enable

your web site.

       C.    Disputes Concerning Hartford’s Defense Obligations

      40.        In response to Meta’s notices to Hartford of the Social Media

Lawsuits, Hartford, subject to a full reservation of rights, offered to participate in the

defense of Meta under the Business Liability coverage part of the Hartford Policies

for certain Social Media Lawsuits filed by Individual Plaintiffs.

      41.        Hartford declined coverage for certain other Social Media Lawsuits

filed by Individual Plaintiffs because, among other bases set forth in Hartford’s

reservation of rights letter, those Social Media Lawsuits were brought by Individual

Plaintiffs that only used or could have used Instagram and/or Facebook after the end

dates of the relevant Hartford Policy or Policies.

      42.        Hartford’s reservation of rights includes the right to withdraw from

the defense of the Social Media Lawsuits, as appropriate; the right to recoup defense


                                           18
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 138 of 305 PageID #:
                                          149



fees under Buss v. Super. Ct., 16 Cal. 4th 35 (1997); and the right to decline

indemnity.

      43.        Hartford declined coverage for the Social Media Lawsuits filed by

Government/School District Plaintiffs because, along with other bases set forth in

Hartford’s reservation of rights letter, the Hartford Policies provide coverage for

“sums that the insured becomes legally obligated to pay as damages because of

‘bodily injury’ orinjury,’ ‘property damage,’damage’ or ‘personal and advertising

injury’” and Hartford disagrees that the Government/School District Social Media

Lawsuits seek damages “because of” bodily injury and/or, property damage, and/or

personal and advertising injury within the meaning of the Hartford Policies’ insuring

agreements.

      44.        The Social Media Lawsuits filed by Government/School District

Plaintiffs seek to recover for general, non-derivative economic losses and/or

statutory violations that are not based on allegations that plaintiffs treated (or paid

for treatment of) injuries to any specific individual or that they repaired (or paid for

repair of) damage to specifically identified property, or that any such individualized

injury or damage was specifically caused by the insured.

      45.        Plaintiffs’ First Amended Master Complaint (Local Government

and School District) in the MDL, for instance, seeks to recover for increased

expenditures by school districts and Local Government Plaintiffs related to


                                          19
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 139 of 305 PageID #:
                                        150



“addressing the mental health and behavior of impacted young people and providing

education and support to young people, staff, parents, and Plaintiffs’ communities,”

e.g., increased provision of anxiety and depression counseling, health services,

community-based      services,   behavioral-health   services,   and    after-school

programming; increases in staff to confiscate cell phones and communicate and

engage with parents and guardians regarding students’ attendance, mental health,

and behavioral issues; and increased resources to investigate and prosecute crimes

that result from use of the insured’s platforms. Such damages are not damages

“because of” bodily injury within the insuring agreements of the policies.

      46.       On information and belief, Meta disputes Hartford’s offer to

participate in the defense of certain Social Media Lawsuits by Individual Plaintiffs

under a reservation of rights and also disputes Hartford’s denial of coverage for

certain other Social Media Lawsuits by Individual Plaintiffs and the Social Media

Lawsuits by Government/School District Plaintiffs.




                                        20
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24   Page 140 of 305 PageID #:
                                          151



                      COUNT I: DECLARATORY JUDGMENT

                   (No Duty to Defend or Pay Defense Costs for
                Government/School District Social Media Lawsuits)

       47.        Hartford reasserts and incorporates herein each allegation set forth

in ¶¶ 1-46 above.

       48.        An actual controversy exists between Hartford, on the one hand, and

Meta on the other hand, regarding Hartford’s duty to defend the Social Media

Lawsuits brought by Government/School District Plaintiffs, the resolution of which

will affect the interests of the Other Primary Insurers.

       49.        The Hartford Policies provide coverage only for damages “because

of” bodily injury or property damage.

       50.        The Hartford Policies provide coverage only for “bodily injury” and

“property damage” that occurs during the policy period.

       51.        The Hartford Policies provide coverage only for “bodily injury” and

“property damage” that results from an “occurrence.”

       52.        The Hartford Policies define “occurrence” as “an accident,

including continuous or repeated exposure to substantially the same general harmful

conditions . . . .”

       53.        The Social Media Lawsuits are based on Meta’s deliberate acts in

designing and marketing products that encourage excessive use and/or addiction in

children and adolescents. The Social Media Lawsuits allege that Meta intentionally

                                          21
Case 1:24-cv-01422-MN        Document 1-1       Filed 12/27/24   Page 141 of 305 PageID #:
                                              152



encourages youth to excessively use its platforms and leverages that usage to

increase revenue, intentionally designed its products to addict children and

adolescents, and concealed harmful effects that Instagram’s and Facebook’s design

features have on children and adolescents.

       54.        The Hartford Policies also contain various exclusions that may bar

or limit coverage for the Social Media Lawsuits, discussed in ¶¶ 34-4033-39, above.

       55.        There is no defense coverage for some or all of the Social Media

Lawsuits brought by Government/School District Plaintiffs under the Hartford

Policies for some or all of the following reasons:

             a. Some   or    all   of   the    Social   Media    Lawsuits   brought   by

               Government/School District Plaintiffs do not allege an “occurrence” as

               required by the insuring agreements of the Hartford Policies because

               they are based on allegations regarding Meta’s deliberate and

               intentional acts in designing and marketing products to encourage

               excessive use by and/or addict children and adolescents;

             b. Some   or    all   of   the    Social   Media    Lawsuits   brought   by

               Government/School District Plaintiffs do not allege or seek damages

               “because of” bodily injury, property damage, or personal and

               advertising injury within the meaning of the Hartford Policies’ insuring

               agreements;


                                              22
Case 1:24-cv-01422-MN    Document 1-1       Filed 12/27/24   Page 142 of 305 PageID #:
                                          153



         c. Some    or   all   of   the    Social   Media    Lawsuits   brought   by

            Government/School District Plaintiffs do not allege or seek damages

            because of “bodily injury,” “property damage,” or “personal and

            advertising injury” as those terms are defined in the Hartford Policies;

         d. Some    or   all   of   the    Social   Media    Lawsuits   brought   by

            Government/School District Plaintiffs allege bodily injury or property

            damage, or offenses causing personal and advertising injury, only

            outside the policy periods covered by the Hartford Policies;

         e. Some    or   all   of   the    Social   Media    Lawsuits   brought   by

            Government/School District Plaintiffs allege injury expected or

            intended injuryby the insured;

         f. Some    or   all   of   the    Social   Media    Lawsuits   brought   by

            Government/School District Plaintiffs allege injury arising from

            violations of statutes that govern e-mails, fax, phone calls or other

            methods of sending material or information within the meaning of those

            exclusions; and/or

         g. Some    or   all   of   the    Social   Media    Lawsuits   brought   by

            Government/School District Plaintiffs allege injury due to the insured’s

            rendering of or failure to render “Professional Services”; and/or

         h. Some    or   all   of   the    Social   Media    Lawsuits   brought   by


                                          23
Case 1:24-cv-01422-MN        Document 1-1     Filed 12/27/24   Page 143 of 305 PageID #:
                                            154



              Government/School District Plaintiffs seek equitable relief in the form

              of nuisance abatement or other forms of relief that are not covered as

              damages or otherwise insurable under the Hartford Policies.

       56.        There exists an actual, ripe, and justiciable controversy between the

parties concerning insurance coverage under the Hartford Policies for the defense of

the Social Media Lawsuits brought by Government/School District Plaintiffs.

       57.        Hartford is entitled to a declaration that under the terms, conditions,

and exclusions of Hartford Policies, it has no duty to defend or pay the cost of

defending Meta against the Social Media Lawsuits brought by Government/School

District Plaintiffs.

                       COUNT II: DECLARATORY JUDGMENT

                       (No Duty to Defend or Pay Defense Costs for
                           Individual Social Media Lawsuits )

       58.        Hartford reasserts and incorporates herein each allegation set forth

in ¶¶ 1-57 above.

       59.        An actual controversy exists between Hartford, on the one hand, and

Meta on the other hand, regarding Hartford’s duty to defend the Social Media

Lawsuits brought by Individual Plaintiffs, the resolution of which may or will affect

the interests of the Other Primary Insurers.

       60.        The Hartford Policies provide coverage only for damages because

of “bodily injury,” “property damage,” or “personal and advertising injury” as those

                                            24
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 144 of 305 PageID #:
                                           155



terms are defined in the Hartford Policies;

       61.        The Hartford Policies provide coverage only for “bodily injury” and

“property damage” that occurs during the policy period.

       62.        The Hartford Policies provide coverage only for “bodily injury” and

“property damage” that results from an “occurrence.”

       63.        The Hartford Policies define “occurrence” as “an accident,

including continuous or repeated exposure to substantially the same general harmful

conditions . . . .”

       64.        The Social Media Lawsuits are based on Meta’s deliberate acts in

designing and marketing products that encourage excessive use and/or addiction in

children and adolescents. The Social Media Lawsuits allege that Meta intentionally

encourages youth to excessively use its platforms and leverages that usage to

increase revenue, intentionally designed its products to addict children and

adolescents, and concealed harmful effects that Instagram’s and Facebook’s design

features have on children and adolescents.

       65.        The Hartford Policies also contain various exclusions that may bar

or limit coverage for the Social Media Lawsuits, discussed in ¶¶ 34-4033-39, above.

       66.        There is no defense coverage for some or all of the Social Media

Lawsuits brought by Individual Plaintiffs under the Hartford Policies for some or all

of the following reasons:


                                           25
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24    Page 145 of 305 PageID #:
                                        156



         a. Some or all of the Social Media Lawsuits brought by Individual

            Plaintiffs do not allege an “occurrence” as required by the insuring

            agreements of the Hartford Policies because they are based on

            allegations regarding Meta’s deliberate and intentional acts in

            designing and marketing products to encourage excessive use by and/or

            addict children and adolescents;

         b. Some or all of the Social Media Lawsuits brought by Individual

            Plaintiffs do not allege or seek damages because of “bodily injury,”

            “property damage,” or “personal and advertising injury” as those terms

            are defined in the Hartford Policies;

         c. Some or all of the Social Media Lawsuits brought by Individual

            Plaintiffs allege bodily injury or property damage, or offenses causing

            personal and advertising injury, only outside the policy periods covered

            by the Hartford Policies;

         d. Some or all of the Social Media Lawsuits brought by Individual

            Plaintiffs allege injury expected or intended injuryby the insured;

         e. Some or all of the Social Media Lawsuits brought by Individual

            Plaintiffs allege injury arising from violations of statutes that govern e-

            mails, fax, phone calls or other methods of sending material or

            information within the meaning of those exclusions;


                                         26
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 146 of 305 PageID #:
                                         157



            f. Some or all of the Social Media Lawsuits brought by Individual

              Plaintiffs allege injury due to the insured’s rendering of or failure to

              render “Professional Services”; and/or

            g. Some or all of the Social Media Lawsuits brought by Individual

              Plaintiffs seek equitable relief in the form of nuisance abatement or

              other forms of relief that are not covered as damages or otherwise

              insurable under the Hartford Policies.

      67.        There exists an actual, ripe, and justiciable controversy between the

parties concerning insurance coverage under the Hartford Policies for the defense of

the Social Media Lawsuits brought by Individual Plaintiffs.

      68.        Hartford is entitled to a declaration that under the terms, conditions,

and exclusions of Hartford Policies, it has no duty to defend or pay the cost of

defending Meta against the Social Media Lawsuits brought by Individual Plaintiffs

for one or more of the reasons set forth in ¶ 66 above.




                                          27
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 147 of 305 PageID #:
                                           158



                    COUNT III: DECLARATORY JUDGMENT

         (In the Alternative, No Duty to Defend or Pay Defense Costs for
            Individual Social Media Lawsuits That Do Not Allege Use
                        During Harford’s Policy Periods)

       69.        Hartford reasserts and incorporates herein each allegation set forth

in ¶¶ 1-68 above.

       70.        To the extent the Court denies Count II, Hartford seeks a declaration

that it has no duty to defend any Social Media Lawsuits brought by Individual

Plaintiffs that fall outside the scope of coverage.

       71.        Hartford disagrees that the use of Instagram and/or Facebook

isduring the policy period is alone sufficient to trigger coverage under the Primary

Policies, which apply, as relevant here, only where an “occurrence” causes “bodily

injury” (or “property damage”)” occurs during the policy period (and is caused by an

“occurrence”), or an offense (resulting in “personal and advertising injury””) occurs

during the policy period.

       72.        Even to the extent that Meta disagrees, however, there can be no

coverage for Social Media Lawsuits brought by Individual Plaintiffs that only used

or only could have used Instagram and/or Facebook after the end dates of the relevant

Hartford Policy or Policies.

       73.        Accordingly, there is no defense coverage for some or all of the

Social Media Lawsuits brought by Individual Plaintiffs under the Hartford Policies


                                           28
Case 1:24-cv-01422-MN       Document 1-1      Filed 12/27/24   Page 148 of 305 PageID #:
                                            159



for some or all of the following reasons:

             a. Some or all of the Social Media Lawsuits brought by Individual

               Plaintiffs allege use of Instagram and/or Facebook only after the

               expiration of the relevant Hartford Policy or Policies;

             b. Some or all of the Social Media Lawsuits brought by Individual

               Plaintiffs do not allege particular dates of use of Instagram and/or

               Facebook but are brought by Individual Plaintiffs who were born after

               the end date of the relevant Hartford Policy or Policies; and/or

             c. Some or all of the Social Media Lawsuits brought by Individual

               Plaintiffs do not allege particular dates of use of Instagram and/or

               Facebook but are brought by Individual Plaintiffs whose dates of birth

               and the allegations in their short form complaints demonstrate that there

               is no possibility that they could have used Instagram and/or Facebook

               until after the end date of the relevant Hartford Policy or Policies.

       74.        There exists an actual, ripe, and justiciable controversy between the

parties concerning the scope of defense coverage required to be provided under the

terms, conditions, and exclusions of each of the Hartford Policies. Hartford is

entitled to a declaratory judgment regarding the scope and amount of its defense

coverage obligations to Meta against the Social Media Lawsuits brought by

Individual Plaintiffs for one or more of the reasons set forth in ¶ 73 above.


                                            29
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 149 of 305 PageID #:
                                          160



                             PRAYER FOR RELIEF

      WHEREFORE, Hartford respectfully request that the Court enter the

following relief:

      A.     A declaration that Hartford has no duty to defend or pay the costs to

             defend   Meta     in   the   Social    Media    Lawsuits   brought    by

             Government/School District Plaintiffs because any alleged “bodily

             injury” or “property damage” did not arise from an “occurrence,” the

             damages alleged in those lawsuits are not damages “because of”

             “bodily injury,” or “property damage,” those lawsuits do not allege

             “bodily injury,” or “property damage” within the relevant policy

             period(s), and/or for any of the other reasons set forth in ¶ 55 above;

      B.     A declaration that Hartford has no duty to defend or pay the costs to

             defend Meta in the Social Media Lawsuits brought by Individual

             Plaintiffs because any alleged “bodily injury” or “property damage” did

             not arise from an “occurrence,” those lawsuits do not allege “bodily

             injury,” “property damage,” or “personal and advertising injury” as

             those terms are defined in the Hartford Policies, and/or for any of the

             other reasons set forth in ¶ 66 above;

      C.     A declaration that Hartford has no duty to defend or pay the costs to

             defend Meta in the Social Media Lawsuits brought by Individual


                                          30
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 150 of 305 PageID #:
                                        161



            Plaintiffs to the extent those Individual Plaintiffs do not allege use of

            Instagram and/or Facebook during the relevant policy periods, were not

            born before the relevant policies expired, and/or their complaints do not

            potentially allege use of Instagram and/or Facebook before the relevant

            policies expired; and

      D.    Such other relief as this Court may deem just and proper.

 Dated: November 1December 18, 2024          BAYARD, P.A.

                            /s/ Emily L. Skaug
 OF COUNSEL:                Thad J. Bracegirdle (No. 3691)
                            Sarah T. Andrade (No. 6157)
 RUGGERI PARKS WEINBERG LLP Emily L. Skaug (No. 6921)
 James P. Ruggeri           600 N. King St., Suite 400
 (pro hac vice forthcoming) Wilmington, Delaware 19801
 Sara K. Hunkler            (302) 655-5000
 (pro hac vice forthcoming) tbracegirdle@bayardlaw.com
 1875 K Street, Suite 600   sandrade@bayardlaw.com
 Washington, DC 20006-125   eskaug@bayardlaw.com
 Telephone: (202) 984-1400
 Facsimile: (202) 984-1401
 jruggeri@ruggerilaw.com
 shunkler@ruggerilaw.com
                                             Attorneys for Plaintiffs Hartford Casualty
                                             Insurance Company and Sentinel Insurance
                                             Company, Ltd.




                                        31
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 151 of 305 PageID #:
                                         162
                                                     EFiled: Dec 18 2024 04:21PM EST
                                                     Transaction ID 75260921
                                                     Case No. N24C-11-010 SKR CCLD
      IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                    Plaintiffs,
                                                   C.A. No.: N24C-11-010 SKR CCLD
             v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                     Defendants.



                                    PRAECIPE

TO: Prothonotary
    Superior Court of the State of Delaware
    Leonard L. Williams Justice Center
    500 North King Street
    Wilmington, Delaware 19801

      PLEASE ISSUE a Summons in the form attached hereto to the Sheriff of New

Castle County for service of process upon Defendant Instagram, LLC as successor

in interest to Instagram a/k/a Burbn, Inc., pursuant to 6 Del. C. § 18-105, through its

registered agent at the following address:

              Instagram, LLC
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 152 of 305 PageID #:
                                         163



              c/o Corporation Service Company
              251 Little Falls Drive
              Wilmington, DE 19808

      PLEASE ISSUE a Summons in the form attached hereto to the Sheriff of New

Castle County for service of process upon Defendant Meta Platforms, Inc. f/k/a

TheFacebook Inc. d/b/a The Face Book, pursuant to 8 Del. C. § 321, through its

registered agent at the following address:

             Meta Platforms, Inc.
             c/o Corporation Service Company
             251 Little Falls Drive
             Wilmington, DE 19808

      PLEASE ISSUE Summons in the form attached hereto for service of process

on the below named Defendants pursuant to 10 Del. C. § 3104. Counsel for Plaintiffs

Hartford Casualty Insurance Company and Sentinel Insurance Company, Ltd. will

serve the Summonses and Complaint upon the below-named Defendants by certified

mail, return receipt requested, by serving it at the following addresses:

            Federal Insurance Company
             c/o an officer, a managing or general agent
             202B Hall’s Mill Road
             Whitehouse Station, NJ 08889

             and

             c/o an officer, a managing or general agent
             251 North Illinois Suite 1100,
             Indianapolis, Indiana, 46204

             and
             c/o C T Corporation System

                                          2
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24   Page 153 of 305 PageID #:
                                       164



            334 North Senate Avenue,
            Indianapolis, Indiana, 46204

           Old Republic Insurance Company
            c/o an officer, a managing or general agent
            631 Excel Drive, Suite 200
            Mt Pleasant, PA 15666

           Starr Indemnity and Liability Company
            c/o an officer, a managing or general agent
            8401 N. Central Expressway, #890
            Dallas, Texas 75225

            and

            c/o an officer, a managing or general agent
            399 Park Avenue, 2nd Floor
            New York, NY 10022

           Zurich American Insurance Company
            c/o an officer, a managing or general agent
            Four World Trade Center,
            150 Greenwich St.
            New York, NY 10007

            and

            c/o an officer, a managing or general agent
            1299 Zurich Way ZAIC
            Schaumburg, IL 60196

      PLEASE ISSUE SUMMONS to the Sheriff of Kent County, and direct the

Sheriff to serve two (2) copies of the Summons, Praecipe, and Complaint on the

below-named Defendants by service on the Commissioner of Insurance, State of

Delaware, 841 Silver Lake Boulevard, Dover, DE 19901, in accordance with 18 Del.



                                        3
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 154 of 305 PageID #:
                                         165



C. § 525. At the time of service, the Sheriff will deliver a check made payable to the

Commissioner of Insurance in the amount of $100.00, representing the required fee:

                 Federal Insurance Company

                 Old Republic Insurance Company

                 Starr Indemnity and Liability Company

                 Zurich American Insurance Company




 Dated: December 18, 2024                  BAYARD, P.A.

                                           /s/ Emily L. Skaug
                                           Thad J. Bracegirdle (#3691)
                                           Sarah T. Andrade (#6157)
                                           Emily L. Skaug (#6921)
                                           600 North King Street, Suite 400
                                           Wilmington, Delaware 19801
                                           (302) 655-5000

                                           Attorneys for Plaintiffs




                                          4
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 155 of 305 PageID #:
                                         166
                                                     EFiled: Dec 18 2024 04:21PM EST
                                                     Transaction ID 75260921
                                                     Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                    Plaintiffs,
                                                   C.A. No.: N24C-11-010-SKR CCLD
             v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                     Defendants.

                                   SUMMONS

TO THE STATE OF DELAWARE,
SHERIFF OF KENT COUNTY:
YOU ARE COMMANDED:

      To summon the above-named Defendant, Federal Insurance Company so that,
within 20 days after service hereof, exclusive of the day of service, Defendant shall
serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose address is Bayard, P.A.,
600 North King Street, Suite 400, Wilmington, Delaware 19801, an answer to the
Complaint.

      To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 156 of 305 PageID #:
                                         167




Dated: ________________________
                                              Prothonotary


                                              Per Deputy



TO THE ABOVE-NAMED DEFENDANT:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Plaintiff’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in the complaint.

Dated: ________________________
                                              Prothonotary


                                              Per Deputy




                                          2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 157 of 305 PageID #:
                                         168
                                                     EFiled: Dec 18 2024 04:21PM EST
                                                     Transaction ID 75260921
                                                     Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                    Plaintiffs,
                                                   C.A. No.: N24C-11-010-SKR CCLD
             v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                     Defendants.

                                   SUMMONS

TO THE STATE OF DELAWARE,
PLAINTIFFS’ COUNSEL:
YOU ARE COMMANDED:

      To summon the above-named Defendant, Federal Insurance Company so that,
within 20 days after service hereof, exclusive of the day of service, Defendant shall
serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose address is Bayard, P.A.,
600 North King Street, Suite 400, Wilmington, Delaware 19801, an answer to the
Complaint.

      To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 158 of 305 PageID #:
                                         169




Dated: ________________________
                                              Prothonotary


                                              Per Deputy



TO THE ABOVE-NAMED DEFENDANT:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Plaintiff’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in the complaint.

Dated: ________________________
                                              Prothonotary


                                              Per Deputy




                                          2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 159 of 305 PageID #:
                                         170
                                                     EFiled: Dec 18 2024 04:21PM EST
                                                     Transaction ID 75260921
                                                     Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                    Plaintiffs,
                                                    C.A. No.: N24C-11-010-SKR CCLD
             v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                     Defendants.

                                    SUMMONS

TO THE STATE OF DELAWARE,
SHERIFF OF NEW CASTLE COUNTY:
YOU ARE COMMANDED:

       To summon the above-named Defendant, Instagram, LLC as successor in
interest to Instagram a/k/a Burbn, Inc., so that, within 20 days after service hereof,
exclusive of the day of service, Defendant shall serve upon Plaintiff’s attorney, Thad
J. Bracegirdle, whose address is Bayard, P.A., 600 North King Street, Suite 400,
Wilmington, Delaware 19801, an answer to the Complaint.

      To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 160 of 305 PageID #:
                                         171




Dated: ________________________
                                              Prothonotary


                                              Per Deputy



TO THE ABOVE-NAMED DEFENDANT:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Plaintiff’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in the complaint.

Dated: ________________________
                                              Prothonotary


                                              Per Deputy




                                          2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 161 of 305 PageID #:
                                         172
                                                     EFiled: Dec 18 2024 04:21PM EST
                                                     Transaction ID 75260921
                                                     Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                    Plaintiffs,
                                                   C.A. No.: N24C-11-010-SKR CCLD
             v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                     Defendants.

                                    SUMMONS

TO THE STATE OF DELAWARE,
SHERIFF OF NEW CASTLE COUNTY:
YOU ARE COMMANDED:

      To summon the above-named Defendant, Meta Platforms, Inc. f/k/a
TheFacebook Inc. d/b/a The Face Book, so that, within 20 days after service hereof,
exclusive of the day of service, Defendant shall serve upon Plaintiff’s attorney, Thad
J. Bracegirdle, whose address is Bayard, P.A., 600 North King Street, Suite 400,
Wilmington, Delaware 19801, an answer to the Complaint.

      To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 162 of 305 PageID #:
                                         173




Dated: ________________________
                                              Prothonotary


                                              Per Deputy



TO THE ABOVE-NAMED DEFENDANT:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Plaintiff’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in the complaint.

Dated: ________________________
                                              Prothonotary


                                              Per Deputy




                                          2
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24 Page 163 of 305 PageID #:
                                        174
                                                    EFiled: Dec 18 2024 04:21PM EST
                                                    Transaction ID 75260921
                                                    Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                   Plaintiffs,
                                                 C.A. No.: N24C-11-010-SKR CCLD
            v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                    Defendants.

                                  SUMMONS

TO THE STATE OF DELAWARE,
SHERIFF OF KENT COUNTY:
YOU ARE COMMANDED:

      To summon the above-named Defendant, Old Republic Insurance Company,
so that, within 20 days after service hereof, exclusive of the day of service,
Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose address
is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware 19801, an
answer to the Complaint.

      To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 164 of 305 PageID #:
                                         175




Dated: ________________________
                                              Prothonotary


                                              Per Deputy



TO THE ABOVE-NAMED DEFENDANT:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Plaintiff’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in the complaint.

Dated: ________________________
                                              Prothonotary


                                              Per Deputy




                                          2
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24 Page 165 of 305 PageID #:
                                        176
                                                    EFiled: Dec 18 2024 04:21PM EST
                                                    Transaction ID 75260921
                                                    Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                   Plaintiffs,
                                                 C.A. No.: N24C-11-010-SKR CCLD
            v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                    Defendants.

                                  SUMMONS

TO THE STATE OF DELAWARE,
PLAINTIFFS’ COUNSEL:
YOU ARE COMMANDED:

      To summon the above-named Defendant, Old Republic Insurance Company,
so that, within 20 days after service hereof, exclusive of the day of service,
Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose address
is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware 19801, an
answer to the Complaint.

      To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 166 of 305 PageID #:
                                         177




Dated: ________________________
                                              Prothonotary


                                              Per Deputy



TO THE ABOVE-NAMED DEFENDANT:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Plaintiff’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in the complaint.

Dated: ________________________
                                              Prothonotary


                                              Per Deputy




                                          2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 167 of 305 PageID #:
                                         178
                                                     EFiled: Dec 18 2024 04:21PM EST
                                                     Transaction ID 75260921
                                                     Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                    Plaintiffs,
                                                  C.A. No.: N24C-11-010-SKR CCLD
            v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                    Defendants.

                                   SUMMONS

TO THE STATE OF DELAWARE,
SHERIFF OF KENT COUNTY:
YOU ARE COMMANDED:

      To summon the above-named Defendant, Starr Indemnity and Liability
Company, so that, within 20 days after service hereof, exclusive of the day of
service, Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose
address is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware
19801, an answer to the Complaint.

      To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 168 of 305 PageID #:
                                         179




Dated: ________________________
                                              Prothonotary


                                              Per Deputy



TO THE ABOVE-NAMED DEFENDANT:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Plaintiff’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in the complaint.

Dated: ________________________
                                              Prothonotary


                                              Per Deputy




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 169 of 305 PageID #:
                                         180
                                                     EFiled: Dec 18 2024 04:21PM EST
                                                     Transaction ID 75260921
                                                     Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                    Plaintiffs,
                                                 C.A. No.: N24C-11-010-SKR CCLD
            v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                    Defendants.

                                   SUMMONS

TO THE STATE OF DELAWARE,
PLAINTIFFS’ COUNSEL:
YOU ARE COMMANDED:

      To summon the above-named Defendant, Starr Indemnity and Liability
Company, so that, within 20 days after service hereof, exclusive of the day of
service, Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose
address is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware
19801, an answer to the Complaint.

      To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 170 of 305 PageID #:
                                         181




Dated: ________________________
                                              Prothonotary


                                              Per Deputy



TO THE ABOVE-NAMED DEFENDANT:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Plaintiff’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in the complaint.

Dated: ________________________
                                              Prothonotary


                                              Per Deputy




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 171 of 305 PageID #:
                                         182
                                                     EFiled: Dec 18 2024 04:21PM EST
                                                     Transaction ID 75260921
                                                     Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                    Plaintiffs,
                                                  C.A. No.: N24C-11-010-SKR CCLD
            v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                    Defendants.

                                   SUMMONS

TO THE STATE OF DELAWARE,
PLAINTIFFS’ COUNSEL:
YOU ARE COMMANDED:

      To summon the above-named Defendant, Zurich American Insurance
Company, so that, within 20 days after service hereof, exclusive of the day of
service, Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose
address is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware
19801, an answer to the Complaint.

      To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 172 of 305 PageID #:
                                         183




Dated: ________________________
                                              Prothonotary


                                              Per Deputy



TO THE ABOVE-NAMED DEFENDANT:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Plaintiff’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in the complaint.

Dated: ________________________
                                              Prothonotary


                                              Per Deputy




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 173 of 305 PageID #:
                                         184
                                                     EFiled: Dec 18 2024 04:21PM EST
                                                     Transaction ID 75260921
                                                     Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


HARTFORD CASUALTY INSURANCE
COMPANY and SENTINEL INSURANCE
COMPANY, LTD.,

                    Plaintiffs,
                                                 C.A. No.: N24C-11-010-SKR CCLD
            v.

INSTAGRAM, LLC as successor in interest
to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc.
d/b/a The Face Book, Inc.; FEDERAL
INSURANCE COMPANY; OLD
REPUBLIC INSURANCE COMPANY;
STARR INDEMNITY AND LIABILITY
COMPANY; and ZURICH AMERICAN
INSURANCE COMPANY,

                    Defendants.

                                   SUMMONS

TO THE STATE OF DELAWARE,
PLAINTIFFS’ COUNSEL:
YOU ARE COMMANDED:

      To summon the above-named Defendant, Zurich American Insurance
Company, so that, within 20 days after service hereof, exclusive of the day of
service, Defendant shall serve upon Plaintiff’s attorney, Thad J. Bracegirdle, whose
address is Bayard, P.A., 600 North King Street, Suite 400, Wilmington, Delaware
19801, an answer to the Complaint.

      To serve upon Defendant a copy hereof and of the Complaint.
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24    Page 174 of 305 PageID #:
                                         185




Dated: ________________________
                                              Prothonotary


                                              Per Deputy



TO THE ABOVE-NAMED DEFENDANT:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Plaintiff’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in the complaint.

Dated: ________________________
                                              Prothonotary


                                              Per Deputy




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      Case 1:24-cv-01422-MN         Document 1-1 Filed 12/27/24 Page 175 of 305 PageID #:
                                         SUPERIOR
                                                186 COURT
                                                           EFiled: Dec
                             CIVIL CASE INFORMATION STATEMENT          20 2024 07:49PM EST
                                                                   (CIS)
                                                           Transaction ID 75288440
                                                           Case No. N24C-11-010 SKR CCLD
COUNTY:        New Castle County              CIVIL ACTION NUMBER: N24C-11-010 SKR CCLD

 Caption:
HARTFORD CASUALTY INSURANCE COMPANY and                      Civil Case Code: CCLD
SENTINEL INSURANCE COMPANY, LTD.,
                                                             Civil Case Type: Complex Commercial Litigation Division
               Plaintiffs,                                                      (SEE REVERSE SIDE FOR CODE AND TYPE)

                                                             MANDATORY NON-BINDING ARBITRATION (MNA): N/A
       v.

INSTAGRAM, LLC as successor in interest to Instagram a/k/a Name and Status of Party filing document:
Burbn, Inc.; META PLATFORMS, INC. f/k/a TheFacebook        Defendant, Counterclaimant, Cross Claimant, and Third-Party
Inc. d/b/a The Face Book, Inc.; FEDERAL INSURANCE          Plaintiff, Federal Insurance Company; Third-Party Plaintiffs
COMPANY; OLD REPUBLIC INSURANCE COMPANY; STARR Westchester Surplus Lines Insurance Company, Westchester Fire
INDEMNITY AND LIABILITY COMPANY; and ZURICH                Insurance Company, and ACE Property and Casualty Insurance
AMERICAN INSURANCE COMPANY,                                Company

                  Defendants.                                Document Type:(E.G.; COMPLAINT; ANSWER WITH COUNTERCLAIM)

FEDERAL INSURANCE COMPANY                                    Answer, Defenses, Counterclaims, and Cross-Claims to Plaintiffs’
                                                             Amended Complaint and Third-Party Complaint
               Defendant and Counterclaim/Cross-
                                                             JURY DEMAND: YES X___NO
               claim/Third-Party Plaintiff,

       and,

WESTCHESTER SURPLUS LINES INSURANCE COMPANY,
WESTCHESTER FIRE INSURANCE COMPANY; and ACE
PROPERTY AND CASUALTY INSURANCE COMPANY

               Third-Party Plaintiffs,

       v.

HARTFORD CASUALTY INSURANCE COMPANY; SENTINEL
INSURANCE COMPANY, LTD.; INSTAGRAM, LLC as
successor in interest to Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a TheFacebook Inc. d/b/a The Face
Book, Inc.; OLD REPUBLIC INSURANCE COMPANY; STARR
INDEMNITY AND LIABILITY COMPANY; ZURICH AMERICAN
INSURANCE COMPANY; ALLIANZ GLOBAL CORPORATE &
SPECIALTY SE; ARCH INSURANCE COMPANY; ARGO GROUP
US; ASPEN AMERICAN INSURANCE COMPANY; CANOPIUS
US INSURANCE, INC.; ENDURANCE AMERICAN SPECIALTY;
FIREMANS FUND INDEMNITY CORPORATION; GEMINI
INSURANCE COMPANY; GREAT AMERICAN INSURANCE
COMPANY; GREAT AMERICAN SPIRIT INSURANCE
COMPANY; INTERSTATE FIRE & CASUALTY COMPANY;
IRONSHORE UK; LIBERTY MUTUAL INSURANCE EUROPE
LTD.; THE LONDON MARKET INSURERS; NATIONAL FIRE &
MARINE INSURANCE COMPANY; NATIONAL UNION FIRE
INSURANCE COMPANY OF PITTSBURGH, PA; RSUI
INDEMNITY COMPANY; STARR SURPLUS LINES INSURANCE
COMPANY; STARSTONE SPECIALTY INSURANCE COMPANY;
STEADFAST INSURANCE COMPANY; XL INSURANCE
AMERICA. INC.,

Defendants.
      Case 1:24-cv-01422-MN           Document 1-1         Filed 12/27/24 Page 176 of 305 PageID #:
ATTORNEY NAME(S):                                        187IDENTIFY ANY RELATED CASES NOW PENDING IN THE SUPERIOR COURT OR ANY
                                                            RELATED CASES THAT HAVE BEEN CLOSED IN THIS COURT WITHIN THE LAST
Stamatios Stamoulis                                         TWO YEARS BY CAPTION AND CIVIL ACTION NUMBER INCLUDING JUDGE’S
                                                            INITIALS:
ATTORNEY ID(S):
                                                            N/A

 4606
FIRM NAME:

 Stamoulis & Weinblatt LLC                                  EXPLAIN THE RELATIONSHIP(S):
ADDRESS:
                                                            N/A
800 N. West Street, Third Floor

Wilmington, DE 19801
TELEPHONE NUMBER:
(302) 999-1540

FAX NUMBER:                                                 OTHER UNUSUAL ISSUES THAT AFFECT CASE MANAGEMENT:

(302) 762-1688                                               N/A
E-MAIL ADDRESS:


stamoulis@swdelaw.com
                                                            (IF ADDITIONAL SPACE IS NEEDED, PLEASE ATTACH PAGE)




THE PROTHONOTARY WILL NOT PROCESS THE COMPLAINT, ANSWER, OR FIRST RESPONSIVE PLEADING IN THIS MATTER FOR SERVICE UNTIL
THE CASE INFORMATION STATEMENT (CIS) IS FILED. THE FAILURE TO FILE THE CIS AND HAVE THE PLEADING PROCESSED FOR SERVICE MAY
RESULT IN THE DISMISSAL OF THE COMPLAINT OR MAY RESULT IN THE ANSWER OR FIRST RESPONSIVE PLEADING BEING STRICKEN.

                                                                                                                  Revised 10/2024
           Case 1:24-cv-01422-MN                Document 1-1       Filed 12/27/24           Page 177 of 305 PageID #:
                                                                 188
                  SUPERIOR COURT CIVIL CASE INFORMATION STATEMENT (CIS)
                                      INSTRUCTIONS
 CIVIL CASE TYPE
 Please select the appropriate civil case code and case type (e.g., CODE - AADM and TYPE - Administrative Agency) from
 the list below. Enter this information in the designated spaces on the Case Information Statement.


APPEALS                                                             MISCELLANEOUS
AADM - Administrative Agency                                        MAGM - AG Motion - Civil/Criminal Investigations *
ACER - Certiorari                                                   MADB - Appeal from Disability Board *
ACCP - Court of Common Pleas                                        MAFF - Application for Forfeiture
AIAB - Industrial Accident Board                                    MAAT - Appointment of Attorney
APSC - Public Service Commission                                    MGAR - Appointment of Guardianship
AUIB - Unemployment Insurance Appeal Board                          MCED - Cease and Desist Order
                                                                    MCON - Civil Contempt/Capias
COMPLAINTS                                                          MCVP - Civil Penalty
CABT – Abatement                                                    MSOJ - Compel Satisfaction of Judgment
CASB – Asbestos                                                     MSAM - Compel Satisfaction of Mortgage
CAAA - Auto Arb Appeal                                              MCTO - Consent Order
CMIS - Civil Miscellaneous                                          MIND - Destruction of Indicia of Arrest *
CACT - Class Action                                                 MESP - Excess Sheriff Proceeds
CCON – Condemnation                                                 MHAC - Habeas Corpus
CCLD – Complex Commercial Litigation Division (NCC ONLY)            MTOX - Hazardous Substance Cleanup
CDBT - Debt/Breach of Contract                                      MFOR - Intercept of Forfeited Money
CDEJ - Declaratory Judgment                                         MISS - Issuance of Subpoena
CDEF - Defamation                                                   MLEX - Lien Extension
CEJM - Ejectment                                                    MMAN - Mandamus
CATT - Foreign & Domestic Attachment                                MWIT - Material Witness *
CFJG - Foreign Judgment                                             MWOT - Material Witness - Out of State
CFRD - Fraud Enforcement                                            MRAT - Motion for Risk Assessment
CINT - Interpleader                                                 MROP - Petition for Return of Property
CLEM - Lemon Law                                                    MCRO - Petition Requesting Order
CLIB - Libel                                                        MROD - Road Resolution
CMAL - Malpractice                                                  MSEL - Sell Real Estate for Property Tax
CMED - Medical Malpractice                                          MSEM - Set Aside Satisfaction of Mortgage
CPIN - Personal Injury                                              MSSS - Set Aside Sheriff's Sale
CPIA - Personal Injury Auto                                         MSET - Structured Settlement
CPRL - Products Liability                                           MTAX - Tax Ditches
CPRD - Property Damage                                              MREF - Tax Intercept
CRPV - Replevin                                                     MLAG - Tax Lagoons
CSPD - Summary Proceedings Dispute                                  MVAC - Vacate Public Road
CCCP - Transfer from CCP                                            MPOS - Writ of Possession
CCHA - Transfer from Chancery                                       MPRO - Writ of Prohibition

MASS TORT                                                           MORTGAGES
CABI - Abilify Cases                                                MCOM - Mortgage Commercial
CBEN - Benzene Cases                                                MMED - Mortgage Mediation
CFAR - Farxiga Cases                                                MORT - Mortgage Non-Mediation (Res.)
CFIB – FiberCel Cases
CHON - Honeywell Cases
CMON - Monsanto Cases                                               MECHANICS LIENS
CPEL - Pelvic Mesh Cases                                            LIEN - Mechanics Lien
CPLX - Plavix Cases
CPPI - PPI Cases
CPQT – Paraquat Cases
CTAL - Talc Cases
CTAX - Taxotere Cases
CXAR - Xarelto Cases
CZAN – Zantac Cases
INVOLUNTARY COMMITMENTS
INVC- Involuntary Commitment



                                                           * Not eFiled
 DUTY OF THE PLAINTIFF
 Each plaintiff/counsel shall complete the attached Civil Case Information Statement (CIS) and file with the complaint.

 DUTY OF THE DEFENDANT
 Each defendant/counsel shall complete the attached Civil Case Information Statement (CIS) and file with the answer
 and/or first responsive pleading.
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24 Page 178 of 305 PageID #:
                                          189
                                                      EFiled: Dec 20 2024 07:49PM EST
                                                      Transaction ID 75288440
                                                      Case No. N24C-11-010 SKR CCLD

     IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE


HARTFORD CASUALTY
INSURANCE COMPANY and
SENTINEL INSURANCE
COMPANY, LTD.,
             Plaintiffs,
      v.                                  C.A. No.: N24C-11-010 SKR CCLD

INSTAGRAM, LLC as successor in
interest to Instagram a/k/a Burbn,        FEDERAL INSURANCE
Inc.; META PLATFORMS, INC.
f/k/a TheFacebook Inc. d/b/a The          COMPANY’S ANSWER AND
Face Book, Inc.; FEDERAL                  DEFENSES TO PLAINTIFFS’
INSURANCE COMPANY; OLD                    AMENDED COMPLAINT AND
REPUBLIC INSURANCE
COMPANY; STARR INDEMNITY                  CHUBB’S COUNTERCLAIMS,
AND LIABILITY COMPANY; and                CROSS-CLAIMS, AND THIRD-
ZURICH AMERICAN                           PARTY COMPLAINT
INSURANCE COMPANY,
                 Defendants.
                                          JURY TRIAL DEMANDED
FEDERAL INSURANCE                         (BY A JURY OF TWELVE)
COMPANY
             Defendant and
             Counterclaim/Cross-
             claim/Third-Party
             Plaintiff,
      and,
WESTCHESTER SURPLUS LINES
INSURANCE COMPANY,
WESTCHESTER FIRE
INSURANCE COMPANY; and
ACE PROPERTY AND
CASUALTY INSURANCE
COMPANY
             Third-Party Plaintiffs,
      v.
HARTFORD CASUALTY
INSURANCE COMPANY;

                                           1
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24   Page 179 of 305 PageID #:
                                       190


SENTINEL INSURANCE
COMPANY, LTD.; INSTAGRAM,
LLC as successor in interest to
Instagram a/k/a Burbn, Inc.; META
PLATFORMS, INC. f/k/a
TheFacebook Inc. d/b/a The Face
Book, Inc.; OLD REPUBLIC
INSURANCE COMPANY; STARR
INDEMNITY AND LIABILITY
COMPANY; ZURICH AMERICAN
INSURANCE COMPANY;
ALLIANZ GLOBAL CORPORATE
& SPECIALTY SE; ARCH
INSURANCE COMPANY; ARGO
GROUP US; ASPEN AMERICAN
INSURANCE COMPANY;
CANOPIUS US INSURANCE,
INC.; ENDURANCE AMERICAN
SPECIALTY; FIREMANS FUND
INDEMNITY CORPORATION;
GEMINI INSURANCE
COMPANY; GREAT AMERICAN
INSURANCE COMPANY; GREAT
AMERICAN SPIRIT INSURANCE
COMPANY; INTERSTATE FIRE &
CASUALTY COMPANY;
IRONSHORE UK; LIBERTY
MUTUAL INSURANCE EUROPE
LTD.; THE LONDON MARKET
INSURERS; NATIONAL FIRE &
MARINE INSURANCE
COMPANY; NATIONAL UNION
FIRE INSURANCE COMPANY OF
PITTSBURGH, PA; RSUI
INDEMNITY COMPANY; STARR
SURPLUS LINES INSURANCE
COMPANY; STARSTONE
SPECIALTY INSURANCE
COMPANY; STEADFAST
INSURANCE COMPANY; XL
INSURANCE AMERICA. INC.,
             Defendants.

  FEDERAL’S ANSWER AND DEFENSES TO PLAINTIFFS’ AMENDED
                      COMPLAINT
      Defendant Federal Insurance Company (“Federal”), by and through its

undersigned counsel, hereby answers the Amended Complaint of Hartford Casualty


                                        2
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24    Page 180 of 305 PageID #:
                                           191



Insurance Company (“Hartford Casualty”) and Sentinel Insurance Company, Ltd.

(“Sentinel,” and, together with Hartford Casualty, “Plaintiffs”). To the extent that

Plaintiffs’ claims are directed at multiple parties, Federal’s responses are with

respect to Federal only. To the extent that the Amended Complaint purports to quote

from, cite, or summarize allegations from third party documents, no response herein

should be read as admitting any allegation by any third party unless expressly

admitted herein. Federal expressly reserves the right to amend and/or supplement

this Answer, including but not limited to the answers and defenses set forth herein,

as may be necessary. Federal answers Plaintiffs’ Amended Complaint by admitting,

denying, and alleging as follows.

                           NATURE OF THE DISPUTE


     1. This is an action for declaratory relief pursuant to Article IV, § 7 of the
Delaware Constitution, 10 Del. C. § 541, and 10 Del. C. §§ 6501, et seq.

      ANSWER: Paragraph 1 is a statement of the relief requested to which no

response is required. Federal denies that Plaintiffs are entitled to any relief as against

Federal.

       2. Hartford seeks a determination of the parties’ rights and obligations in
connection with primary liability policies issued by Hartford to Meta with respect to
numerous underlying claims against Meta and other social media companies alleging
that the defendants’ social media platforms are defective because they are designed
to maximize screen time and encourage addictive behavior in minors, which has
resulted in various emotional and physical harm to minors, including death (the
“Social Media Lawsuits”).

                                            3
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24    Page 181 of 305 PageID #:
                                           192



      ANSWER: Paragraph 2 is a statement of the relief requested to which no

response is required. Federal denies that Plaintiffs are entitled to any relief as against

Federal.

                                       PARTIES


      3. Plaintiff Hartford Casualty is an Indiana company with a principal place of
business in Connecticut. Hartford Casualty issued primary insurance coverage to
“The Face Book, Inc.” on an annual basis from October 9, 2004, to October 8, 2007.

      ANSWER: Upon information and belief, Federal admits the allegations in

Paragraph 3.


       4. Plaintiff Sentinel is a Connecticut company with a principal place of
business in Connecticut. Sentinel issued primary insurance coverage to “Instagram
a/k/a Burbn, Inc.” from December 19, 2011, to December 19, 2012.

      ANSWER: Upon information and belief, Federal admits the allegations in

Paragraph 4.


       5. Defendant Instagram, LLC is a Delaware limited liability company whose
sole member is Defendant Meta Platforms. On information and belief, the company
originally known as Burbn, Inc. was incorporated in Delaware in February 2010 and
launched, develops, operates, markets, and owns the social media application now
known as Instagram and its related features, applications, and products (e.g.,
Boomerang and Instagram Direct) (collectively, “Instagram”). Burbn, Inc. changed
its name to Instagram, Inc. in January 2012. Facebook, Inc. acquired Instagram, Inc.
in August 2012, and Instagram, Inc. merged into Instagram, LLC on August 31,
2012.

      ANSWER: Upon information and belief, Federal admits the allegations in

Paragraph 5.


                                            4
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 182 of 305 PageID #:
                                         193



       6. Defendant Meta Platforms is a Delaware corporation with its principal
place of business in California. On information and belief, “The Face Book, Inc.”
was a trade name of the company incorporated in Delaware on July 29, 2004, under
the registered name TheFacebook, Inc., which launched, develops, operates,
markets, and owns the social media application now known as Facebook and its
related applications and products (e.g., Messenger, Messenger Kids, Marketplace,
Workplace, etc.) (collectively, “Facebook”). TheFacebook, Inc. changed its name to
Facebook, Inc. in September 2005, and to Meta Platforms, Inc. in October 2021.

      ANSWER: Upon information and belief, Federal admits the allegations in

Paragraph 6.


      7. Defendant Federal is an Indiana corporation with a principal place of
business in New Jersey. On information and belief, Federal issued primary insurance
coverage to Facebook, Inc. under Policy No. 3589-24-66 PLE (effective October 9,
2007 to October 9, 2016). Upon information and belief, Federal is licensed to do
business in Delaware and, at all times relevant to this Complaint, was engaged in the
business of selling contracts of insurance and did business in Delaware.

      ANSWER: Federal admits that it issued annual policies to Facebook, Inc.,

the first of which became effective on October 9, 2007, and the last of which expired

on October 9, 2016. Federal refers to the policies for their full context and content.

To the extent that Paragraph 7 alleges that Federal issued a single policy from

October 9, 2007 to October 9, 2016, Federal denies that allegation. Federal admits

that this Court has personal jurisdiction over Federal.


       8. Defendant Old Republic is a Pennsylvania company with a principal place
of business in Pennsylvania. Upon information and belief, Old Republic issued
primary insurance coverage to Facebook, Inc. under Policy Nos. MWZY308504
(effective October 9, 2016 to October 9, 2017) and MWZY311176 (effective
October 9, 2017 to October 9, 2020). Upon information and belief, Old Republic is
licensed to do business in Delaware and, at all times relevant to this Complaint, was


                                          5
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 183 of 305 PageID #:
                                         194



engaged in the business of selling contracts of insurance and did business in
Delaware.

      ANSWER: Upon information and belief, Federal admits that Old Republic

is a Pennsylvania company with a principal place of business in Pennsylvania that

issued primary general liability insurance policies to Facebook, Inc.          Federal

otherwise lacks knowledge sufficient to determine the truth of the allegations in

Paragraph 8.


       9. Defendant Starr is a Texas company with a principal place of business in
New York. Upon information and belief, Star issued primary insurance coverage to
Facebook, Inc. and/or Meta Platforms, Inc. under Policy Nos. 1000100155201
(effective October 9, 2020 to October 9, 2021), 1000100155211 (effective October
9, 2021 to October 9, 2022), and 1000100155221 (October 9, 2022 to October 9,
2023). Upon information and belief, Starr is licensed to do business in Delaware and,
at all times relevant to this Complaint, was engaged in the business of selling
contracts of insurance and did business in Delaware.

      ANSWER: Upon information and belief, Federal admits that Starr is a Texas

company with a principal place of business in New York that issued primary general

liability insurance policies to Facebook, Inc. Federal otherwise lacks knowledge

sufficient to determine the truth of the allegations in Paragraph 9.


       10. Defendant Zurich is a New York company with a principal place of
business in Illinois. Upon information and belief, Zurich issued primary insurance
coverage to Facebook, Inc. and/or Meta Platforms, Inc. under Policy Nos. ZE
3730650-02 (effective October 9, 2018 to October 9, 2019), ZE 3730650-03
(effective October 9, 2019 to October 9, 2020), ZE 3730650-04 (effective October
9, 2020 to October 9, 2021), ZE 3730650-05 (effective October 9, 2021 to October
9, 2022), and ZE 3730650-06 (effective October 9, 2022 to October 9, 2023). Upon
information and belief, Zurich is licensed to do business in Delaware and, at all times


                                          6
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 184 of 305 PageID #:
                                        195



relevant to this Complaint, was engaged in the business of selling contracts of
insurance and did business in Delaware.

      ANSWER: Upon information and belief, Federal admits that Zurich is a New

York company with a principal place of business in Illinois that issued general

liability insurance policies to Facebook, Inc.       Federal lacks knowledge or

information sufficient to determine the truth of the remaining allegations in

Paragraph 10.


      11. The defendants listed in ¶¶ 7-10 are the “Other Primary Insurers.” The
Other Primary Insurers are joined because there is a justiciable controversy
regarding the primary insurance carriers’ duty to defend the Social Media Lawsuits.
The Other Primary Insurers’ interests in the subject matter of this declaratory
judgment action will be prejudiced if this action is litigated in their absence.

      ANSWER: Paragraph 11 contains legal conclusions to which no response is

required. To the extent a response is required, Federal admits that there is a

justiciable controversy regarding the insurance carriers’ duties to defend the Social

Media Lawsuits. Federal denies that Plaintiffs are entitled to any relief as against

Federal.

                                 JURISDICTION


       12. This Court has subject matter jurisdiction pursuant to Article IV, § 7 of
the Delaware Constitution and 10 Del. C. § 541 and under 10 Del. C. §§ 6501, et
seq., which provides this Court with the power “to declare rights, status and other
legal relations whether or not further relief is or could be claimed.”

      ANSWER: Federal admits that this Court has subject matter jurisdiction over

this declaratory judgment action.
                                         7
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 185 of 305 PageID #:
                                          196



      13. This Court has personal jurisdiction over defendant Meta Platforms
because Meta Platforms is a Delaware corporation.

      ANSWER: Federal admits that this Court has personal jurisdiction over

defendant Meta Platforms, Inc.


      14. This Court has personal jurisdiction over defendant Instagram LLC
because Instagram LLC is a Delaware limited liability company and a resident of
Delaware by virtue of its member, Meta Platforms.

      ANSWER: On information and belief, Federal admits that this Court has

personal jurisdiction over defendant Instagram, LLC.


      15. This Court has personal jurisdiction over the Other Insurers because they
at material times have conducted business, committed acts or omissions, or have
caused substantial effects within the State of Delaware with respect to one or more
causes of action arising from these acts, omissions, or effects.

      ANSWER: Federal admits that this Court has personal jurisdiction over

Federal and the Other Insurers.

                           FACTUAL BACKGROUND

      A. The Social Media Lawsuits

       16. Between February 2023 and the present date, Meta has periodically
notified Hartford of Social Media Lawsuits against Meta by individuals, school
districts, local governments, and state attorneys general. In the time since this action
was filed, Meta has tendered additional social media claims to Hartford, and on
information and belief, will continue to do so as more social media claims are
asserted against it. The additional claims implicate the same questions of policy
interpretation set forth herein, and upon information and belief, future tenders will
likewise implicate the same questions.




                                           8
Case 1:24-cv-01422-MN       Document 1-1      Filed 12/27/24     Page 186 of 305 PageID #:
                                            197



       ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 16.


      17. Most (but not all) of the Social Media Lawsuits are consolidated in a
multidistrict litigation pending in the Northern District of California for coordinated
and consolidated pretrial proceedings (the “MDL”) or Judicial Council Coordination
Proceeding No. 5255 coordinated in the County of Los Angeles Central District
Superior Court (the “JCCP”), where master complaints and short form complaints
have supplanted many of the complaints originally filed by the plaintiffs. Although
those common master complaints and short form complaints supersede the original
complaints filed by many of the plaintiffs in the cases coordinated in the MDL and
JCCP, each of the separate cases coordinated in the MDL and JCCP remains a
separate lawsuit.

       ANSWER: On information and belief, Federal admits the allegations in

Paragraph 17.


      18. The specific factual allegations of the Social Media Lawsuits vary, but the
Social Media Lawsuits generally include certain common allegations, including that:
       a. Meta designs, develops, owns, operates, and markets the social media
          platforms Instagram and Facebook;
       b. Meta intentionally targeted children and adolescents as a core market;
       c. Meta intentionally designed Instagram and Facebook to exploit
          vulnerabilities in human psychology and developed and embedded
          addictive features in Instagram and Facebook to maximize engagement
          from children and adolescents to drive revenue;
       d. Use of Instagram and Facebook has had harmful effects on children and
          adolescents;
       e. Meta knew that use of Instagram and Facebook has had harmful effects on
          children and adolescents;1


1 Many of the lawsuits reference internal documents made public by whistleblower Frances

Haugen, former Facebook product manager, that reflect findings from Meta’s researchers on
body image and mental health issues caused by minors’ use of Instagram and Facebook.
                                              9
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 187 of 305 PageID #:
                                          198



      f. Meta concealed its knowledge of, and information regarding, the harmful
         effects of Instagram and Facebook on children and adolescents;
      g. Meta falsely represented that Instagram and Facebook are safe for children
         and adolescents and are not designed to induce compulsive and extended
         use; and
      h. Meta willfully failed to conduct proper age verification and authentication
         of Instagram and Facebook registrants, resulting in rampant access to those
         platforms by children under 13 and associated collection of such children’s
         data.

      ANSWER: Federal admits the allegations in Paragraph 18; Federal refers to

the Social Media Lawsuits for their full context and content.


       19. Many of the individual, school district, and local government plaintiffs
further allege that:
      a. Meta failed to adequately warn children, adolescents, and others about the
         dangers and harms caused by Instagram and Facebook or to provide
         instructions regarding safe use; and
      b. The design features of Instagram and Facebook facilitate the spread of
         child sexual abuse material (“CSAM”) and child exploitation.

      ANSWER: Federal admits the allegations in Paragraph 19; Federal refers to

the Social Media Lawsuits for their full context and content.


       20. The individual plaintiffs (the “Individual Plaintiffs”) are generally injured
persons who allege that they became addicted to social media platforms as minors
as a result of allegedly manipulative features of those social media platforms that
seek to maximize the amount of time minors spend on the platforms, or persons
seeking to recover on behalf of such an injured person. Based on the allegations
described above, the Individual Plaintiffs bring various counts against Meta and
others under applicable state law. Based on those claims, the Individual Plaintiffs
generally seek to recover for direct harms an individual person experienced as a
result of their social media addiction, including, e.g., depression and anxiety, “social
comparison,” “the pressure of looks/behaviors,” eating disorders, body dysmorphia,
isolation, insecurity, and loneliness.

                                          10
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 188 of 305 PageID #:
                                          199



      ANSWER: Federal admits the allegations in Paragraph 20; Federal refers to

the Individual Plaintiffs’ complaints for their full context and content.


       21. Unlike the Individual Plaintiffs, the school district, local government, and
state attorney general plaintiffs (the “Government/School District Plaintiffs”) are not
(i) an injured person, (ii) seeking to recover on behalf of a specific alleged injured
person, or (iii) an organization seeking to recover the costs of directly caring for any
specific alleged injured person.

      ANSWER: Federal admits that the Government/School District Plaintiffs are

not (i) an injured person, (ii) seeking to recover on behalf of an injured person, or

(iii) an organization seeking to recover the costs of directly caring for any specific

alleged injured person. Federal refers to the Individual Plaintiffs’ complaints and

the Government/School District Plaintiffs’ complaints for their full context and

content.


       22. Rather, based on the allegations described above, the school districts and
local governments bring various counts against Meta and others and generally seek
to recover damages for aggregate increases in expenditures and operating costs
necessitated by mass social media addiction in minors (e.g., increased provision of
anxiety and depression counseling, health services, community-based services,
behavioral health services, and after-school programming; increases in staff to
confiscate cell phones and communicate and engage with parents and guardians
regarding students’ attendance, mental health, and behavioral issues; and increased
resources to investigate and prosecute crimes that allegedly result from use of the
social media platforms).

      ANSWER: Federal admits the allegations in Paragraph 22; Federal refers to

the Government/School District Plaintiffs’ complaints for their full context and

content.


                                          11
Case 1:24-cv-01422-MN        Document 1-1       Filed 12/27/24      Page 189 of 305 PageID #:
                                              200



       23. Certain school district and/or local government plaintiffs allege that
property has been damaged as a result of students’ mental, emotional, and/or social
problems caused by social media and/or participation in “challenge” videos
circulated on social media.2 Those complaints, however, do not seek damages
“because of” property damage, do not seek damages “because of” property damage
purportedly caused by Meta, and/or do not seek damages “because of” property
damage during the effective policy periods of the Hartford Policies. In the MDL, the
property damage allegations brought by the school district and/or local government
plaintiffs have been dismissed, and the JCCP defendants’ demurer to certain
representative school district complaints was sustained in its entirety.

       ANSWER:          With respect to the allegations described in Paragraph 23,

Federal refers to the Government/School District Plaintiffs’ complaints for their full

context and content. The remainder of paragraph 23 contains legal conclusions to

which no response is required.


       24. The state attorneys general, for their part, generally seek disgorgement,
civil penalties, injunctive relief, and other remedies based on their assertions that the
acts and omissions of Meta and others violate consumer protection and privacy laws.

       ANSWER: Federal admits the allegations in Paragraph 24; Federal refers to

the Government/School District Plaintiffs’ complaints for their full context and

content.

       B. The Hartford Policies

      25. As relevant here, Hartford Casualty issued to The Face Book Inc. as named
insured Policy No. 57 SBA AW9679 DX, effective from October 1, 2004, to October

2 The specific “challenge” videos identified in the Social Media Lawsuits are generally

associated with social media platforms other than Facebook or Instagram and/or went viral
during periods that post-date the Hartford policy periods. Both the “devious licks” challenge and
the “Blackout Challenge” discussed in Plaintiffs’ First Amended Master Complaint (Local
Government and School District) in the MDL, for instance, were “challenges” that went viral on
Tik-Tok in 2021.
                                               12
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 190 of 305 PageID #:
                                         201



1, 2005 (the “2004-2005 Facebook Policy”); Policy No. 57 SBA AZ6549 SC,
effective from October 1, 2005, to October 1, 2006 (the “2005-2006 Facebook
Policy”); and Policy No. 57 SBQ RG7020 SC, effective from October 1, 2006, to
October 1, 2007 (the “2006-2007 Facebook Policy”) (collectively, the “Facebook
Policies”).

      ANSWER: On information and belief, Federal admits that Hartford Casualty

issued policies to The Face Book Inc., but otherwise lacks knowledge or information

sufficient to determine the truth of the allegations in Paragraph 25.


       26. As relevant here, Sentinel issued to Instagram a/k/a Burbn, Inc. as named
insured Policy No. 57 SBA BB7385 SC, effective from December 19, 2011, to
December 19, 2012 (the “Instagram Policy,” and together with the Facebook
Policies, the “Hartford Policies”).

      ANSWER: On information and belief, Federal admits that Sentinel issued at

least one policy to Instagram, but otherwise lacks knowledge or information

sufficient to determine the truth of the allegations in Paragraph 26.


       27. Each of the Hartford Policies provides Business Liability coverage for
“those sums that the insured becomes legally obligated to pay as damages because
of ‘bodily injury’, ‘property damage’ or ‘personal and advertising injury’ to which
this insurance applies”, subject to a per-occurrence limit of $1 million, a general
aggregate limit of $2 million, and a products/completed-operations aggregate limit
of $2 million.

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 27.


      28. The 2004-2005 Facebook Policy and 2005-2006 Facebook Policy (at
Business Liability Coverage Form SS 00 08 04 01) and the 2006-2007 Facebook
Policy and the Instagram Policy (at Business Liability Cover Form SS 00 08 04 05)


                                          13
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24   Page 191 of 305 PageID #:
                                           202



contain insuring agreements that state as follows (subject to certain non-substantive
differences in formatting):

            Insuring Agreement
            a. We will pay . . . those sums that the insured becomes
               legally obligated to pay as damages because of
               “bodily injury”, “property damage” or “personal and
               advertising injury” to which this insurance applies.
               We will have the right and duty to defend the insured
               against any “suit” seeking those damages. However,
               we will have no duty to defend the insured against
               any “suit” seeking damages for “bodily injury”,
               “property damage” or “personal and advertising
               injury” to which this insurance does not apply. . .

            . . . b. This insurance applies to:
            (1) “Bodily injury” and “property damage” only if:
            (a) The “bodily injury” or “property damage” is caused
                by an “occurrence” that takes place in the “coverage
                territory”; and
            (b)The “bodily injury” or “property damage” occurs
               during the “policy period” . . .
            (2) “Personal and advertising injury” caused by an
                offense arising out of your business, but only if the
                offense is committed in the “coverage territory”
                during the policy period.

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 28.


      29. The insuring agreements in the Business Liability Coverage Form in the
2006-2007 Facebook Policy and Instagram Policy further state that those policies do
not cover damages because of “bodily injury” or “property damage” that the insured
knew, before the policy period, had occurred or begun to occur.



                                           14
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24    Page 192 of 305 PageID #:
                                          203



      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 29.


        30. The Business Liability Coverage Forms in the 2004-2005 Facebook Policy
and the 2005-2006 Facebook Policy define “bodily injury” as “bodily injury,
sickness or disease sustained by a person, including mental anguish or death
resulting from any of these at any time,” while the Business Liability Coverage
Forms in the 2006-2007 Facebook Policy and Instagram Policy define “bodily
injury” as “physical: a. Injury; b. Sickness; or c. Disease sustained by a person and,
if arising out of the above, mental anguish or death at any time.”

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 30.


      31. The Business Liability Coverage Forms in all of the Hartford Policies
define “occurrence” as “an accident, including continuous or repeated exposure to
substantially the same general harmful conditions.”

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 31.


       32. The Business Liability Coverage Forms in all of the Hartford Policies
define “personal and advertising injury” to mean “injury, including consequential
‘bodily injury’, arising out of one or more . . . offenses[,]” including “[o]ral, written
or electronic publication of material that violates a person’s right of privacy” and
“[d]iscrimination or humiliation that results in injury to the feelings or reputation of
a natural person.”

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 32.


       33. Business Liability coverage under all the Hartford Policies is also subject
to certain exclusions, including an exclusion for bodily injury that is expected or
intended from the standpoint of the insured.
                                           15
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 193 of 305 PageID #:
                                          204



      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 33.


      34. That exclusion states:

               This insurance does not apply to:
            a. Expected or Intended Injury
               (1) “Bodily injury” or “property damage” expected
                   or intended from the standpoint of the insured.
                   This exclusion does not apply to “bodily injury”
                   or “property damage” resulting from the use of
                   reasonable force to protect persons or property .
                   ..

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 34.


      35. The Business Liability Coverage Forms in the 2006-2007 Facebook Policy
and the Instagram Policy also contain an exclusion for “Violation Of Statutes That
Govern E-Mails, Fax, Phone Calls Or Other Methods Of Sending Material Or
Information,” which states:

      This insurance does not apply to:

               [...]
            t. Violation Of Statutes That Govern E-Mails, Fax,
               Phone Calls Or Other Methods Of Sending
               Material Or Information

               “Bodily injury”, “property damage”, “personal and
               advertising injury” arising directly or indirectly out
               of any action or omission that violates or is alleged
               to violate:

               [...]


                                          16
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 194 of 305 PageID #:
                                           205



                  (3) Any statute, ordinance or regulation other than
                  the TCPA or CAN-SPAM Act of 2003, that
                  prohibits or limits the sending, transmitting,
                  communicating or distribution of material or
                  information.

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 35.


       36. In addition, each of the Facebook Policies contains an exclusion for
“bodily injury”, “property damage” or “personal and advertising injury” arising from
the rendering or of failure to render any “professional service.”

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 36.


     37. That exclusion, as amended by the form titled “Technology Services
Coverage (Limited),” states:

      B. EXCLUSIONS

      1.         Applicable To Business Liability Coverage.

      This insurance does not apply to:

      [. . .]

      j.         Professional Services

                  “Bodily injury”, “property damage” or “personal
                  and advertising injury” due to the rendering of or
                  failure to render any professional service. This
                  includes but is not limited to:

      [. . . ]

      (11) Computer consulting, design or programming services, including website
design.


                                           17
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 195 of 305 PageID #:
                                          206



      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 37.


       38. The Instagram Policy has a nearly identical exclusion applicable to bodily
injury, property damage or personal and advertising injury “arising out of the
rendering of or failure to render any professional service[.]”

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 38.


        39. The Business Liability Coverage Forms in all of the Hartford Policies
exclude coverage for certain “personal and advertising injury,” including “personal
and advertising injury” arising out of (i) oral, written or electronic publication of
material whose first publication took place before the beginning of the policy period;
(ii) oral, written or electronic publication of material, if done by or at the direction
of the insured with knowledge of its falsity; (iii) a criminal act committed by or at
the direction of the insured; (iv) the failure of goods, products or services to conform
with any statement of quality or performance made in the insured’s advertisement,
(v) an offense committed by an insured whose business is designing or determining
content of websites for others and/or an Internet search, access, content or service
provider; (vi) an electronic chat room or bulletin board the insured hosts, owns, or
over which it exercises control; (vii) the violation of a person’s right of privacy
created by any state or federal act; and/or (viii) computer code, software, or
programming used to enable your web site.

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 39.

      C. Disputes Concerning Hartford’s Defense Obligations


       40. In response to Meta’s notices to Hartford of the Social Media Lawsuits,
Hartford, subject to a full reservation of rights, offered to participate in the defense
of Meta under the Business Liability coverage part of the Hartford Policies for
certain Social Media Lawsuits filed by Individual Plaintiffs.

                                          18
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 196 of 305 PageID #:
                                         207



      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 40.


       41. Hartford declined coverage for certain other Social Media Lawsuits filed
by Individual Plaintiffs because, among other bases set forth in Hartford’s
reservation of rights letter, those Social Media Lawsuits were brought by Individual
Plaintiffs that only used or could have used Instagram and/or Facebook after the end
dates of the relevant Hartford Policy or Policies.

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 41.


      42. Hartford’s reservation of rights includes the right to withdraw from the
defense of the Social Media Lawsuits, as appropriate; the right to recoup defense
fees under Buss v. Super. Ct., 16 Cal. 4th 35 (1997); and the right to decline
indemnity.

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 42.


      43. Hartford declined coverage for the Social Media Lawsuits filed by
Government/School District Plaintiffs because, along with other bases set forth in
Hartford’s reservation of rights letter, the Hartford Policies provide coverage for
“sums that the insured becomes legally obligated to pay as damages because of
‘bodily injury,’ ‘property damage’ or ‘personal and advertising injury’” and Hartford
disagrees that the Government/School District Social Media Lawsuits seek damages
“because of” bodily injury, property damage, and/or personal and advertising injury
within the meaning of the Hartford Policies’ insuring agreements.

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 43.


      44. The Social Media Lawsuits filed by Government/School District Plaintiffs
seek to recover for general, non-derivative economic losses and/or statutory
                                          19
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 197 of 305 PageID #:
                                         208



violations that are not based on allegations that plaintiffs treated (or paid for
treatment of) injuries to any specific individual or that they repaired (or paid for
repair of) damage to specifically identified property, or that any such individualized
injury or damage was specifically caused by the insured.

      ANSWER: Paragraph 44 contains legal conclusions to which no response is

required; Federal refers to the Government/School District Plaintiffs’ complaints for

their full context and content.


       45. Plaintiffs’ First Amended Master Complaint (Local Government and
School District) in the MDL, for instance, seeks to recover for increased
expenditures by school districts and Local Government Plaintiffs related to
“addressing the mental health and behavior of impacted young people and providing
education and support to young people, staff, parents, and Plaintiffs’ communities,”
e.g., increased provision of anxiety and depression counseling, health services,
community-based services, behavioral-health services, and after-school
programming; increases in staff to confiscate cell phones and communicate and
engage with parents and guardians regarding students’ attendance, mental health,
and behavioral issues; and increased resources to investigate and prosecute crimes
that result from use of the insured’s platforms. Such damages are not damages
“because of” bodily injury within the insuring agreements of the policies.

      ANSWER: Federal admits the allegations in the first sentence of Paragraph

45. Federal refers to the First Amended Master Complaint (Local Government and

School District) in the MDL for its full context and content. The remainder of

Paragraph 45 contains legal conclusions to which no response is required.


      46. On information and belief, Meta disputes Hartford’s offer to participate in
the defense of certain Social Media Lawsuits by Individual Plaintiffs under a
reservation of rights and also disputes Hartford’s denial of coverage for certain other
Social Media Lawsuits by Individual Plaintiffs and the Social Media Lawsuits by
Government/School District Plaintiffs.



                                          20
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 198 of 305 PageID #:
                                          209



      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 46.

                   COUNT I: DECLARATORY JUDGMENT

                  (No Duty to Defend or Pay Defense Costs for
                   Government/School District Social Media
                                  Lawsuits)

      47. Hartford reasserts and incorporates herein each allegation set forth in ¶¶
1-46 above.

      ANSWER:         Federal incorporates its responses to the allegations in

Paragraphs 1-46 above.


       48. An actual controversy exists between Hartford, on the one hand, and Meta
on the other hand, regarding Hartford’s duty to defend the Social Media Lawsuits
brought by Government/School District Plaintiffs, the resolution of which will affect
the interests of the Other Primary Insurers.

      ANSWER: Paragraph 48 contains legal conclusions to which no response is

required. Federal denies that Plaintiffs are entitled to any relief as against Federal.


      49. The Hartford Policies provide coverage only for damages “because of”
bodily injury or property damage.

      ANSWER: Paragraph 49 contains legal conclusions to which no response is

required.   To the extent a response is required, Federal lacks knowledge or

information sufficient to determine the truth of the allegations in Paragraph 49.


      50. The Hartford Policies provide coverage only for “bodily injury” and
“property damage” that occurs during the policy period.

                                          21
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 199 of 305 PageID #:
                                         210



      ANSWER: Paragraph 50 contains legal conclusions to which no response is

required.   To the extent a response is required, Federal lacks knowledge or

information sufficient to determine the truth of the allegations in Paragraph 50.


      51. The Hartford Policies provide coverage only for “bodily injury” and
“property damage” that results from an “occurrence.”

      ANSWER: Paragraph 51 contains legal conclusions to which no response is

required.   To the extent a response is required, Federal lacks knowledge or

information sufficient to determine the truth of the allegations in Paragraph 51.


      52. The Hartford Policies define “occurrence” as “an accident, including
continuous or repeated exposure to substantially the same general harmful
conditions . . . .”

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 52.


       53. The Social Media Lawsuits are based on Meta’s deliberate acts in
designing and marketing products that encourage excessive use and/or addiction in
children and adolescents. The Social Media Lawsuits allege that Meta intentionally
encourages youth to excessively use its platforms and leverages that usage to
increase revenue, intentionally designed its products to addict children and
adolescents, and concealed harmful effects that Instagram’s and Facebook’s design
features have on children and adolescents.

      ANSWER: Federal admits the allegations in Paragraph 53. Federal refers to

the Social Media Lawsuits for their full context and content.


      54. The Hartford Policies also contain various exclusions that may bar or limit
coverage for the Social Media Lawsuits, discussed in ¶¶ 33-39, above.

                                          22
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 200 of 305 PageID #:
                                         211



      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 54.


     55. There is no defense coverage for some or all of the Social Media Lawsuits
brought by Government/School District Plaintiffs under the Hartford Policies for
some or all of the following reasons:
          a. Some or all of the Social Media Lawsuits brought by
             Government/School District Plaintiffs do not allege an “occurrence” as
             required by the insuring agreements of the Hartford Policies because
             they are based on allegations regarding Meta’s deliberate and
             intentional acts in designing and marketing products to encourage
             excessive use by and/or addict children and adolescents;
          b. Some or all of the Social Media Lawsuits brought by
             Government/School District Plaintiffs do not allege or seek damages
             “because of” bodily injury, property damage, or personal and
             advertising injury within the meaning of the Hartford Policies’ insuring
             agreements;
          c. Some or all of the Social Media Lawsuits brought by
             Government/School District Plaintiffs do not allege or seek damages
             because of “bodily injury,” “property damage,” or “personal and
             advertising injury” as those terms are defined in the Hartford Policies;
          d. Some or all of the Social Media Lawsuits brought by
             Government/School District Plaintiffs allege bodily injury or property
             damage, or offenses causing personal and advertising injury, only
             outside the policy periods covered by the Hartford Policies;
          e. Some or all of the Social Media Lawsuits brought by
             Government/School District Plaintiffs allege injury expected or
             intended by the insured;
          f. Some or all of the Social Media Lawsuits brought by
             Government/School District Plaintiffs allege injury arising from
             violations of statutes that govern e-mails, fax, phone calls or other
             methods of sending material or information within the meaning of those
             exclusions; and/or



                                          23
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24      Page 201 of 305 PageID #:
                                           212



            g. Some or all of the Social Media Lawsuits brought by
               Government/School District Plaintiffs allege injury due to the insured’s
               rendering of or failure to render “Professional Services”; and/or
            h. Some or all of the Social Media Lawsuits brought by
               Government/School District Plaintiffs seek equitable relief in the form
               of nuisance abatement or other forms of relief that are not covered as
               damages or otherwise insurable under the Hartford Policies.

      ANSWER: Paragraph 55 contains legal conclusions to which no response is

required.     To the extent a response is required, Federal lacks knowledge or

information sufficient to determine the truth of the allegations in Paragraph 55.

Federal denies that Plaintiffs are entitled to any relief as against Federal.


      56. There exists an actual, ripe, and justiciable controversy between the parties
concerning insurance coverage under the Hartford Policies for the defense of the
Social Media Lawsuits brought by Government/School District Plaintiffs.

      ANSWER: Federal admits the allegations in Paragraph 56. Federal denies

that Plaintiffs are entitled to any relief as against Federal.


       57. Hartford is entitled to a declaration that under the terms, conditions, and
exclusions of Hartford Policies, it has no duty to defend or pay the cost of defending
Meta against the Social Media Lawsuits brought by Government/School District
Plaintiffs.

      ANSWER: Paragraph 57 is a statement of the relief requested to which no

response is required.      Federal denies that Plaintiffs are entitled to any relief as

against Federal.




                                            24
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 202 of 305 PageID #:
                                          213



                  COUNT II: DECLARATORY JUDGMENT

                   (No Duty to Defend or Pay Defense Costs for
                        Individual Social Media Lawsuits)

      58. Hartford reasserts and incorporates herein each allegation set forth in ¶¶
1-57 above.

      ANSWER:         Federal incorporates its responses to the allegations in

Paragraphs 1-57 above.


       59. An actual controversy exists between Hartford, on the one hand, and Meta
on the other hand, regarding Hartford’s duty to defend the Social Media Lawsuits
brought by Individual Plaintiffs, the resolution of which may or will affect the
interests of the Other Primary Insurers.

      ANSWER: Paragraph 59 contains legal conclusions to which no response is

required. Federal denies that Plaintiffs are entitled to any relief as against Federal.


      60. The Hartford Policies provide coverage only for damages because of
“bodily injury,” “property damage,” or “personal and advertising injury” as those
terms are defined in the Hartford Policies;

      ANSWER: Paragraph 60 contains legal conclusions to which no response is

required.   To the extent a response is required, Federal lacks knowledge or

information sufficient to determine the truth of the allegations in Paragraph 60.


      61. The Hartford Policies provide coverage only for “bodily injury” and
“property damage” that occurs during the policy period.




                                          25
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 203 of 305 PageID #:
                                         214



      ANSWER: Paragraph 61 contains legal conclusions to which no response is

required.   To the extent a response is required, Federal lacks knowledge or

information sufficient to determine the truth of the allegations in Paragraph 61.


      62. The Hartford Policies provide coverage only for “bodily injury” and
“property damage” that results from an “occurrence.”

      ANSWER: Paragraph 62 contains legal conclusions to which no response is

required.   To the extent a response is required, Federal lacks knowledge or

information sufficient to determine the truth of the allegations in Paragraph 62.


      63. The Hartford Policies define “occurrence” as “an accident, including
continuous or repeated exposure to substantially the same general harmful
conditions . . . .”

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 63.


       64. The Social Media Lawsuits are based on Meta’s deliberate acts in
designing and marketing products that encourage excessive use and/or addiction in
children and adolescents. The Social Media Lawsuits allege that Meta intentionally
encourages youth to excessively use its platforms and leverages that usage to
increase revenue, intentionally designed its products to addict children and
adolescents, and concealed harmful effects that Instagram’s and Facebook’s design
features have on children and adolescents.

      ANSWER: Federal admits the allegations in Paragraph 64. Federal refers to

the Social Media Lawsuits for their full context and content.


      65. The Hartford Policies also contain various exclusions that may bar or limit
coverage for the Social Media Lawsuits, discussed in ¶¶ 33-39, above.

                                          26
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 204 of 305 PageID #:
                                          215



      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 65.


      66. There is no defense coverage for some or all of the Social Media Lawsuits
brought by Individual Plaintiffs under the Hartford Policies for some or all of the
following reasons:
          a. Some or all of the Social Media Lawsuits brought by Individual
             Plaintiffs do not allege an “occurrence” as required by the insuring
             agreements of the Hartford Policies because they are based on
             allegations regarding Meta’s deliberate and intentional acts in
             designing and marketing products to encourage excessive use by and/or
             addict children and adolescents;
          b. Some or all of the Social Media Lawsuits brought by Individual
             Plaintiffs do not allege or seek damages because of “bodily injury,”
             “property damage,” or “personal and advertising injury” as those terms
             are defined in the Hartford Policies;
          c. Some or all of the Social Media Lawsuits brought by Individual
             Plaintiffs allege bodily injury or property damage, or offenses causing
             personal and advertising injury, only outside the policy periods covered
             by the Hartford Policies;
          d. Some or all of the Social Media Lawsuits brought by Individual
             Plaintiffs allege injury expected or intended by the insured;
          e. Some or all of the Social Media Lawsuits brought by Individual
             Plaintiffs allege injury arising from violations of statutes that govern e-
             mails, fax, phone calls or other methods of sending material or
             information within the meaning of those exclusions;
          f. Some or all of the Social Media Lawsuits brought by Individual
             Plaintiffs allege injury due to the insured’s rendering of or failure to
             render “Professional Services”; and/or
          g. Some or all of the Social Media Lawsuits brought by Individual
             Plaintiffs seek equitable relief in the form of nuisance abatement or
             other forms of relief that are not covered as damages or otherwise
             insurable under the Hartford Policies.



                                          27
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24    Page 205 of 305 PageID #:
                                           216



      ANSWER: Paragraph 66 contains legal conclusions to which no response is

required. To the extent a response is required, Federal lacks knowledge and

information sufficient to determine the truth of the allegations in Paragraph 66.

Federal denies that Plaintiffs are entitled to any relief as against Federal.


      67. There exists an actual, ripe, and justiciable controversy between the parties
concerning insurance coverage under the Hartford Policies for the defense of the
Social Media Lawsuits brought by Individual Plaintiffs.

      ANSWER: Paragraph 67 contains legal conclusions to which no response is

required. Federal denies that Plaintiffs are entitled to any relief as against Federal.


      68. Hartford is entitled to a declaration that under the terms, conditions, and
exclusions of Hartford Policies, it has no duty to defend or pay the cost of defending
Meta against the Social Media Lawsuits brought by Individual Plaintiffs for one or
more of the reasons set forth in ¶ 66 above.

      ANSWER: Paragraph 68 is a statement of the relief requested to which no

response is required. Federal denies that Plaintiffs are entitled to any relief as against

Federal.

                  COUNT III: DECLARATORY JUDGMENT

                 (In the Alternative, No Duty to Defend or Pay
               Defense Costs for Individual Social Media Lawsuits
                That Do Not Allege Use During Harford’s Policy
                                    Periods)

      69. Hartford reasserts and incorporates herein each allegation set forth in ¶¶
1-68 above.



                                           28
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24    Page 206 of 305 PageID #:
                                           217



      ANSWER:          Federal incorporates its responses to the allegations in

Paragraphs 1-68 above.


       70. To the extent the Court denies Count II, Hartford seeks a declaration that
it has no duty to defend any Social Media Lawsuits brought by Individual Plaintiffs
that fall outside the scope of coverage.

      ANSWER: Paragraph 70 is a statement of the relief requested to which no

response is required. Federal denies that Plaintiffs are entitled to any relief as against

Federal.


      71. Hartford disagrees that the use of Instagram and/or Facebook during the
policy period is alone sufficient to trigger coverage under the Primary Policies,
which apply, as relevant here, only where “bodily or “property damage” occurs
during the policy period (and is caused by an “occurrence”), or an offense (resulting
in “personal and advertising injury”) occurs during the policy period.

      ANSWER: Federal lacks knowledge or information sufficient to determine

the truth of the allegations in Paragraph 71.


      72. Even to the extent that Meta disagrees, however, there can be no coverage
for Social Media Lawsuits brought by Individual Plaintiffs that only used or only
could have used Instagram and/or Facebook after the end dates of the relevant
Hartford Policy or Policies.

      ANSWER: Paragraph 72 contains legal conclusions to which no response is

required.


       73. Accordingly, there is no defense coverage for some of the Social Media
Lawsuits brought by Individual Plaintiffs under the Hartford Policies for some or all
of the following reasons:



                                           29
Case 1:24-cv-01422-MN        Document 1-1     Filed 12/27/24   Page 207 of 305 PageID #:
                                            218



          a. Some of the Social Media Lawsuits brought by Individual Plaintiffs
             allege use of Instagram and/or Facebook only after the expiration of the
             relevant Hartford Policy or Policies;
          b. Some of the Social Media Lawsuits brought by Individual Plaintiffs do
             not allege particular dates of use of Instagram and/or Facebook but are
             brought by Individual Plaintiffs who were born after the end date of the
             relevant Hartford Policy or Policies; and/or
          c. Some of the Social Media Lawsuits brought by Individual Plaintiffs do
             not allege particular dates of use of Instagram and/or Facebook but are
             brought by Individual Plaintiffs whose dates of birth and the allegations
             in their short form complaints demonstrate that there is no possibility
             that they could have used Instagram and/or Facebook until after the end
             date of the relevant Hartford Policy or Policies.

      ANSWER: Paragraph 73 contains legal conclusions to which no response is

required. To the extent a response is required, Federal lacks information and

knowledge sufficient to determine the truth of the allegations in Paragraph 73.

Federal denies that Plaintiffs are entitled to any relief as against Federal.


       74. There exists an actual, ripe, and justiciable controversy between the parties
concerning the scope of defense coverage required to be provided under the terms,
conditions, and exclusions of each of the Hartford Policies. Hartford is entitled to a
declaratory judgment regarding the scope and amount of its defense coverage
obligations to Meta against the Social Media Lawsuits brought by Individual
Plaintiffs for one or more of the reasons set forth in ¶ 73 above.

      ANSWER: Paragraph 74 contains legal conclusions and statements of the

relief requested to which no response is required. To the extent a response is

required, Federal lacks knowledge and information sufficient to determine the truth

of the allegations in Paragraph 74. Federal denies that Plaintiffs are entitled to any

relief as against Federal.

                                            30
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24    Page 208 of 305 PageID #:
                                          219



                    RESPONSE TO PRAYER FOR RELIEF


      ANSWER: Paragraphs enumerated as (A) through (D) under Prayer for

Relief contain the Plaintiffs’ prayer for relief, to which no response is required.

Federal denies that Plaintiffs are entitled to any relief as against Federal.

                                     DEFENSES


      Federal pleads the following separate defenses, without assuming the burden

of proof or persuasion as to any fact, issue, or element of a cause of action where

such burden properly belongs to Plaintiffs. No assertion of any defense is intended

or may be construed as a concession that any issue or subject matter is relevant to

Plaintiffs’ allegations. Federal reserves the right to assert additional defenses as may

be proper, including based on further developments in the litigation and any ongoing

discovery.

                                  FIRST DEFENSE


    (No Duty to Defend Social Media Lawsuits under the Federal Policies)

      1.     Plaintiffs are not entitled to any relief from Federal to the extent that

there is no coverage for and no duty to defend Meta Platforms, Inc., Instagram, or

Facebook for the Social Media Lawsuits under the Federal Policies, pursuant to their




                                           31
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 209 of 305 PageID #:
                                         220



terms, provisions, conditions and exclusions, including as set forth in Chubb’s

Counterclaims, Cross-claims, and Third-Party Complaint below.


      WHEREFORE, Federal respectfully requests that Plaintiffs take nothing from

Federal; that the Court grant judgment for Federal; and that the Court grant Federal

any such further relief as the Court may deem just and proper.

  CHUBB’S COUNTERCLAIMS, CROSS CLAIMS, AND THIRD-PARTY
                      COMPLAINT


      Defendant and Counterclaim, Cross-claim, and Third-Party Plaintiff Federal

Insurance Company (“Federal”), together with Third-Party Plaintiffs Westchester

Surplus Lines Insurance Company (“Westchester Surplus”), Westchester Fire

Insurance Company (“Westchester Fire”), and ACE Property and Casualty

Insurance Company (“ACE,” together, “Chubb”), by and through their undersigned

counsel, allege on knowledge as to their own acts or within their direct knowledge

and on information and belief as to all other matters, the following claims against

defendants Instagram, LLC, Meta Platforms, Inc., Old Republic Insurance

Company, Starr Indemnity and Liability Company, and Zurich American Insurance

Company, and certain Third-Party defendants, listed below.           Chubb seeks a

declaration regarding the parties’ respective rights and obligations as they relate to

providing coverage to Meta Platforms, Inc., Instagram (defined below), or Facebook

(defined below, together “Meta”) pursuant to policies the insurers issued to Meta.
                                         32
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 210 of 305 PageID #:
                                         221



                           NATURE OF THE ACTION


      1.     This declaratory judgment action seeks to resolve issues related to

insurance coverage regarding underlying claims brought against Meta (and other

social media platforms) in federal and state courts, brought by individuals, school

districts, and/or state Attorneys General (the “Social Media Lawsuits”). The Social

Media Lawsuits generally allege that Meta and its co-defendants designed their

platforms to maximize use, resulting in mental health and other issues for its users

and increased related expenditures.


      2.     Chubb issued certain primary, umbrella, and excess general liability

insurance policies to Facebook, Inc. or Meta Platforms, Inc. for annual periods

between October 2007 and October 2016 and between October 2020 through

October 2023 (the “Chubb Policies”).


      3.     Starting in October 2022, Meta began providing notice of the Social

Media Lawsuits to Chubb. And on information and belief, Meta also provided notice

of the Social Media Lawsuits to additional insurance carriers that also issued general

liability policies to Meta during the same policy period as the Chubb policies, and

in the policy periods both before and after the Chubb policy periods.


      4.     Chubb seeks a declaration as to the parties’ respective rights and

obligations with respect to insurance policies issued to Meta pursuant to the policies’

                                          33
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 211 of 305 PageID #:
                                          222



terms, conditions, and requirements for coverage, including as to whether the Social

Media Lawsuits fail to satisfy the requirements for coverage to the extent they (i) do

not allege damages because of or for bodily injury or property damage, (ii) do not

allege damages because of or for bodily injury or property damage that occurred in

Chubb’s policy periods, (iii) do not allege any injury caused by an “occurrence,”

which the policies generally define as an accident, (iv) do not allege damages

because of or for advertising injury or personal injury, (v) fall within various of the

policies’ exclusions, (vi) seek equitable relief, which is not covered, and/or (vii) are

not covered as a matter of California public policy, among other requirements for

coverage. If, and to the extent the Social Media Lawsuits satisfy the requirements

for coverage of any of the policies, including those outlined above, among others,

Chubb seeks a declaration regarding its and other insurers’ respective shares for any

covered amounts.

                                   THE PARTIES


      5.     Federal is an Indiana corporation with its principal place of business in

New Jersey. As described further below, Federal issued primary and umbrella

general liability insurance policies to Facebook, Inc. that were in effect from October

2007 to October 2016.




                                          34
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 212 of 305 PageID #:
                                         223



        6.    Westchester Surplus is a Georgia corporation with its principal place of

business in Pennsylvania.     Westchester Surplus issued excess general liability

insurance policies to Facebook, Inc. that were in effect from October 2009 through

October 2011.


        7.    Westchester Fire is a Pennsylvania corporation with a principal place

of business in Pennsylvania. Westchester issued excess general liability insurance

policies to Facebook, Inc. that were in effect from October 2011 through October

2016.


        8.    ACE is a Pennsylvania corporation with a principal place of business

in Pennsylvania. ACE issued umbrella general liability insurance policies to Meta

Platforms, Inc. that were in effect from October 2020 through October 2023.


        9.    Hartford Casualty Insurance Company (“Hartford Casualty”) is an

Indiana corporation with its principal place of business in Indiana. On information

and belief, Hartford Casualty issued primary insurance coverage to “The Face Book,

Inc.” on an annual basis from October 9, 2004, to October 8, 2007


        10.   Sentinel Insurance Company LTD. (“Sentinel”) is a Connecticut

corporation with its principal place of business in Connecticut. On information and

belief, Sentinel issued primary insurance coverage to “Instagram a/k/a Burbn, Inc.”

from December 19, 2011, to December 19, 2012.

                                          35
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 213 of 305 PageID #:
                                        224



      11.   Facebook, Inc., now known as Meta Platforms, Inc. (formerly known

as TheFacebook, Inc.) (“Facebook”) is a Delaware corporation with its principal

place of business in California. Facebook developed (and continues to develop),

owns, and operates the social media platform known popularly as Facebook in

addition to a variety of other services, applications, and social media and/or

communication platforms.


      12.   Instagram, LLC (formerly known as Burbn, Inc.) (“Instagram”) is a

Delaware limited liability company whose sole member is Defendant Meta

Platforms, Inc. Instagram developed (and continues to develop) and operates the

social media platform known popularly as Instagram in addition to a variety of other

services, applications, and social media and/or communication platforms.


      13.   Old Republic Insurance Company (“Old Republic”) is a Pennsylvania

corporation with a principal place of business in Pennsylvania. On information and

belief, Old Republic issued primary general liability policies to Meta during times

relevant to this Complaint. On information and belief, Old Republic is licensed to

do business in Delaware and, at all times relevant to this Complaint, was engaged in

the business of selling contracts of insurance and did business in Delaware.


      14.   Starr Indemnity and Liability Company (“Starr”) is a Texas corporation

with a principal place of business in New York. On information and belief, Starr

                                         36
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 214 of 305 PageID #:
                                         225



issued primary general liability policies to Meta during times relevant to this

Complaint. On information and belief, Starr is licensed to do business in Delaware

and, at all times relevant to this Complaint, was engaged in the business of selling

contracts of insurance and did business in Delaware.


      15.    Zurich American Insurance Company (“Zurich”) is a New York

corporation with a principal place of business in Illinois. On information and belief,

Zurich issued general liability policies to Meta during times relevant to this

Complaint. On information and belief, Zurich is licensed to do business in Delaware

and, at all times relevant to this Complaint, was engaged in the business of selling

contracts of insurance and did business in Delaware.


      16.    Allianz Global Corporate & Specialty SE (“Allianz Global”) is a

German corporation with its principal place of business in Munich, Germany. On

information and belief, Allianz Global issued general liability policies to Meta

during times relevant to this Complaint. On information and belief, at all times

relevant to this Complaint, Allianz Global was engaged in the business of selling

contracts of insurance and did business in Delaware.


      17.    Arch Insurance Company (“Arch”) is a Missouri corporation with its

principal place of business in the New Jersey. On information and belief, Arch

issued general liability policies to Meta during times relevant to this Complaint. On

                                         37
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 215 of 305 PageID #:
                                         226



information and belief, Arch is licensed to do business in Delaware and, at all times

relevant to this Complaint, was engaged in the business of selling contracts of

insurance and did business in Delaware.


      18.    Argo Group US (“Argo”) is a Delaware corporation with its principal

place of business in the Colorado. On information and belief, Argo issued general

liability policies to Meta during times relevant to this Complaint. On information

and belief, at all times relevant to this Complaint, Argo was engaged in the business

of selling contracts of insurance and did business in Delaware.


      19.    Aspen American Insurance Company (“Aspen”) is a Texas corporation

with its principal place of business in New Jersey. On information and belief, Aspen

issued general liability policies to Meta during times relevant to this Complaint. On

information and belief, Aspen is licensed to do business in Delaware and, at all times

relevant to this Complaint, was engaged in the business of selling contracts of

insurance and did business in Delaware.


      20.    Canopius US Insurance, Inc. (“Canopius”) is a Delaware corporation

with its principal place of business in Illinois. On information and belief, Canopius

issued general liability policies to Meta during times relevant to this Complaint. On

information and belief, Canopius is licensed to do business in Delaware and, at all




                                          38
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 216 of 305 PageID #:
                                        227



times relevant to this Complaint, was engaged in the business of selling contracts of

insurance and did business in Delaware.


      21.    Endurance American Specialty Insurance Company (“Endurance”) is a

Delaware corporation with its principal place of business in New York.            On

information and belief, Endurance issued general liability policies to Meta during

times relevant to this Complaint. On information and belief, Endurance is licensed

to do business in Delaware and, at all times relevant to this Complaint, was engaged

in the business of selling contracts of insurance and did business in Delaware.


      22.    Fireman’s Fund Indemnity Corporation (“Fireman’s Fund”) is a New

Jersey corporation with its principal place of business in Illinois. On information

and belief, Fireman’s Fund issued general liability policies to Meta during times

relevant to this Complaint. On information and belief, Fireman’s Fund is licensed

to do business in Delaware and, at all times relevant to this Complaint, was engaged

in the business of selling contracts of insurance and did business in Delaware.


      23.    Gemini Insurance Company (“Gemini”) is a Delaware corporation with

its principal place of business in Connecticut. On information and belief, Gemini

issued general liability policies to Meta during times relevant to this Complaint. On

information and belief, Gemini is licensed to do business in Delaware and, at all




                                          39
Case 1:24-cv-01422-MN      Document 1-1      Filed 12/27/24    Page 217 of 305 PageID #:
                                           228



times relevant to this Complaint, was engaged in the business of selling contracts of

insurance and did business in Delaware.


      24.    Great American Insurance Company (“Great American”) is an Ohio

corporation with its principal place of business in Ohio. On information and belief,

Great American issued general liability policies to Meta during times relevant to this

Complaint. On information and belief, Great American is licensed to do business in

Delaware and, at all times relevant to this Complaint, was engaged in the business

of selling contracts of insurance and did business in Delaware.


      25.    Great American Spirit Insurance Company (“Great American Spirit”)

is an Ohio corporation with its principal place of business in Ohio. On information

and belief, Great American Spirit issued general liability policies to Meta during

times relevant to this Complaint. On information and belief, Great American Spiri

is licensed to do business in Delaware and, at all times relevant to this Complaint,

was engaged in the business of selling contracts of insurance and did business in

Delaware.


      26.    Interstate Fire & Casualty Company (“Interstate”) is an Illinois

corporation with its principal place of business in Illinois. On information and

belief, Interstate issued general liability policies to Meta during times relevant to this

Complaint. On information and belief, Interstate is licensed to do business in

                                           40
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 218 of 305 PageID #:
                                         229



Delaware and, at all times relevant to this Complaint, was engaged in the business

of selling contracts of insurance and did business in Delaware.


      27.    On information and belief, Ironshore UK (“Ironshore”) is a British

corporation with its principal place of business in the United Kingdom.            On

information and belief, Ironshore issued general liability policies to Meta during

times relevant to this Complaint. On information and belief, at all times relevant to

this Complaint, Ironshore was engaged in the business of selling contracts of

insurance and did business in Delaware.


      28.    On information and belief, Liberty Mutual Insurance Europe Ltd.

(“Liberty”) is a British corporation with its principal place of business in the United

Kingdom. On information and belief, Liberty issued general liability policies to

Meta during times relevant to this Complaint. On information and belief, at all times

relevant to this Complaint, Liberty was engaged in the business of selling contracts

of insurance and did business in Delaware.


      29.    On information and belief, the London Market Insurers issued general

liability policies to Meta during times relevant to this Complaint.


      30.    National Fire & Marine Insurance Company (“National Fire”) is a

Nebraska corporation with its principal place of business in Nebraska.             On

information and belief, National Fire issued general liability policies to Meta during

                                          41
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 219 of 305 PageID #:
                                        230



times relevant to this Complaint. On information and belief, National Fire is

licensed to do business in Delaware and, at all times relevant to this Complaint, was

engaged in the business of selling contracts of insurance and did business in

Delaware.


      31.    National Union Fire Insurance Company of Pittsburgh, PA (“National

Union”) is a Pennsylvania corporation with its principal place of business in New

York. On information and belief, National Union issued general liability policies to

Meta during times relevant to this Complaint. On information and belief, National

Union is licensed to do business in Delaware and, at all times relevant to this

Complaint, was engaged in the business of selling contracts of insurance and did

business in Delaware.


      32.    RSUI Indemnity Company (“RSUI”) is a New Hampshire corporation

with its principal place of business in Florida. On information and belief, RSUI

issued general liability policies to Meta during times relevant to this Complaint. On

information and belief, RSUI is licensed to do business in Delaware and, at all times

relevant to this Complaint, was engaged in the business of selling contracts of

insurance and did business in Delaware.


      33.    Starr Surplus Lines Insurance Company (“Starr Surplus”) is a Texas

corporation with its principal place of business in New York. On information and

                                          42
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 220 of 305 PageID #:
                                         231



belief, Starr Surplus issued general liability policies to Meta during times relevant

to this Complaint. On information and belief, Starr Surplus is licensed to do business

in Delaware and, at all times relevant to this Complaint, was engaged in the business

of selling contracts of insurance and did business in Delaware.


      34.    StarStone Specialty Insurance Company (“StarStone”) is a Delaware

corporation with its principal place of business in Florida. On information and

belief, StarStone issued general liability policies to Meta during times relevant to

this Complaint. On information and belief, StarStone is licensed to do business in

Delaware and, at all times relevant to this Complaint, was engaged in the business

of selling contracts of insurance and did business in Delaware.


      35.    Steadfast Insurance Company (“Steadfast”) is a Delaware corporation

with its principal place of business in Illinois. On information and belief, Steadfast

issued general liability policies to Meta during times relevant to this Complaint. On

information and belief, Steadfast is licensed to do business in Delaware and, at all

times relevant to this Complaint, was engaged in the business of selling contracts of

insurance and did business in Delaware.


      36.    XL Insurance America, Inc., (“XL”) is a Delaware corporation with its

principal place of business in Connecticut. On information and belief, XL issued

general liability policies to Meta during times relevant to this Complaint. On

                                          43
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 221 of 305 PageID #:
                                         232



information and belief, XL is licensed to do business in Delaware and, at all times

relevant to this Complaint, was engaged in the business of selling contracts of

insurance and did business in Delaware.


      37.    On information and belief, each of the Third-Party defendant insurers

and the Cross-claim defendant insurers (together, the “Other Insurers”) has or may

have an interest in the resolution of this dispute. Third-Party defendant insurers are

joined to ensure the interests they have or may have in the subject matter of this

declaratory judgment action are not litigated and affected in their absence.


      38.    On information and belief, additional insurers also may have issued

insurance policies to Meta that may be relevant. Chubb intends to seek discovery to

identify any such additional insurers. If any such additional insurers are identified,

then Chubb will seek to amend this complaint to add those insurers into this case as

additional parties as necessary, to maximize the Court’s ability to enter

comprehensive relief in this action.

                                 JURISDICTION

      39.    This Court has subject matter jurisdiction pursuant to Article IV, § 7 of

the Delaware Constitution and 10 Del. C. § 541.


      40.    In addition, this Court has jurisdiction over this declaratory judgment

action pursuant to 10 Del. C. §§ 6501, et seq., which provides that “courts of record

                                          44
Case 1:24-cv-01422-MN         Document 1-1        Filed 12/27/24      Page 222 of 305 PageID #:
                                                233



within their respective jurisdictions shall have power to declare rights, status and

other legal relations whether or not further relief is or could be claimed.”


       41.     This Court has personal jurisdiction over Meta because it is a Delaware

corporation. This Court has personal jurisdiction over Instagram LLC because it is

a Delaware LLC. The Court also has personal jurisdiction over Instagram LLC

because it is a resident of Delaware as its sole member, Meta, is a Delaware

corporation.


       42.     This Court has personal jurisdiction over all the insurer parties because

at material times they have conducted business, committed acts or omissions, or have

caused substantial effects within the State of Delaware with respect to one or more

causes of action arising from these acts, omissions, or effects.

                               FACTUAL BACKGROUND

       A.      The Chubb Policies


       43.     Federal issued primary policies, bearing the policy number 35892466,

to the first named insured Facebook, Inc. for consecutive annual policy periods from

October 9, 2007, through October 9, 2016 (the “Federal Primary Policies”).3




3 On information and belief, Meta has access to all of the Chubb policies.     Chubb is prepared to
make the policies available to the Court and to the parties, as appropriate.
                                                 45
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 223 of 305 PageID #:
                                         234



      44.    Each of the Federal Primary Policies provides a general liability limit

of $1,000,000 per occurrence and a $2,000,000 aggregate.


      45.    The Federal Primary Policies contain terms, conditions, and

requirements for coverage. For example, the damages claimed under the Federal

Primary Policies must be “for bodily injury or property damage.” “Bodily Injury”

is defined as “physical: injury; sickness; or disease; sustained by a person, including

resulting death, humiliation, mental anguish, mental injury or shock at any time. All

such loss shall be deemed to occur at the time of the physical injury, sickness or

disease that caused it.” “Property damage” is defined as “physical injury to tangible

property, including resulting loss of use of that property. All such loss of use shall

be deemed to occur at the time of the physical injury that caused it; or loss of use of

tangible property that is not physically injured. All such loss of use shall be deemed

to occur at the time of the occurrence that caused it.”


      46.    Moreover, that bodily injury or property damage must be “caused by

an occurrence.” An “occurrence” is defined as “an accident, including continuous

or repeated exposure to substantially the same general harmful conditions.”


      47.    Further, the coverage only applies to “such bodily injury or property

damage that occurs during the policy period.”




                                          46
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24   Page 224 of 305 PageID #:
                                          235



      48.    Certain of the Federal Primary Policies additionally provide coverage

for damages for “advertising injury or personal injury.” “Advertising injury” is

defined as “injury, other than bodily injury, property damage or personal injury,

sustained by a person or organization and caused by an offense of infringing, in that

particular part of your advertisement about your goods, products or services, upon

their: copyrighted advertisement; or registered collective mark, registered service

mark or other registered trademarked name, slogan, symbol or title.” “Personal

injury” is defined as “injury, other than bodily injury, property damage or advertising

injury, caused by an offense of: A. false arrest, false detention or other false

imprisonment; B. malicious prosecution; C. wrongful entry into, wrongful eviction

of a person from or other violation of a person's right of private occupancy of a

dwelling, premises or room that such person occupies, if committed by or on behalf

of its landlord, lessor or owner; D. electronic, oral, written or other publication of

material that: 1. libels or slanders a person or organization (which does not include

disparagement of goods, products, property or services); or 2. violates a person's

right of privacy; or E. discrimination, harassment or segregation based on a person's

age, color, national origin, race, religion or sex.”


      49.    The Federal Primary Policies also contain certain exclusions, for

example, for “bodily injury or property damage arising out of an act that is: is

intended by the insured; or would be expected from the standpoint of a reasonable

                                           47
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 225 of 305 PageID #:
                                           236



person in the circumstances of the insured; to cause bodily injury or property

damage, even if the actual bodily injury or property damage is of a different degree

or type than intended or expected.” The Federal Primary Policies also contain a

“Loss in Progress” exclusion, which states that the “insurance does not apply to

bodily injury or property damage that is a change, continuation or resumption of any

bodily injury or property damage known by you, prior to the beginning of the policy

period, to have occurred.” Additionally, the Federal Primary Policies contain

“Information Distribution Laws” exclusions, which state that the “insurance does

not apply to any damages, loss, cost or expense arising out of any actual or alleged

violation of: . . . or any . . . ordinance, regulation or statute relating to

communicating, distribution, publication, sending or transmitting of content,

information or material.”


      50.    The Federal Primary Policies state that Federal “will have the right and

duty to defend the insured against a suit,” and that any payments for such defense

“will not reduce the Limits of Insurance” but Federal’s “obligation to make these

payments ends when we have used up the applicable Limit of Insurance.”


      51.    The Federal Primary Policies contain an endorsement modifying

certain of Federal’s defense obligations, including that “Federal’s obligation to pay

fees to counsel selected by the insured is limited to the rates which we actually pay


                                           48
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24     Page 226 of 305 PageID #:
                                         237



to counsel we retain in the ordinary course of business in the defense of similar

actions in the community where the claim is being defended.”


      52.    The general liability coverage under each of the Federal Primary

Policies—with the exception of the policies in effect from October 2007 through

October 2010—is subject to a matching deductible of $1,000,000 that applies to

“each event.” An “event” refers to an occurrence, offense, wrongful act or other

cause of loss as described under the applicable coverage. The deductible includes

both “damages/loss” and “deductible expenses.”        “Damage/loss” is defined as

damages or other indemnity, while “deductible expenses” is defined to include

attorney and paralegal fees and expenses related to a suit.


      53.    Federal also issued umbrella policies, bearing the policy number

79865357, to the first named insured Facebook, Inc. for consecutive annual policy

periods from October 9, 2007, through October 9, 2016 (the “Federal Umbrella

Policies,” together with the Federal Primary Policies, the “Federal Policies”). Each

of the Federal Umbrella Policies provides a general liability limit of $10,000,000 per

occurrence and in the aggregate.


      54.    The Federal Umbrella Policies apply only upon exhaustion of

underlying insurance and follow form to the terms of such underlying insurance.

The Federal Umbrella Policies state “[t]his coverage will follow the terms and

                                         49
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 227 of 305 PageID #:
                                         238



conditions of underlying insurance described in the Schedule Of Underlying

Insurance, unless a term or condition contained in this coverage: differs from any

term or condition contained in the applicable underlying insurance; or is not

contained in the applicable underlying insurance. With respect to such exceptions

described above, the terms and conditions contained in this coverage will apply, to

the extent that such terms and conditions provide less coverage than the terms and

conditions of the applicable underlying insurance.”


      55.     Westchester Surplus issued excess policies, bearing the policy number

G24093888, to the first named insured Facebook, Inc. for two consecutive annual

policy periods from October 9, 2009, through October 9, 2011 (the “Westchester

Surplus Policies”). The Westchester Surplus Policies provide a general liability limit

of $15,000,000 in the 2009–2010 policy year and $25,000,000 in the 2010–2011

policy year, both per occurrence and in the aggregate. The Westchester Policies

apply only upon exhaustion of underlying insurance and follow form to the terms of

such underlying insurance.


      56.     Westchester Fire issued excess policies, bearing the policy number

G24093888, to the first named insured Facebook, Inc. for consecutive annual policy

periods from October 9, 2011, through October 9, 2016 (the “Westchester Fire

Policies”).   The Westchester Fire Policies provide a general liability limit of


                                         50
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 228 of 305 PageID #:
                                          239



$15,000,000 per occurrence and in the aggregate, except for in the 2013–2014 policy

year, where the policy provides a general liability limit of $10,000,000 per

occurrence and in the aggregate.       The Westchester Policies apply only upon

exhaustion of underlying insurance and follow form to the terms of such underlying

insurance.


      57.    ACE issued umbrella policies bearing the policy numbers

XOOG71829820, to Facebook, Inc. for two consecutive annual policy periods from

October 9, 2020, through October 9, 2022, and to Meta Platforms, Inc. for the annual

policy period from October 9, 2022, through October 9, 2023 (the “ACE Policies”).

Each of the ACE Policies provides a general liability limit of $15,000,000 per

occurrence and in the aggregate. The ACE Policies apply only upon exhaustion of

underlying insurance and follow form to the terms of such underlying insurance.


      B.     The Social Media Lawsuits

      58.    The vast majority of the Social Media Lawsuits are consolidated either

in a multidistrict litigation pending in the Northern District of California (the

“MDL”) or Judicial Council Coordination Proceeding No. 5255 coordinated in the

County of Los Angeles Central District Superior Court (the “JCCP”). In these

actions, master complaints and short form complaints have supplanted many of the

complaints originally filed by the plaintiffs.


                                          51
Case 1:24-cv-01422-MN     Document 1-1      Filed 12/27/24   Page 229 of 305 PageID #:
                                          240



       59.   The Social Media lawsuits include certain core allegations that are

generally common across the various cases. The plaintiffs all generally allege that

as a result of Meta’s deliberate and strategic choices, including those design choices

that seek to maximize user engagement, plaintiffs (including individuals, school

districts and local governments, and Attorneys General) suffered their respective

injuries.


       60.   While the allegations as to Meta’s “intentional” conduct are common

across the Social Media Lawsuits, plaintiffs allege various theories of harm and/or

liability.


       61.   For example, certain individual plaintiffs describe a variety of mental

and physical injuries allegedly suffered as a result of their use of Meta’s social media

platforms. Many, if not all, allege injuries that occurred after the expiration of the

last Federal primary policy issued to Meta. The school district and local government

plaintiffs allege budgetary harms that allegedly arise from students’ use of Meta’s

social media platforms. The Attorneys General allege harms associated with alleged

violations of, for example, various unfair and deceptive acts and practices statutes.

None of the school district or local government or Attorney General lawsuits include

allegations related to any specific injured individual or any specific damaged

property.


                                          52
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 230 of 305 PageID #:
                                           241



      C.       Meta’s Notices and Chubb’s Coverage Position Letters


      62.      On information and belief, Meta has put each of the insurers included

here on notice that Meta believes each insurer may be liable in whole or in part

(directly or indirectly) for a judgment or settlement in the action or for the cost of

defense.


      63.      Meta first purported to provide notice of Social Media Lawsuits to

Chubb in October 2022. Facebook provided subsequent notices as additional Social

Media Lawsuits were filed against it.


      64.      Subject to a reservation of rights, including a right to reimbursement of

any amounts paid, Federal, as a primary insurer, agreed to participate in Meta’s

defense for certain of the Social Media Lawsuits brought by specific individuals.

Chubb also notified Meta that its policies did not provide coverage for other Social

Media Lawsuits, namely those brought by various attorneys general. In its coverage

position letters, Chubb identified numerous requirements for coverage that the

Social Media Lawsuits may not or do not satisfy, including, but not limited to:

            a. The Social Media Lawsuits must seek damages for “bodily injury” or
               “property damage,” as those terms are defined in the Chubb Policies;

            b. Any bodily injury or property damage must be caused by an occurrence,
               defined in relevant part as an accident;

            c. Any damages for bodily injury or property damage must occur during
               the policy period;
                                           53
Case 1:24-cv-01422-MN       Document 1-1     Filed 12/27/24   Page 231 of 305 PageID #:
                                           242



            d. To be covered, defendants must be insureds under the policies;

            e. Any bodily injury or property damage must not arise out of an act that
               is intended to, or would be expected from the standpoint of a reasonable
               person to cause bodily injury or property damage, even if the actual
               bodily injury or property damage is of a different degree or type than
               intended or expected;

            f. Any bodily injury or property damage must not be change, continuation
               or resumption of any bodily injury or property damage known by Meta,
               prior to the beginning of the policy period, to have occurred;

            g. Any damages, loss, cost, or expense must not arise from actual or
               alleged violations of information distribution laws;

            h. Certain loss is not covered as a matter of public policy under the
               California Insurance Code Section 533;

            i. Under the Chubb Policies “damages” do not include equitable relief,
               including, but not limited to forward-looking relief;

            j. Defense costs must be reasonable, and must be allocated fairly between
               claims that fall within the scope of coverage and those that do not.

      65.      In addition to issuing the coverage position letters referred to in the

preceding paragraph, Chubb’s coverage investigation is ongoing with regard to

certain Social Media Lawsuits.

                                CAUSES OF ACTION

                    COUNT I: DECLARATORY JUDGMENT

  (Rights and Obligations as between Meta and Chubb for Defense Costs for
                           Social Media Lawsuits)

      66.      Federal reasserts and incorporates each allegation made in paragraphs

1–65 above.



                                           54
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 232 of 305 PageID #:
                                         243



      67.     As described above, Meta has noticed and demanded insurance

coverage under the Chubb Policies for defense costs from the Social Media

Lawsuits.


      68.     As described above, Chubb has agreed to participate in Meta’s defense

for certain Social Media Lawsuits subject to a reservation of rights, including for

reimbursement, denied coverage for other Social Media Lawsuits, and continues to

investigate the remainder.


      69.     There exists an actual, ripe, and justiciable controversy between the

parties concerning the rights and obligations of Chubb with regard to the existence

of a duty to defend or reimburse defense costs for the Social Media Lawsuits under

the respective terms, conditions, and exclusions of the Chubb Policies.


      70.     Chubb seeks and is entitled to a declaration concerning Chubb’s and

Meta’s respective obligations to defend or pay defense costs for the Social Media

Lawsuits.

                   COUNT II: DECLARATORY JUDGMENT

 (Rights and Obligations as between Chubb and Meta for Any Settlements or
                 Judgments for the Social Media Lawsuits)

      71.     Federal reasserts and incorporates each allegation made in paragraphs

1–70 above.


                                         55
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 233 of 305 PageID #:
                                         244



      72.     As described above, Meta has noticed and demanded insurance

coverage under the Chubb Policies for the Social Media Lawsuits.


      73.     Chubb denied coverage for certain Social Media Lawsuits, reserved

rights as to others, and continues to investigate as to the remainder.


      74.     There exists an actual, ripe, and justiciable controversy between the

parties concerning the rights and obligations of Chubb with regard to coverage for

the Social Media Lawsuits under the respective terms, conditions, and exclusions of

the Chubb Policies.


      75.     Chubb seeks and is entitled to a declaration concerning Chubb’s and

Meta’s respective obligations to pay and settlements or judgments for the Social

Media Lawsuits.

                  COUNT III: DECLARATORY JUDGMENT

                      (Right to Reimbursement from Meta)

      76.     Federal reasserts and incorporates each allegation made in paragraphs

1–75 above.


      77.     As described above, Chubb has agreed to participate in Meta’s defense

for certain Social Media Lawsuits subject to a reservation of rights, including for

reimbursement, denied coverage for other Social Media Lawsuits, and continues to

investigate the remainder.
                                          56
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24   Page 234 of 305 PageID #:
                                         245



      78.     Chubb has or will pay certain defense costs for the Social Media

Lawsuits subject to reservation of rights.


      79.     There exists an actual, ripe, and justiciable controversy between the

parties concerning whether Chubb owed and owes Meta any of the defense costs it

has paid or will pay under the terms, conditions, and exclusions of the Chubb

Policies.


      80.     Chubb seeks a declaration as to whether Meta is obligated to reimburse

Chubb for any amounts paid in connection with the Social Media Lawsuits,

including the amounts of any such reimbursement, pursuant to the terms, conditions,

and exclusions of the Chubb Policies and applicable law.

                  COUNT IV: DECLARATORY JUDGMENT

  (Rights and Obligations, if any, of Other Insurers to Defend and Indemnify
                    Meta for the Social Media Lawsuits)

      81.     Federal reasserts and incorporates each allegation made in paragraphs

1–80 above.


      82.     As described above, Meta has noticed and demanded insurance

coverage under the Chubb Policies for the Social Media Lawsuits. On information

and belief, Meta has also noticed and demanded insurance coverage under the Other

Insurers’ policies for the Social Media Lawsuits.


                                             57
Case 1:24-cv-01422-MN     Document 1-1       Filed 12/27/24   Page 235 of 305 PageID #:
                                           246



      83.    To the extent that the Court determines that Chubb has any obligation

to provide coverage for any of the Social Media Lawsuits, (a) Plaintiffs and the Other

Insurers may owe reimbursement to Chubb, and (b) Chubb therefore seeks a

declaration of the rights and obligations (including with respect to reimbursement

for defense costs paid by Chubb), if any, of the Other Insurers with respect to

coverage for any of the Social Media Lawsuits under the terms, conditions, and

exclusions of their respective policies.


      84.    There exists an actual, ripe, and justiciable controversy between the

parties concerning the rights and obligations, if any, of the Other Insurers with regard

to coverage for the Social Media Lawsuits under the respective terms, conditions,

and requirements of their respective policies. Chubb is entitled to a declaratory

judgment regarding the Other Insurers’ respective rights and obligations, if any, with

regard to coverage for the Social Media Lawsuits.

                              PRAYER FOR RELIEF

      WHEREFORE, Chubb respectfully prays the Court enter judgment in its

favor as follows:


      (a)    A declaration as to whether or not Chubb owes Meta coverage for

             defense of any of the Social Media Lawsuits under the Chubb Policies;



                                           58
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 236 of 305 PageID #:
                                        247



      (b)   A declaration as to whether or not Chubb owes Meta coverage for any

            settlements or judgment for the Social Media Lawsuits under the Chubb

            Policies;


      (c)   A declaration as to whether or not Chubb is entitled to reimbursement

            from Meta, Plaintiffs, and/or the Other Insurers, and the amounts of any

            such reimbursement;


      (d)   A declaration of the rights and obligations, if any, of Chubb, the

            Plaintiffs and the Other Insurers with regard to coverage for the Social

            Media Lawsuits;


      (e)   Reasonable attorneys’ fees and costs pursuant to the law; and


      (f)   Such further and other relief that the Court deems just and proper.

                         DEMAND FOR JURY TRIAL


      Chubb demands a trial by a jury of twelve on all claims so triable.




                                        59
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24   Page 237 of 305 PageID #:
                                       248



Dated: December 20, 2024

                                  /s/ Stamatios Stamoulis
OF COUNSEL:                      STAMOULIS & WEINBLATT LLC
                                 Stamatios Stamoulis (Bar No. 4606)
HOLWELL SHUSTER & GOLDBERG 800 N. West Street, Third Floor
LLP                              Wilmington, DE 19801
Michael S. Shuster (pro hac vice (302) 999-1540
forthcoming)
Blair E. Kaminsky (pro hac vice
forthcoming)
Daniel M. Horowitz (pro hac vice
forthcoming)

425 Lexington Avenue
New York, New York 10017                 Attorneys for Federal Insurance Company,
(646) 837-5151                           Westchester Surplus Lines Insurance Company,
                                         Westchester Fire Insurance Company, and
                                         ACE Property and Casualty Insurance Company




                                       60
Case 1:24-cv-01422-MN    Document 1-1     Filed 12/27/24   Page 238 of 305 PageID #:
                                        249



                         CERTIFICATE OF SERVICE

I hereby certify that on December 20, 2024, I caused a true and correct copy of the

foregoing Answer, Counterclaim, Cross-Claim and Third Party Complaint to be

served by File & ServeXpress upon all counsel of record in the above captioned

matter.



                                      /s/ Stamatios Stamoulis
                                      Stamatios Stamoulis (Bar No. 4606)




                                        61
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 239 of 305 PageID #:
                                             250
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

                                              1
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 240 of 305 PageID #:
                                       251
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD
       v.

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.

                                        2
Case 1:24-cv-01422-MN      Document 1-1     Filed 12/27/24 Page 241 of 305 PageID #:
                                          252
                                                      EFiled: Dec 20 2024 07:49PM EST
                                                      Transaction ID 75288440
                                                      Case No. N24C-11-010 SKR CCLD
                                    PRAECIPE
TO: Prothonotary
    Superior Court of the State of Delaware
    Leonard L. Williams Justice Center
    500 North King Street, Suite 500
    Wilmington, Delaware 19801

      PLEASE ISSUE Summonses in the forms attached hereto for service of

process as follows:

      1.     To the Sheriff of New Castle County, directing the Sheriff to serve a

copy of the Summons and Complaint upon the below-named Third-Party Defendants

through their registered agents pursuant to 8 Del. C. § 321 at the following addresses:

                      Argo Group US
                      c/o Corporation Service Company
                      251 Little Falls Drive
                      Wilmington, DE 19808

                      Endurance American Specialty Insurance Company
                      c/o Corporation Service Company
                      251 Little Falls Drive
                      Wilmington, DE 19808

                      Gemini Insurance Company
                      c/o The Corporation Trust Company
                      Corporation Trust Center
                      1209 Orange Street
                      Wilmington, DE 19801

                      Starstone Specialty Insurance Company
                      c/o The Corporation Trust Company
                      Corporation Trust Center
                      1209 Orange Street
                      Wilmington, DE 19801


                                           3
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 242 of 305 PageID #:
                                         253
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                    Steadfast Insurance Company
                    c/o Corporation Service Company
                    251 Little Falls Drive
                    Wilmington, DE 19808

                    XL Insurance America, Inc.
                    c/o The Corporation Trust Company
                    Corporation Trust Center
                    1209 Orange Street
                    Wilmington, DE 19801

      2.     To the Sheriff of Kent County, directing the Sheriff to serve a copy of

the Summons and Complaint upon the below-named Third-Party Defendants

through their registered agents pursuant to 8 Del. C. § 321 at the following addresses:

                    Canopius US Insurance, Inc.
                    c/o Coagency Global Inc.
                    850 New Burton Road Suite 201
                    Dover, DE 19904


      3.     To the Sheriff of Kent County, directing the Sheriff to serve a copy of

the Summons and Complaint upon the below-named Third-Party Defendants by

serving the Delaware Department of Insurance pursuant to 18 Del. C. § 525 at the

following addresses:

                    Arch Insurance Company
                    c/o Delaware Department of Insurance
                    1351 West North Street, Suite 101
                    Dover, DE 19904




                                          4
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 243 of 305 PageID #:
                                       254
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD
                  Aspen American Insurance Company
                  c/o Delaware Department of Insurance
                  1351 West North Street, Suite 101
                  Dover, DE 19904

                  Fireman’s Fund Indemnity Corporation
                  c/o Delaware Department of Insurance
                  1351 West North Street, Suite 101
                  Dover, DE 19904

                  Great American Insurance Company
                  c/o Delaware Department of Insurance
                  1351 West North Street, Suite 101
                  Dover, DE 19904

                  Great American Spirit Insurance Company
                  c/o Delaware Department of Insurance
                  1351 West North Street, Suite 101
                  Dover, DE 19904

                  Interstate Fire & Casualty Company
                  c/o Delaware Department of Insurance
                  1351 West North Street, Suite 101
                  Dover, DE 19904

                  National Fire & Marine Insurance Company
                  c/o Delaware Department of Insurance
                  1351 West North Street, Suite 101
                  Dover, DE 19904

                  National Union Fire Insurance Company of Pittsburgh, PA
                  c/o Delaware Department of Insurance
                  1351 West North Street, Suite 101
                  Dover, DE 19904

                  RSUI Indemnity Company
                  c/o Delaware Department of Insurance
                  1351 West North Street, Suite 101
                  Dover, DE 19904
                                        5
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 244 of 305 PageID #:
                                         255
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD

                   Starr Surplus Lines Insurance Company
                   c/o Delaware Department of Insurance
                   1351 West North Street, Suite 101
                   Dover, DE 19904

At the time of service, the Sheriff will deliver a check payment to the Commissioner

of Insurance in the amount of $25.00 for each party served, representing the required

fee.

       4.    To the Sheriff for Kent County, directing the Sheriff to serve a copy of

the Summons and Complaint upon the below-named Third-Party Defendants by

serving the Delaware Secretary of State pursuant to 8 Del. C. § 382 at the following

address:

                   c/o Delaware Secretary of State
                   401 Federal Street – Suite 4
                   Dover, DE 19901

The entities for the Delaware Secretary of State to serve are as follows:

                   Allianz Global Corporate & Specialty SE
                   Dieselstraße 8
                   85774 Unterföhring
                   Germany

                   Ironshore UK
                   20 Fenchurch Street
                   London, EC3M 3AW
                   United Kingdom




                                          6
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 245 of 305 PageID #:
                                       256
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD
                  Liberty Mutual Insurance Europe Ltd.
                  5-7 Rue Léon Laval
                  Leudelange
                  Luxembourg
                  L-3372



December 20, 2024                           STAMOULIS & WEINBLATT LLC

                                             /s/ Stamatios Stamoulis
OF COUNSEL:                                 Stamatios Stamoulis (Bar No. 4606)
                                            800 N. West Street, Third Floor
HOLWELL SHUSTER                             Wilmington, DE 19801
   & GOLDBERG LLP                           (302) 999-1540
Michael S. Shuster (pro hac vice
forthcoming)                                Attorney for Federal Insurance Company,
Blair E. Kaminsky (pro hac vice             Westchester Surplus Lines Insurance Company,
forthcoming)                                Westchester Fire Insurance Company, and ACE
Daniel M. Horowitz (pro hac vice            Property and Casualty Insurance Company
forthcoming)

425 Lexington Avenue
New York, New York 10017
(646) 837-5151




                                        7
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 246 of 305 PageID #:
                                             257
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 247 of 305 PageID #:
                                       258
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 248 of 305 PageID #:
                                         259
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

       To summon the Defendant Allianz Global Corporate & Specialty SE, so
that, within 20 days after service hereof, exclusive of the day of service, Defendant
shall serve upon Stamatios Stamoulis, attorney for Federal Insurance Company,
Westchester Surplus Lines Insurance Company, Westchester Fire Insurance
Company, and ACE Property and Casualty Insurance Company (together “Chubb”),
whose address is 800 N. West Street, Third Floor, Wilmington, DE 19801, an
answer to Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO ALLIANZ GLOBAL CORPORATE & SPECIALTY SE:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




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Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 249 of 305 PageID #:
                                             260
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 250 of 305 PageID #:
                                       261
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 251 of 305 PageID #:
                                         262
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Arch Insurance Company, so that, within 20
days after service hereof, exclusive of the day of service, Defendant shall serve upon
Stamatios Stamoulis, attorney for Federal Insurance Company, Westchester
Surplus Lines Insurance Company, Westchester Fire Insurance Company, and ACE
Property and Casualty Insurance Company (together “Chubb”), whose address is
800 N. West Street, Third Floor, Wilmington, DE 19801, an answer to Chubb’s
Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO ARCH INSURANCE COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 252 of 305 PageID #:
                                             263
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 253 of 305 PageID #:
                                       264
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 254 of 305 PageID #:
                                         265
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF NEW CASTLE COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Argo Group US, so that, within 20 days after
service hereof, exclusive of the day of service, Defendant shall serve upon
Stamatios Stamoulis, attorney for Federal Insurance Company, Westchester
Surplus Lines Insurance Company, Westchester Fire Insurance Company, and ACE
Property and Casualty Insurance Company (together “Chubb”), whose address is
800 N. West Street, Third Floor, Wilmington, DE 19801, an answer to Chubb’s
Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO ARGO GROUP US:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 255 of 305 PageID #:
                                             266
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 256 of 305 PageID #:
                                       267
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 257 of 305 PageID #:
                                         268
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Aspen American Insurance Company, so that,
within 20 days after service hereof, exclusive of the day of service, Defendant shall
serve upon Stamatios Stamoulis, attorney for Federal Insurance Company,
Westchester Surplus Lines Insurance Company, Westchester Fire Insurance
Company, and ACE Property and Casualty Insurance Company (together “Chubb”),
whose address is 800 N. West Street, Third Floor, Wilmington, DE 19801, an
answer to Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO ASPEN AMERICAN INSURANCE COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 258 of 305 PageID #:
                                             269
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 259 of 305 PageID #:
                                       270
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 260 of 305 PageID #:
                                         271
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Canopius US Insurance, Inc., so that, within 20
days after service hereof, exclusive of the day of service, Defendant shall serve upon
Stamatios Stamoulis, attorney for Federal Insurance Company, Westchester
Surplus Lines Insurance Company, Westchester Fire Insurance Company, and ACE
Property and Casualty Insurance Company (together “Chubb”), whose address is
800 N. West Street, Third Floor, Wilmington, DE 19801, an answer to Chubb’s
Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO CANOPIUS US INSURANCE, INC.:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 261 of 305 PageID #:
                                             272
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 262 of 305 PageID #:
                                       273
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 263 of 305 PageID #:
                                         274
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF NEW CASTLE COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Endurance American Specialty Insurance
Company, so that, within 20 days after service hereof, exclusive of the day of
service, Defendant shall serve upon Stamatios Stamoulis, attorney for Federal
Insurance Company, Westchester Surplus Lines Insurance Company, Westchester
Fire Insurance Company, and ACE Property and Casualty Insurance Company
(together “Chubb”), whose address is 800 N. West Street, Third Floor,
Wilmington, DE 19801, an answer to Chubb’s Counterclaims, Cross Claims, and
Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO ENDURANCE AMERICAN SPECIALTY INSURANCE COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 264 of 305 PageID #:
                                             275
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 265 of 305 PageID #:
                                       276
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 266 of 305 PageID #:
                                         277
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

       To summon the Defendant Fireman’s Fund Indemnity Corporation, so
that, within 20 days after service hereof, exclusive of the day of service, Defendant
shall serve upon Stamatios Stamoulis, attorney for Federal Insurance Company,
Westchester Surplus Lines Insurance Company, Westchester Fire Insurance
Company, and ACE Property and Casualty Insurance Company (together “Chubb”),
whose address is 800 N. West Street, Third Floor, Wilmington, DE 19801, an
answer to Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO FIREMAN’S FUND INDEMNITY CORPORATION:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 267 of 305 PageID #:
                                             278
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 268 of 305 PageID #:
                                       279
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 269 of 305 PageID #:
                                         280
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF NEW CASTLE COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Gemini Insurance Company, so that, within 20
days after service hereof, exclusive of the day of service, Defendant shall serve upon
Stamatios Stamoulis, attorney for Federal Insurance Company, Westchester
Surplus Lines Insurance Company, Westchester Fire Insurance Company, and ACE
Property and Casualty Insurance Company (together “Chubb”), whose address is
800 N. West Street, Third Floor, Wilmington, DE 19801, an answer to Chubb’s
Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO GEMINI INSURANCE COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




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Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 270 of 305 PageID #:
                                             281
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 271 of 305 PageID #:
                                       282
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 272 of 305 PageID #:
                                         283
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Great American Insurance Company, so that,
within 20 days after service hereof, exclusive of the day of service, Defendant shall
serve upon Stamatios Stamoulis, attorney for Federal Insurance Company,
Westchester Surplus Lines Insurance Company, Westchester Fire Insurance
Company, and ACE Property and Casualty Insurance Company (together “Chubb”),
whose address is 800 N. West Street, Third Floor, Wilmington, DE 19801, an
answer to Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO GREAT AMERICAN INSURANCE COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 273 of 305 PageID #:
                                             284
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 274 of 305 PageID #:
                                       285
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 275 of 305 PageID #:
                                         286
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

       To summon the Defendant Great American Spirit Insurance Company, so
that, within 20 days after service hereof, exclusive of the day of service, Defendant
shall serve upon Stamatios Stamoulis, attorney for Federal Insurance Company,
Westchester Surplus Lines Insurance Company, Westchester Fire Insurance
Company, and ACE Property and Casualty Insurance Company (together “Chubb”),
whose address is 800 N. West Street, Third Floor, Wilmington, DE 19801, an
answer to Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO GREAT AMERICAN SPIRIT INSURANCE COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 276 of 305 PageID #:
                                             287
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 277 of 305 PageID #:
                                       288
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 278 of 305 PageID #:
                                         289
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Interstate Fire & Casualty Company, so that,
within 20 days after service hereof, exclusive of the day of service, Defendant shall
serve upon Stamatios Stamoulis, attorney for Federal Insurance Company,
Westchester Surplus Lines Insurance Company, Westchester Fire Insurance
Company, and ACE Property and Casualty Insurance Company (together “Chubb”),
whose address is 800 N. West Street, Third Floor, Wilmington, DE 19801, an
answer to Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO INTERSTATE FIRE & CASUALTY COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 279 of 305 PageID #:
                                             290
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 280 of 305 PageID #:
                                       291
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 281 of 305 PageID #:
                                         292
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Ironshore UK, so that, within 20 days after service
hereof, exclusive of the day of service, Defendant shall serve upon Stamatios
Stamoulis, attorney for Federal Insurance Company, Westchester Surplus Lines
Insurance Company, Westchester Fire Insurance Company, and ACE Property and
Casualty Insurance Company (together “Chubb”), whose address is 800 N. West
Street, Third Floor, Wilmington, DE 19801, an answer to Chubb’s Counterclaims,
Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO IRONSHORE UK:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 282 of 305 PageID #:
                                             293
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 283 of 305 PageID #:
                                       294
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 284 of 305 PageID #:
                                         295
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Liberty Mutual Insurance Europe Ltd., so that,
within 20 days after service hereof, exclusive of the day of service, Defendant shall
serve upon Stamatios Stamoulis, attorney for Federal Insurance Company,
Westchester Surplus Lines Insurance Company, Westchester Fire Insurance
Company, and ACE Property and Casualty Insurance Company (together “Chubb”),
whose address is 800 N. West Street, Third Floor, Wilmington, DE 19801, an
answer to Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO LIBERTY MUTUAL INSURANCE EUROPE LTD.:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




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Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 285 of 305 PageID #:
                                             296
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 286 of 305 PageID #:
                                       297
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 287 of 305 PageID #:
                                         298
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

      To summon the Defendant National Fire & Marine Insurance Company,
so that, within 20 days after service hereof, exclusive of the day of service,
Defendant shall serve upon Stamatios Stamoulis, attorney for Federal Insurance
Company, Westchester Surplus Lines Insurance Company, Westchester Fire
Insurance Company, and ACE Property and Casualty Insurance Company (together
“Chubb”), whose address is 800 N. West Street, Third Floor, Wilmington, DE
19801, an answer to Chubb’s Counterclaims, Cross Claims, and Third-Party
Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO NATIONAL FIRE & MARINE INSURANCE COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



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Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 288 of 305 PageID #:
                                             299
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 289 of 305 PageID #:
                                       300
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 290 of 305 PageID #:
                                         301
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

      To summon the Defendant National Union Fire Insurance Company of
Pittsburgh, PA, so that, within 20 days after service hereof, exclusive of the day of
service, Defendant shall serve upon Stamatios Stamoulis, attorney for Federal
Insurance Company, Westchester Surplus Lines Insurance Company, Westchester
Fire Insurance Company, and ACE Property and Casualty Insurance Company
(together “Chubb”), whose address is 800 N. West Street, Third Floor,
Wilmington, DE 19801, an answer to Chubb’s Counterclaims, Cross Claims, and
Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO NATIONAL UNION FIRE INSURANCE COMPANY OF
PITTSBURGH, PA:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy


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Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 291 of 305 PageID #:
                                             302
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 292 of 305 PageID #:
                                       303
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 293 of 305 PageID #:
                                         304
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

      To summon the Defendant RSUI Indemnity Company, so that, within 20
days after service hereof, exclusive of the day of service, Defendant shall serve upon
Stamatios Stamoulis, attorney for Federal Insurance Company, Westchester
Surplus Lines Insurance Company, Westchester Fire Insurance Company, and ACE
Property and Casualty Insurance Company (together “Chubb”), whose address is
800 N. West Street, Third Floor, Wilmington, DE 19801, an answer to Chubb’s
Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO RSUI INDEMNITY COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




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Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 294 of 305 PageID #:
                                             305
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 295 of 305 PageID #:
                                       306
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 296 of 305 PageID #:
                                         307
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF KENT COUNTY
YOU ARE COMMANDED:

       To summon the Defendant Starr Surplus Lines Insurance Company, so
that, within 20 days after service hereof, exclusive of the day of service, Defendant
shall serve upon Stamatios Stamoulis, attorney for Federal Insurance Company,
Westchester Surplus Lines Insurance Company, Westchester Fire Insurance
Company, and ACE Property and Casualty Insurance Company (together “Chubb”),
whose address is 800 N. West Street, Third Floor, Wilmington, DE 19801, an
answer to Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO STARR SURPLUS LINES INSURANCE COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 297 of 305 PageID #:
                                             308
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 298 of 305 PageID #:
                                       309
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




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Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 299 of 305 PageID #:
                                         310
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF NEW CASTLE COUNTY
YOU ARE COMMANDED:

       To summon the Defendant Starstone Specialty Insurance Company, so
that, within 20 days after service hereof, exclusive of the day of service, Defendant
shall serve upon Stamatios Stamoulis, attorney for Federal Insurance Company,
Westchester Surplus Lines Insurance Company, Westchester Fire Insurance
Company, and ACE Property and Casualty Insurance Company (together “Chubb”),
whose address is 800 N. West Street, Third Floor, Wilmington, DE 19801, an
answer to Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO STARSTONE SPECIALTY INSURANCE COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 300 of 305 PageID #:
                                             311
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 301 of 305 PageID #:
                                       312
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 302 of 305 PageID #:
                                         313
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF NEW CASTLE COUNTY
YOU ARE COMMANDED:

      To summon the Defendant Steadfast Insurance Company, so that, within 20
days after service hereof, exclusive of the day of service, Defendant shall serve upon
Stamatios Stamoulis, attorney for Federal Insurance Company, Westchester
Surplus Lines Insurance Company, Westchester Fire Insurance Company, and ACE
Property and Casualty Insurance Company (together “Chubb”), whose address is
800 N. West Street, Third Floor, Wilmington, DE 19801, an answer to Chubb’s
Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO STEADFAST INSURANCE COMPANY:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




                                          3
Case 1:24-cv-01422-MN      Document 1-1        Filed 12/27/24 Page 303 of 305 PageID #:
                                             314
                                                         EFiled: Dec 20 2024 07:49PM EST
                                                         Transaction ID 75288440
                                                         Case No. N24C-11-010 SKR CCLD
       IN THE SUPERIOR COURT FOR THE STATE OF DELAWARE

 HARTFORD CASUALTY INSURANCE
 COMPANY and SENTINEL INSURANCE
 COMPANY, LTD.,

                   Plaintiffs,
                                                       C.A. No. N24C-11-010 SKR
              v.                                       CCLD

 INSTAGRAM, LLC as successor in interest               JURY TRIAL DEMANDED
 to Instagram a/k/a Burbn, Inc.; META                  (BY A JURY OF TWELVE)
 PLATFORMS, INC. f/k/a TheFacebook Inc.
 d/b/a The Face Book, Inc.; FEDERAL
 INSURANCE COMPANY; OLD
 REPUBLIC INSURANCE COMPANY;
 STARR INDEMNITY AND LIABILITY
 COMPANY; and ZURICH AMERICAN
 INSURANCE COMPANY,

                   Defendants.


 FEDERAL INSURANCE COMPANY

                   Defendant and
                   Counterclaim/Cross-
                   claim/Third-Party Plaintiff,

       and,

 WESTCHESTER SURPLUS LINES
 INSURANCE COMPANY,
 WESTCHESTER FIRE INSURANCE
 COMPANY; and ACE PROPERTY AND
 CASUALTY INSURANCE COMPANY

                   Third-Party Plaintiffs,

       v.
Case 1:24-cv-01422-MN   Document 1-1     Filed 12/27/24 Page 304 of 305 PageID #:
                                       315
                                                   EFiled: Dec 20 2024 07:49PM EST
                                                   Transaction ID 75288440
                                                   Case No. N24C-11-010 SKR CCLD

 HARTFORD CASUALTY INSURANCE
 COMPANY; SENTINEL INSURANCE
 COMPANY, LTD.; INSTAGRAM, LLC as
 successor in interest to Instagram a/k/a
 Burbn, Inc.; META PLATFORMS, INC.
 f/k/a TheFacebook Inc. d/b/a The Face Book,
 Inc.; OLD REPUBLIC INSURANCE
 COMPANY; STARR INDEMNITY AND
 LIABILITY COMPANY; ZURICH
 AMERICAN INSURANCE COMPANY;
 ALLIANZ GLOBAL CORPORATE &
 SPECIALTY SE; ARCH INSURANCE
 COMPANY; ARGO GROUP US; ASPEN
 AMERICAN INSURANCE COMPANY;
 CANOPIUS US INSURANCE, INC.;
 ENDURANCE AMERICAN SPECIALTY;
 FIREMANS FUND INDEMNITY
 CORPORATION; GEMINI INSURANCE
 COMPANY; GREAT AMERICAN
 INSURANCE COMPANY; GREAT
 AMERICAN SPIRIT INSURANCE
 COMPANY; INTERSTATE FIRE &
 CASUALTY COMPANY; IRONSHORE
 UK; LIBERTY MUTUAL INSURANCE
 EUROPE LTD.; THE LONDON MARKET
 INSURERS; NATIONAL FIRE & MARINE
 INSURANCE COMPANY; NATIONAL
 UNION FIRE INSURANCE COMPANY OF
 PITTSBURGH, PA; RSUI INDEMNITY
 COMPANY; STARR SURPLUS LINES
 INSURANCE COMPANY; STARSTONE
 SPECIALTY INSURANCE COMPANY;
 STEADFAST INSURANCE COMPANY;
 XL INSURANCE AMERICA. INC.,

                Defendants.




                                        2
Case 1:24-cv-01422-MN     Document 1-1     Filed 12/27/24 Page 305 of 305 PageID #:
                                         316
                                                     EFiled: Dec 20 2024 07:49PM EST
                                                     Transaction ID 75288440
                                                     Case No. N24C-11-010 SKR CCLD
                                    SUMMONS

THE STATE OF DELAWARE
TO THE SHERIFF OF NEW CASTLE COUNTY
YOU ARE COMMANDED:

      To summon the Defendant XL Insurance America, Inc., so that, within 20
days after service hereof, exclusive of the day of service, Defendant shall serve upon
Stamatios Stamoulis, attorney for Federal Insurance Company, Westchester
Surplus Lines Insurance Company, Westchester Fire Insurance Company, and ACE
Property and Casualty Insurance Company (together “Chubb”), whose address is
800 N. West Street, Third Floor, Wilmington, DE 19801, an answer to Chubb’s
Counterclaims, Cross Claims, and Third-Party Complaint.

     To serve upon Defendant a copy hereof and of the Counterclaims, Cross
Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy



TO XL INSURANCE AMERICA, INC.:

       In case of your failure, within 20 days after service hereof upon you, exclusive
of the day of service, to serve on Chubb’s attorney named above an answer to the
complaint, judgment by default will be rendered against you for the relief demanded
in Chubb’s Counterclaims, Cross Claims, and Third-Party Complaint.

Dated:                                    COLLEEN REDMOND
                                          Prothonotary


                                          Per Deputy




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